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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)            Original       Duplicate Original


                              UNITED STATES DISTRICT COURT                                                    FILED
                                                                                                    CLERK, U.S. DISTRICT COURT



          5/14/2025                                      for the                                      05/15/2025
            ASI                                                                                   CENTRAL DISTRICT OF CALIFORNIA
                                            Central District of California                                    IV
                                                                                                    BY: ___________________ DEPUTY



 United States of America

                  v.

 ARA ARTUNI,
 DAVIT HAZRYAN,                                                    Case No. 2:25-mj-02952-DUTY
 VAHAGN STEPANYAN, AND
 CHRISTIAN SEDANO,

                  Defendant(s)

                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of July 7, 2023 in the county of Los Angeles in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description
           18 U.S.C. § 1959(a)(5)                                  Attempted Murder in Aid of
                                                                   Racketeering Activity

         This criminal complaint is based on these facts:

         Please see attached affidavit.

            Continued on the attached sheet.

                                                                                  /s/ Jerome S. Salvador
                                                                                 Complainant’s signature

                                                                        Jerome S. Salvador, HSI Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

 Date:             May 15, 2025
                                                                                      Judge’s signature

 City and state: Los Angeles, California                          Honorable Patricia Donahue, U.S. Magistrate Judge
                                                                                  Printed name and title

AUSAS: Lyndsi Allsop/Kenneth Carbajal
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                                  AFFIDAVIT

      I, Jerome S. Salvador, being duly sworn, declare and state

 as follows:

                          I. BACKGROUND OF AFFIANT

      1.     I am a Special Agent with the Department of Homeland




 in Los Angeles County, California, and I have been so employed

 since May 2022.    I am currently assigned to HSI Ventura, where I

 am responsible for investigating fraud schemes, marriage fraud

 and document benefit fraud, narcotics smuggling, money

 laundering, illegal gambling, firearms violations, immigration

 crimes, child exploitation, human trafficking, transnational

 organized crime, and various other violations of immigration and

 customs law.

      2.     Prior to 2022, I was employed as a Federal Law

 Enforcement Officer, with the DHS, Enforcement and Removal

 Operations (ERO).    I began my employment as a Special Agent in

 May 2022.   Since becoming a Special Agent in May 2022, I

 received formal training at the Criminal Investigator Training

 Program and HSI Special Agent Training Program at the Federal

 Law Enforcement Training Center in Brunswick, Georgia.              This

 training included classes concerning organized crime, drug

 crimes, money laundering, financial crimes, firearms crimes, and

 human trafficking.

      3.     Through my training, experience, and consultation with

 other experienced agents and law enforcement officers, I have
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 knowledge of the operation methods used in narcotics smuggling,

 firearms trafficking, marriage fraud schemes, human trafficking,

 and financial crimes, specifically, illegal gambling, and money

 laundering.    I am also familiar with how criminal organizations

 use digital devices and financial institutions to facilitate and

 conceal their crimes.

      4.      During my time at HSI, I have investigated crimes

 involving narcotics smuggling, firearms violations, illegal

 gambling, money laundering, and marriage fraud.            I have

 participated in many aspects of criminal investigations, such

 as, but not limited to, reviewing evidence, the issuance of

 subpoenas, analyzing cellphone data and Global Positioning

 System (GPS) tracking records, conducting physical and

 electronic surveillance, and executing search and arrest

 warrants.

      5.      The facts set forth in this affidavit are based upon

 my personal observations, my training and experience, and

 information obtained from various law enforcement personnel and

 witnesses.    This affidavit is intended to show merely that there

 is sufficient probable cause for the requested complaints,

 arrest warrants, and search warrants, and does not purport to

 set forth all my knowledge of or investigation into this matter.

 Unless specifically indicated otherwise, all conversations and

 statements described in this affidavit are related in substance

 and in part only.    All amounts are approximate, and all dates

 and times are on or about those stated.         Unless otherwise

 stated, all witness interviews were recorded.


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               II. CRIMINAL COMPLAINTS AND ARREST WARRANTS

         6.   This affidavit is made in support of six criminal

 complaints and six arrest warrants against the following

 individuals:

              a.



   AMIRYAN     , Vahan HARUTYUNYAN                     V. HARUTYUNYAN       ,

 Sevak                                 GZRARYAN    , Mikael STEPANIAN, aka

                                          , Artur HARUTYUNYAN, aka

                                                   , Ivan BOJORQUEZ, aka

                           , and Renzo Francisco EGUILUZ, aka

                                              for a violation of 18 U.S.C.

 § 1201(a)(1): Kidnapping;

              b.     Ara ARTUNI, aka

                                                              , Davit HAZRYAN,

                                                       , Vahagn STEPANYAN,

               aka              ,   aka                     aka

                                , and Christian SEDANO                          for

 a violation of 18 U.S.C. § 1959(a)(5): Attempted Murder in Aid

 of Racketeering Activity (on or about July 7, 2023);

              c.                                                    for a

 violation of 18 U.S.C. § 922(g): Felon in Possession of a

 Firearm (Kimber 1911, model Custom TLE II, .45 caliber, semi-

 automatic pistol bearing serial number K707215); Manuk MANUKYAN

                   for a violation of 18 U.S.C. § 922(g): Felon in

 Possession of a Firearm (Ruger, model 10/22, .22 caliber rifle,

 bearing serial number 129-54711); and Levon ARAKELYAN


                                          3
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                     for a violation of 18 U.S.C. § 922(g): Felon in

Possession of a Firearm (Glock, model 29 Gen4, 10mm Auto

caliber, pistol bearing serial number BRRT964); and

               d.     Arvin Albert KAZARYAN

                          and Areg BEZIK,

                                                         for a violation of

18 U.S.C. §§ 659, 371: Conspiracy to Commit Theft of Interstate

Shipments (NBA HOLDINGS, LLC).

                    III. PERSONS AND PREMISES TO BE SEARCHED

        7.     This affidavit is made in support of applications for

warrants to search the following:

               a.     The person of AMIRYAN, as described more fully in

Attachment A-1;

               b.     6446 Deep Dell Place, Los Angeles, California

90068                              , as described more fully in

Attachment A-2;

               c.     A 2017, black, Lexus SUV bearing California

license plate number 9LTT595 and Vehicle Identification Number

             JTJHY7AX4H4239861                             , as described

more fully in Attachment A-3;

               d.     The person of GZRARYAN, as described more fully

in Attachment A-4;

               e.     1103 North Maple Street, Burbank, California

91505                              , as described more fully in

Attachment A-5;




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            f.   A 2014, gray, Honda Accord bearing California

license plate number 7WLR494 and VIN 1HGCR2F52EA104736

             , as described more fully in Attachment A-6;

            g.   The person of STEPANIAN, as described more fully

in Attachment A-7;

            h.   4035 Ellenita Avenue, Tarzana, California 91356

                          , as described more fully in Attachment A-

8;

            i.   A 2024, black, GMC Hummer EV bearing California

license plate number 9NPY868 and VIN 1GKB0NDE1RU108181

             , as described more fully in Attachment A-9;

            j.   A 2025, blue, BMW iX bearing California license

plate number 9NXG011 and VIN WB523CF06SCS10124

     , as described more fully in Attachment A-10;

            k.   A 2025, black, BMW sedan bearing California

license plate number 9SQY613 and VIN WBY23HD06SFU17405

             , as described more fully in Attachment A-11;

            l.   The person of EGUILUZ, as described more fully in

Attachment A-12;

            m.   14709 Budlong Avenue, Apartment 305, Gardena,

California 90247                         4   , as described more fully

in Attachment A-13;

            n.   A 2020, silver, BMW 530i bearing California

license plate number 8PLM033 and VIN WBAJR3C0XLWW69835

VEHICLE 6    , as described more fully in A-14;

            o.   The person of ARTUNI, as described more fully in

Attachment A-15;


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            p.   19747 Winged Foot Way, Northridge, California

91326                        5   , as described more fully in

Attachment A-16;

            q.   The person of AGOPIAN, as described more fully in

Attachment A-17;

            r.   10880 Amidon Place Tujunga, California 91042

                      6                                                  -

18;

            s.   A 2024, black, Land Rover bearing California

license plate number 9NVB635 and VIN SALKZBF93RA229854

             , as described more fully in Attachment A-19;

            t.   The person of HAZRYAN, as described more fully in

Attachment A-20;

            u.   20648 Pesaro Way, Porter Ranch, California 91326

                      7   , as described more fully in Attachment A-

21;

            v.   A 2025, black, Toyota Tundra bearing California

license plate number 04340D4 and VIN 5TFMA5DB6SX264289

VEHICLE 8    , as described more fully in Attachment A-22;

            w.   A 2024, black, Land Rover Velar bearing

California license plate number 9LFD749 and VIN

SALYL2EX5RA389634                        9    , as described more fully

in Attachment A-23;

            x.   A 2021, black, Chevrolet Suburban bearing

California license plate number DF14G31 and VIN

                                         10    , as described more

fully in Attachment A-24;


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             y.     The person of STEPANYAN, as described more fully

in Attachment A-25;

             z.      8007 Cabernet Court, Sun Valley, California 91352

                         8       , as described more fully in Attachment A-

26;

             aa.     A 2023, white, Mercedes S580 bearing California

license plate number 9GOF815 and VIN W1K6G7GB7PA222390

VEHICLE 11        , as described more fully in Attachment A-27;

             bb.     The person of A. A. KAZARYAN, as described more

fully in Attachment A-28;

             cc.     10053 Tujunga Canyon, Tujunga, California 91042

                         9       , as described more fully in Attachment A-

29;

             dd.     The person of BEZIK, as described more fully in

Attachment A-30;

             ee.     19867 Turtle Springs Way, Porter Ranch,

California 91326                                 0

fully in Attachment A-31;

             ff.     A 2024, silver, Chevrolet Suburban bearing

California license plate number 9ROW138 and VIN

1GNSKDKD6RR355846                               12   , as described more

fully in Attachment A-32;

             gg.     The person of MANUKYAN, as described more fully

in Attachment A-33;

             hh.     6653 Cedros Avenue, Van Nuys, California 91605

                             1    , as described more fully in Attachment

A-34;


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             ii.   A 2011, red, Toyota Camry bearing California

license plate number 6RBU664 and VIN 4T1BF3EK8BU678389

VEHICLE 13     , as described more fully in Attachment A-35;

             jj.   The person of SEDANO, as described more fully in

Attachment A-36;

             kk.   8641 Glenoaks Boulevard, Apartment 132, Sun

Valley, California 91352                              2    , as described

more fully in Attachment A-37;

             ll.   A 2007, gray, Toyota Camry bearing California

license plate number 5ZWX352 and VIN 4T1BE46K6tU694170

VEHICLE 14     , as described more fully in Attachment A-38.

Attachments A-1 through A-38 are incorporated herein by

reference.

                          IV. ITEMS TO BE SEIZED

     8.      The items to be seized from AMIRYAN, SUBJECT PREMISES

1, and SUBJECT VEHICLE 1 are evidence, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 875 (interstate communications),

922(g) (prohibited person in possession of firearms and

ammunition), 924(c) (possession of a firearm in furtherance of

crimes of violence), 1201 (kidnapping); 26 U.S.C. §§ 5861(d)

(possession of unregistered firearms), 5861(i) (possession of

firearms without serial numbers)         the AMIRYAN Group Subject

Offenses                                                       -1.   An

additional item to be seized from SUBJECT PREMISES 1 is the

person of AMIRYAN, as described more fully in Attachment B-2.

An additional item to be seized from AMIRYAN is a sample of


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                                          is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

            Subject Offenses.    Attachments B-1, B-2, and B-3 are

incorporated herein by reference.

     9.     The items to be seized from GZRARYAN, SUBJECT PREMISES

2, and SUBJECT VEHICLE 2 are evidence, fruits, or

instrumentalities of violations of the AMIRYAN Group Subject

Offenses, as described more fully in Attachment B-1.          An

additional item to be seized from SUBJECT PREMISES 2 is the

person of GZRARYAN, as described more fully in Attachment B-4.

An additional item to be seized from GZRARYAN is a sample of

DNA, which is to be obtained via cotton/buccal or cheek swab

from the mouth, as further described in Attachment B-3, for

evidence relating to violations of the AMIRYAN Group Subject

Offenses.   Attachment B-4 is incorporated herein by reference.

     10.    The items to be seized from STEPANIAN, SUBJECT

PREMISES 3, SUBJECT VEHICLE 3, SUBJECT VEHICLE 4, and SUBJECT

VEHICLE 5 are evidence, fruits, or instrumentalities of

violations of the AMIRYAN Group Subject Offenses, as described

more fully in Attachment B-1.      An additional item to be seized

from SUBJECT PREMISES 3 is the person of STEPANIAN, as described

more fully in Attachment B-5.      An additional item to be seized

from STEPANIAN is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of the




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AMIRYAN Group Subject Offenses.       Attachment B-5 is incorporated

herein by reference.

     11.   The items to be seized from EGUILUZ, SUBJECT PREMISES

4, and SUBJECT VEHICLE 6 are evidence, fruits, or

instrumentalities of violations of the AMIRYAN Group Subject

Offenses, as described more fully in Attachment B-1.          An

additional item to be seized from SUBJECT PREMISES 4 is the

person of EGUILUZ, as described more fully in Attachment B-6.

An additional item to be seized from EGUILUZ is a sample of DNA,

which is to be obtained via cotton/buccal or cheek swab from the

mouth, as further described in Attachment B-3, for evidence



Attachment B-6 is incorporated herein by reference.

     12.   The items to be seized from ARTUNI and SUBJECT

PREMISES 5 are evidence, fruits, or instrumentalities of

violations of 18 U.S.C. §§ 2 (aiding and abetting), 371

(conspiracy), 875 (interstate communications), 922(g)

(prohibited person in possession of firearms and ammunition),

922(o) (possession of a machinegun), 924(c) (possession of a

firearm in furtherance of crimes of violence), 1543 (forgery or

false use of passport), 1958 (use of interstate commerce

facilities in the commission of murder-for-hire), 1959 (violent

crimes in aid of racketeering activity), 1962 (RICO conspiracy)

wherein the underlying racketeering includes acts involving

murder, chargeable under California Penal Code §§ 21a, 31, 182,

187, 188, 189, 664, and acts under the following provisions of

18 §§ U.S.C. 659 (relating to theft from interstate shipment),


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932 (relating to straw purchasing), 1343 (relating to wire

fraud), 1344 (relating to financial institution fraud), 1543

(relating to forgery or false use of a passport), 1958 (relating

to use of interstate commerce facilities in the commission of

murder-for-hire); 26 U.S.C. §§ 5861(d) (possession of

unregistered firearms), 5861(i) (possession of firearms without



fully in Attachment B-7.      An additional item to be seized from

SUBJECT PREMISES 5 is the person of ARTUNI, as described more

fully in Attachment B-8.      An additional item to be seized from

ARTUNI is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

ARTUNI                                         -7 and B-8 are

incorporated herein by reference.

     13.   The items to be seized from AGOPIAN, SUBJECT PREMISES

6, and SUBJECT VEHICLE 7 are evidence, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 875 (interstate communications),

922(g) (prohibited person in possession of firearms and

ammunition), 922(o) (possession of a machinegun), 924(c)

(possession of a firearm in furtherance of crimes of violence),

1958 (use of interstate commerce facilities in the commission of

murder-for-hire), 1959 (violent crimes in aid of racketeering

activity), 1962 (RICO conspiracy) wherein the underlying

racketeering includes acts involving murder, chargeable under

California Penal Code §§ 21a, 31, 182, 187, 188, 189, 664, and


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acts under the following provisions of 18 §§ U.S.C. 659

(relating to theft from interstate shipment), 932 (relating to

straw purchasing), 1343 (relating to wire fraud), 1344 (relating

to financial institution fraud), 1958 (relating to use of

interstate commerce facilities in the commission of murder-for-

hire); 26 U.S.C. §§ 5861(d) (possession of unregistered

firearms), 5861(i) (possession of firearms without serial

numbers)

in Attachment B-9.    An additional item to be seized from SUBJECT

PREMISES 6 is the person of AGOPIAN, as described more fully in

Attachment B-10.    An additional item to be seized from AGOPIAN

is a sample of DNA, which is to be obtained via cotton/buccal or

cheek swab from the mouth, as further described in Attachment B-

3, for evidence relating to violations of AGOPIAN

Offenses.    Attachments B-9 and B-10 are incorporated herein by

reference.

     14.     The items to be seized from HAZRYAN, SUBJECT PREMISES

7, SUBJECT VEHICLE 8, SUBJECT PREMISES 9, and SUBJECT PREMISES

10 are evidence, fruits, or instrumentalities of violations of

18 U.S.C. §§ 2 (aiding and abetting), 371 (conspiracy), 875

(interstate communications), 922(g) (prohibited person in

possession of firearms and ammunition), 922(o) (possession of a

machinegun), 924(c) (possession of a firearm in furtherance of

crimes of violence), 1028 (fraud and related activity in

connection with identification documents, authentication

features, and information), 1028A (aggravated identity theft),

1029 (access device fraud), 1343 (wire fraud), 1344 (bank


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fraud), 1347 (health care fraud), 1543 (forgery or false use of

passport), 1958 (use of interstate commerce facilities in the

commission of murder-for-hire), 1959 (violent crimes in aid of

racketeering activity), 1962 (RICO conspiracy) wherein the

underlying racketeering includes acts involving murder,

chargeable under California Penal Code §§ 21a, 31, 182, 187,

188, 189, 664, and acts under the following provisions of 18 §§

U.S.C. 659 (relating to theft from interstate shipment), 932

(relating to straw purchasing), 1343 (relating to wire fraud),

1344 (relating to financial institution fraud), 1543 (relating

to forgery or false use of a passport), 1958 (relating to use of

interstate commerce facilities in the commission of murder-for-

hire); 26 U.S.C. §§ 5861(d) (possession of unregistered

firearms), 5861(i) (possession of firearms without serial

numbers)    HAZRYAN

in Attachment B-11.       An additional item to be seized from

SUBJECT PREMISES 7 is the person of HAZRYAN, as described more

fully in Attachment B-12.       An additional item to be seized from

HAZRYAN is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

HAZRYAN                                          -11 and B-12 are

incorporated herein by reference.

     15.   The items to be seized from STEPANYAN, SUBJECT

PREMISES 8, and SUBJECT VEHICLE 11 are evidence, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 875 (interstate communications),


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922(g) (prohibited person in possession of firearms and

ammunition), 922(o) (possession of a machinegun), 924(c)

(possession of a firearm in furtherance of crimes of violence),

1958 (use of interstate commerce facilities in the commission of

murder-for-hire), 1959 (violent crimes in aid of racketeering

activity), 1962 (RICO conspiracy) wherein the underlying

racketeering includes acts involving murder, chargeable under

California Penal Code §§ 21a, 31, 182, 187, 188, 189, 664, and

acts under the following provisions of 18 §§ U.S.C. 932

(relating to straw purchasing), 1343 (relating to wire fraud),

1344 (relating to financial institution fraud), 1958 (relating

to use of interstate commerce facilities in the commission of

murder-for-hire); 26 U.S.C. §§ 5861(d) (possession of

unregistered firearms), 5861(i) (possession of firearms without

serial numbers)     STEPANYAN

more fully in Attachment B-13.       An additional item to be seized

from SUBJECT PREMISES 8 is the person of STEPANYAN, as described

more fully in Attachment B-14.       An additional item to be seized

from STEPANYAN is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

STEPANYAN                                         -13 and B-14 are

incorporated herein by reference.

     16.    The items to be seized from A. A. KAZARYAN and SUBJECT

PREMISES 9 are evidence, fruits, or instrumentalities of

violations of 18 U.S.C. §§ 2 (aiding and abetting), 371

(conspiracy), 659 (theft of interstate shipments), 875


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(interstate communications), 922(g) (prohibited person in

possession of firearms and ammunition), 924(c) (possession of a

firearm in furtherance of crimes of violence), 1347 (health care

fraud), 1349 (attempt and conspiracy), 1958 (use of interstate

commerce facilities in the commission of murder-for-hire), 1959

(violent crimes in aid of racketeering activity), 1962 (RICO

conspiracy) wherein the underlying racketeering includes acts

involving murder, chargeable under California Penal Code §§ 21a,

31, 182, 187, 188, 189, 664, and acts under the following

provisions of 18 §§ U.S.C. 659 (relating to theft from

interstate shipment), 932 (relating to straw purchasing), 1343

(relating to wire fraud), 1344 (relating to financial

institution fraud), 1958 (relating to use of interstate commerce

facilities in the commission of murder-for-hire); 26 U.S.C. §§

5861(d) (possession of unregistered firearms), 5861(i)

(possession of firearms without serial numbers)           A. A.

KAZARYAN

Attachment B-15.    An additional item to be seized from SUBJECT

PREMISES 9 is the person of A. A. KAZARYAN, as described more

fully in Attachment B-16.      An additional item to be seized from

A. A. KAZARYAN is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of A. A.

KAZARYAN                                         -15 and B-16 are

incorporated herein by reference.

     17.   The items to be seized from BEZIK, SUBJECT PREMISES

10, and SUBJECT VEHICLE 12 are evidence, fruits, or


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instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 659 (theft of interstate

shipments), 875 (interstate communications), 1347 (health care

fraud), 1349 (attempt and conspiracy), 1962 (RICO conspiracy)

wherein the underlying racketeering includes acts under the

following provisions of 18 §§ U.S.C. 659 (relating to theft from

interstate shipment), 1343 (relating to wire fraud), 1344

(relating to financial institution fraud)                    Subject

                                e fully in Attachment B-17.       An

additional item to be seized from SUBJECT PREMISES 10 is the

person of BEZIK, as described more fully in Attachment B-18.            An

additional item to be seized from BEZIK is a sample of DNA,

which is to be obtained via cotton/buccal or cheek swab from the

mouth, as further described in Attachment B-3, for evidence

relating to violations of                Subject Offenses.   Attachments

B-17 and B-18 are incorporated herein by reference.

     18.   The items to be seized from MANUKYAN, SUBJECT PREMISES

11, and SUBJECT VEHICLE 13 are evidence, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 875 (interstate communications),

922(g) (prohibited person in possession of firearms and

ammunition), 1543 (forgery or false use of passport), 1958 (use

of interstate commerce facilities in the commission of murder-

for-hire), 1959 (violent crimes in aid of racketeering

activity), 1962 (RICO conspiracy) wherein the underlying

racketeering includes acts involving murder, chargeable under

California Penal Code §§ 21a, 31, 182, 187, 188, 189, 664, and


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acts under the following provisions of 18 §§ U.S.C. 932

(relating to straw purchasing), 1343 (relating to wire fraud),

1344 (relating to financial institution fraud), 1543 (relating

to forgery or false use of a passport), 1958 (relating to use of

interstate commerce facilities in the commission of murder-for-

hire); 26 U.S.C. §§ 5861(d) (possession of unregistered

firearms), 5861(i) (possession of firearms without serial

numbers)    MANUKYAN

fully in Attachment B-19.       The item to be seized from SUBJECT

PREMISES 11 is the person of MANUKYAN, as described more fully

in Attachment B-20.       An additional item to be seized from

MANUKYAN is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

MANUKYAN                                          -19 and B-20 are

incorporated herein by reference.

     19.   The items to be seized from SEDANO, SUBJECT PREMISES

12, and SUBJECT VEHICLE 14 are evidence, fruits, or

instrumentalities of violations of 18 U.S.C. §§ 2 (aiding and

abetting), 371 (conspiracy), 875 (interstate communications),

922(g) (prohibited person in possession of firearms and

ammunition), 922(o) (possession of a machinegun), 924(c)

(possession of a firearm in furtherance of crimes of violence),

1958 (use of interstate commerce facilities in the commission of

murder-for-hire), 1959 (violent crimes in aid of racketeering

activity), 1962 (RICO conspiracy) wherein the underlying

racketeering includes acts involving murder, chargeable under


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California Penal Code §§ 21a, 31, 182, 187, 188, 189, 664, and

acts under the following provisions of 18 §§ U.S.C. 932

(relating to straw purchasing), 1343 (relating to wire fraud),

1344 (relating to financial institution fraud), 1543 (relating

to forgery or false use of a passport), 1958 (relating to use of

interstate commerce facilities in the commission of murder-for-

hire); 26 U.S.C. §§ 5861(d) (possession of unregistered

firearms), 5861(i) (possession of firearms without serial

numbers)             s Subje

in Attachment B-21.       An additional item to be seized from

SUBJECT PREMISES 12 is the person of SEDANO, as described more

fully in Attachment B-22.       An additional item to be seized from

SEDANO is a sample of DNA, which is to be obtained via

cotton/buccal or cheek swab from the mouth, as further described

in Attachment B-3, for evidence relating to violations of

                                                -21 and B-22 are

incorporated herein by reference.

     20.     Digital devices seized are to be searched pursuant to

the terms of Attachment C, which is incorporated herein by

reference.

         V. ARMENIAN ORGANIZED CRIME IN LOS ANGELES COUNTY

     At all times relevant to the conduct described in this

affidavit:

     21.     Armenian Organized Crime, also referred to as the

Armenian Mafia originated in the former Union of Soviet



existed under the control of the Russian Mafia (Russian:


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     , Romanized: Russkaya Mafiya                                  Bratva

(Russian:         , English: brotherhood or band of brothers).

     22.    Armenian Organized Crime was comprised of senior

leaders, members, and associates who resided in modern-day

Russia and Armenia, France, Spain, Iran, as well as other

countries, including the United States.        In the United States,

most Armenian Organized Crime leaders, members, and associates

resided in Los Angeles County, which contained one of the

largest Armenian populations outside of Russia and Armenia.

     23.    Armenian Organized Crime followed



traditional, strict, linear one wherein each member carried a

specific title or rank and there was a clear, designated chain

of command.   In Los Angeles County, this organizational

restructuring led to the creation of de-centralized, hybrid

crime crews that included Armenian Organized Crime members as

well as non-member and/or non-Armenian criminals.

     24.    When residing outside of the former USSR and its

surrounding territories, Armenian Organized Crime groups

camouflaged themselves amongst expatriate and immigrant Armenian

communities and used these emigrant communities as bases to

establish Armenian criminal organizations internationally.           A

hallmark of Armenian Organized Crime was the strategic use of



within the Armenian criminal community, and/or leverage a

business interest.    To avoid law enforcement detection, Armenian

Organized Crime often assigned these acts of violence to non-


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Armenian criminal associates, such as members of black and

Sureño1 street gangs.

     25.   Power and leadership in Armenian Organized Crime was

based, among other things, on a combination of respect,

seniority, that is, physical age, authority within the Russian

Mafia, and relatedly, authority and influence within the

Armenian criminal community.         Traditionally, Armenian Organized

Crime members and associates reported to a specific, high-level,

male crime boss who was born either in Armenia or a former

Soviet country.    In Armenian Organized Crime, this crime boss

                                         rmenian:                English:

                                  for short.   Colloquially, goghs were

                          kerop          qerop

slang for both                                       gogh could not be



     1Based on my training and experience, I am aware that Sureños
or        s                                      foot-soldiers for
the Mexican Mafia        La Eme,
        . Sureños are members of Hispanic criminal street gangs
based in Southern California. Based on my training and experience,
I also know that the Mexican Mafia is an organized prison gang
that was formed in the 1950s by Hispanic street gang members who
were then incarcerated in Southern California.        The founding
members formed the organization to protect Hispanics from other
                                                        g violence,
the Mexican Mafia eventually gained significant power and control
over illegal activities in the California prison system. Although
historically at odds, at present, the Armenian Power street gang
                          -     collaborates with the Mexican Mafia
and received the number 13 to its name as a sign of solidarity.
The AP-Eme relationship has expanded to a more global partnership
between the Mexican Mafia and Armenian Organized Crime.         The
Mexican Mafia and Armenian criminal organization alliance has been
fostered principally through the mutual incarceration of its
members. As such, Armenian Organized Crime groups and the street
gangs that the Mexican Mafia oversees, which included AP, commonly
worked together to engage in criminal activities in the greater
Los Angeles area.

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crowned, that is, named or appointed, without the blessing

and/or approval of the Russian Mafia.

     26.   Under each gogh, there were multiple elders who each

controlled their own organized crime group.           The elders were the

direct connection to the gogh, and they were responsible for

meting out tasks or giving orders to the members and associates

of their respective group.      In essence, the elders were

responsible for controlling the day-to-day and street-level

criminal activity in their group.        Under each elder, there were

assorted members and/or non-member associates with authority and

influence within the Armenian Criminal community.

     27.   Armenian Organized Crime also included individuals of

                    avtoritet

person of significant authority) who commonly controlled their

own crime groups.    Though revered in the Armenian criminal

community, avotoritet, unlike goghs, were not crowned by the

Russian Mafia.    Nevertheless, avtoritet had an impeccable

reputation and were notorious in, among other places, the

Armenian criminal underworld.      As such, in Los Angeles County,

avtoritet commonly operated independently and led their own

organized crime groups thereby wielding an incredible amount of

power over Armenian criminal organizations, including Armenian

Organized Crime, the Armenian criminal street gang -- Armenian

Power,2 and non-member Armenians who committed crimes.


     2 Based on my training and experience, I am aware that Armenian
Power was founded in the early 1990s in the greater Los Angeles
area due, in large part, to the prevalent gang culture and the
                                  (footnote cont d on next page)

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         VI. SUMMARY OF THE INVESTIGATION AND PROBABLE CAUSE

     28.     In the summer of 2023, HSI, the Los Angeles Police

Department

     launched                                         -agency

investigation aimed at investigating a series of violent crimes

committed by members and associates of two warring Armenian

Organized Crime groups: (1) a group led by AMIRYAN, an avtoritet

and suspected Toonerville 13 gang member 3 (hereafter referred to

                    rganized Crime Group ), and (2) a group led by

ARTUNI, an avtoritet, that is known to engage in a pattern of

racketeering activity (

Enterprise ).

     29.     As set forth in detail below, through the course of

the investigation, law enforcement has gathered information from

a variety of sources, including but not limited to: (1) witness

interviews; (2) video and audio recordings; (3) search warrants

for persons, premises, devices, and digital accounts; (4)

financial records from both individuals and companies; (5) call

detail records; (6) Global Position System ( GPS ), cell tower,

and cell-site location data; (7) the analysis of firearms and

ammunition; (8) DNA and latent print analysis; and (8) State of

considerable number of Armenian nationals who had immigrated to
the region.    Given its sheer size, Armenian Power is often,
incorrectly, used as a euphemism for Armenian Organized Crime.
Instead, Armenian Power operates collaboratively with Armenian
Organized Crime and other non-member criminals, as well as
individually.
     3 Based on my conversations with law enforcement officers
who specialize in Armenian Organized Crime, I am aware that

given to AMIRYAN because of his alleged membership in the
predominantly Sureño street gang Toonerville 13.

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California records, public filings, and other publicly available

information.    The investigation also employed additional

investigative techniques, including but not limited to,

surveillance.    Collectively, the evidence described below

provides probable cause that the targets identified above

committed their attributed Subject Offenses.

     30.     Below, I summarize the information and evidence

obtained thus far from these various investigative tools where

relevant to the requested complaints and warrants.          The

investigation remains ongoing.

                VII. THE AMIRYAN ORGANIZED CRIME GROUP

     31.     At all times relevant to the conduct described in this

affidavit:

     32.     The Amiryan Organized Crime Group was an Armenian

Organized Crime group that operated in Los Angeles County and

elsewhere with AMIRYAN at the helm.       As an avtoritet, AMIRYAN

commanded respect and occupied a position of power within the

Armenian criminal community in the greater Los Angeles area.

Typical of the flat Armenian Organized Crime structure, AMIRYAN

loosely commanded Armenian members of his organization and he

recruited non-Armenian criminal associates for the purpose of

committing crimes at his behest.

 VIII.        MEMBERS AND ASSOCIATES OF THE AMIRYAN ORGANIZED CRIME
                                    GROUP

     33.     Robert

                                                      a lawful United

States resident and citizen of Armenia, was an avtoritet within



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the Armenian organized crime community and led his own organized

crime group (the Amiryan Organized Crime Group).           As described

below, AMIRYAN was the target in multiple shooting incidents.

As also described below, AMIRYAN was present at the scene of

     s kidnapping, assault, and torture, indicating his

importance in the community, and his willingness to commit

violent crimes to benefit and protect his standing and the

standing of the Amiryan Organized Crime Group.          At all times

relevant to the criminal events described in this affidavit,

AMIRYAN resided in the Central District of California.

     34.   Vahan                              lawful United States

resident, self-reported citizen of the former USSR, and person

of Armenian descent, was a member of the Amiryan Organized Crime

Group.   As described below, V. HARUTYUNYAN was the target in

multiple shooting incidents.      As also described below, V.

HARUTYUNYAN was present at the scene of               s kidnapping,

assault, and torture, indicating his proximity to AMIRYAN and

willingness to commit violent crimes to benefit and protect



Crime Group.    At all times relevant to the criminal events

described in this affidavit, V. HARUTYUNYAN resided in the

Central District of California. 4



     4 Based on witness statements, I am aware that V.
HARUTYUNYAN re-located to the Southern District of Florida in or
around January 2025. In addition, based on my involvement in
this investigation and review of law enforcement database
records, I am also aware that a vehicle belonging to V.
HARUTYUNYAN has recently been in Hollywood, Florida, thus
confirming my                                           .

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     35.    Sevak                             citizen of Armenia and

documented member of the Armenian Power street gang residing

illegally in the United States, was a member of the Amiryan

Organized Crime Group.     As described below, GZRARYAN was the

target in at least one shooting incident.        As also described

below, GZRARYAN was present at the scene of             s kidnapping,

assault, and torture, indicating his proximity to AMIRYAN and

willingness to commit violent crimes to benefit and protect



Crime Group.    At all times relevant to the criminal events

described in this affidavit, GZRARYAN resided in the Central

District of California.

     36.    Mikael                                                      a

citizen of Armenia residing illegally in the United States, was

a member of the Amiryan Organized Crime Group.         As described

below, STEPANIAN was the target in at least one shooting

incident.   As also described below, STEPANIAN was present at the

scene of        s kidnapping, assault, and torture, indicating his

proximity to AMIRYAN and willingness to commit violent crimes to



Amiryan Organized Crime Group.       At all times relevant to the

criminal events described in this affidavit, STEPANIAN resided

in the Central District of California.

     37.    Artur

of Armenia residing illegally in the United States, was a member

of the Amiryan Organized Crime Group.        As also described below,

A. HARUTYUNYAN was present at the scene of             s kidnapping,


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assault, and torture, indicating his proximity to AMIRYAN and

willingness to commit violent crimes to benefit and protect



Crime Group.    At all times relevant to the criminal events

described in this affidavit, A. HARUTYUNYAN resided in the

Central District of California. 5

     38.   Ivan BOJORQUEZ                     natural-born United

States citizen, was an associate of the Amiryan Organized Crime

Group.   As described below, AMIRYAN called upon BOJORQUEZ and



                                                At all times relevant

to the criminal events described in this affidavit, BOJORQUEZ

resided in the Central District of California. 6

     39.   Francisco Renzo

natural-born citizen United States citizen, was a documented

member of a historically black criminal street gang (the Fourth

Avenue Bloods ( FAB                           ) and associate of the

Amiryan Organized Crime Group.       As described below, AMIRYAN

called upon EGUILUZ and BOJORQUEZ



torture.   At all times relevant to the criminal events described




     5
and torture, A. HARUTYUNYAN fled to Mexico.
     6 Based on my conversations with LAPD Detective Stupar, I am
aware that BOJORQUEZ is presently detained in California State
custody at the Los Angeles County Jail, North County
Correctional Facility, on charges for kidnapping and in separate
instance, murder.

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in this affidavit, EGUILUZ resided in the Central District of

California.

                  IX. THE ARTUNI CRIMINAL ENTERPRISE

     40.     At all times relevant to the conduct described in this

affidavit:

     A.      The Artuni Enterprise

     41.     ARTUNI, AGOPIAN, HAZRYAN, STEPANYAN, A. A. KAZARYAN,

BEZIK, MANUKYAN, ARAKELYAN, SEDANO, and others known and

unknown, were members of the Artuni Enterprise, a criminal

organization operating in and around Los Angeles County and

elsewhere, whose members and associates engage in, among other

things, murder, theft from interstate shipments, bank and wire

fraud, forgery or false use of a passport, and murder-for-hire.

The Artuni Enterprise operated within the Central District of

California and elsewhere.

     42.     The Artuni Enterprise, including its leaders, members,



18, United States Code, Section 1959(b)(2) and 1961(4), that is,

a group of individuals associated in fact that was engaged in,

and the activities of which affected, interstate and foreign

commerce.    The Artuni Enterprise constituted an ongoing

organization, whose criminal activities began no later than in

or around 2020, whose members functioned as a continuing unit

for a common purpose of achieving the objectives of the

enterprise.

     43.     The Artuni Enterprise, through its members and

associates, engaged in racketeering activity, as defined in


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Title 18, United States Code, Sections 1959(b)(1) and 1961(1),

that is, acts involving murder, in violation of California Penal

Code Sections 21a, 31, 182, 187, 189, and 664; offenses relating

to theft from interstate shipment, in violation of Title 18,

United States Code, Section 659; offenses involving fraud, in

violation of Title 18 United States Code Sections 1343, 1344;

offenses involving forgery or false use of a passport, in

violation of Title 18, United states Code, Section 1543; and

offenses involving the use of interstate commerce facilities in

the commission of murder-for-hire, in violation of Title 18,

United States Code, Section 1958.

     44.     The Artuni Enterprise was an Armenian Organized Crime

group that operated in Los Angeles County and elsewhere with

ARTUNI at the helm.       As an avtoritet, ARTUNI commanded respect

and occupied a position of power within the Armenian criminal

community in the greater Los Angeles area.         Typical of the flat

Armenian Organized Crime structure, ARTUNI loosely commanded

members of his organization and he recruited non-Armenian

criminal associates for the purpose of committing crimes at his

behest.

     B.      Purpose of the Artuni Enterprise

     45.     The purposes of the Artuni Enterprise included, but

were not limited to, the following:

             a.   Enriching members and associates of the Artuni

Enterprise through, among other things, the theft of interstate

shipments and the commission of fraud in Los Angeles County and

elsewhere;


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           b.    Establishing control over Armenian communities

within Los Angeles County;

           c.    Preserving, protecting, and expanding the power

of the Artuni Enterprise using intimidation, violence, and

threats of violence; and

           d.    Violently retaliating against rival Armenian

Organized Crime groups or perceived outsiders who challenged the

                                                                upon the



     C.    The Means and Methods of the Artuni Enterprise

     46.   The means and methods by which the members and

associates of the Artuni Enterprise conducted and participated

in the conduct of the affairs of the Artuni Enterprise included

the following:

           a.    Members and associates of the Artuni Enterprise

committed, attempted to commit, conspired to commit, and

threatened to commit acts of violence, including murder, to

preserve, protect, and expand the Artuni E

operations.

           b.    Members and associates of the Artuni Enterprise

promoted a climate of fear through acts of violence and threats

to commit acts of violence.

           c.    Members and associates of the Artuni Enterprise

stole from interstate shipments and committed fraud to generate

revenue for the enterprise.




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        X. MEMBERS AND ASSOCIATES OF THE ARTUNI ENTERPRISE

     47.   Ara ARTUNI

                                              lawful United States

resident who self-reported Iranian citizenship but suspectedly

was an Armenian citizen, was an avtoritet within the Armenian

organized crime community and led his own organized crime group

(the Artuni Enterprise).      As described below, ARTUNI authorized

murders targeting individuals of importance within the Armenian

criminal community, including his apparent rival AMIRYAN.

ARTUNI was at or near at least one of the murder attempts.           As

also described below, as evidence of his high status, ARTUNI was

chauffeured by members of his enterprise, including HAZRYAN.            As

further evidence of his position, ARTUNI received payment



criminal community to include members of his own enterprise

(e.g., AGOPIAN, HAZRYAN, A. A. KAZARYAN, and BEZIK).          Often,

ARTUNI transferred or directed these tributes to his family

members.   At all times relevant to the criminal events described

in this affidavit, ARTUNI resided in the Central District of

California.

     48.   Alex AGOPIAN          Alik      naturalized United States

citizen who self-reported being born in Azerbaijan though he was

a person of Armenian descent, was a member of the Artuni

Enterprise.   As described below, AGOPIAN was present at a

storage facility maintained by other members of the enterprise



AGOPIAN, like ARTUNI, was chauffeured by lower-level members of


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the enterprise (HAZRYAN), and also like ARTUNI, received a

                                                          , indicating

that AGOPIAN maintained a position of prominence within the

enterprise.    At all times relevant to the criminal events

described in this affidavit, AGOPIAN resided in the Central

District of California.

        49.                                                       a

naturalized United States citizen who was born in Armenia, was a

member of the Artuni Enterprise.         As described below, HAZRYAN

discussed illicit criminal activities with A. A. KAZARYAN,

another member of the enterprise, about joint fraudulent

ventures, indicating that there was an ongoing criminal

relationship between the two.      HAZRYAN also paid tribute to and

chauffeured ARTUNI, indicating an ongoing criminal relationship

with him.     HAZRYAN was at or near the location of several

attempted murders conducted on orders from ARTUNI, indicating

his membership in the enterprise and willingness to cause and/or

conduct violent crimes on its behalf.        At all times relevant to

the criminal events described in this affidavit, HAZRYAN resided

in the Central District of California.

        50.                                               ,

Alver                           a derivative United States citizen

who self-reported being born in the USSR but was a person of

Armenian descent, was a member of the Artuni Enterprise.

STEPANYAN was a documented member of the Sureño Elmwood street




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gang.7      As described below, STEPANYAN (along with SEDANO)



under his name.      STEPANYAN was at or near the location of

several attempted murders conducted on orders from ARTUNI.

                                                   -between in

furtherance of orchestrating a completed murder, further

indicating his membership in the enterprise and willingness to

cause and/or conduct violent crimes on its behalf.           At all times

relevant to the criminal events described in this affidavit,

STEPANYAN resided in the Central District of California.

       51.     Arvin Albert KAZARYAN, aka                          a

natural-born United States citizen and person of Armenian

descent, was a member of the Artuni Enterprise.          As described

below, A. A. KAZARYAN discussed fraudulent ventures and cargo

theft with HAZRYAN and BEZIK, indicating an ongoing criminal

relationship between them.       A. A. KAZARYAN paid tribute to

ARTUNI, also indicating an ongoing criminal relationship with

him.       In addition, members of the Artuni Enterprise used cars

leased or registered to A. A. KAZARYAN or his father, at least

one of which was used during a murder attempt.          At all times

relevant to the criminal events described in this affidavit, A.

A. KAZARYAN resided in the Central District of California.


       Based on my training and experience and conversations with
       7
law enforcement personnel, I am aware that the Elmwood street
gang (also known as Elmwood 13 given its allegiance to the
Mexican Mafia) is a predominately Hispanic street gang that is
known to have Armenian members. Elmwood is mostly active in
Burbank, California, but its members also operate in other areas
of Los Angeles County. Elmwood gang members are known to commit
crimes ranging from vandalism, narcotics sales, assault with
deadly weapons, shootings, and murders.

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     52.    Areg BEZIK,                                                  a

lawful United States resident who self-reported Iranian

citizenship, was a member of the Artuni Enterprise.          As

described below,

fraudulent ventures with both HAZRYAN and A. A KAZARYAN,

indicating an ongoing criminal relationship between them.           At

all times relevant to the criminal events described in this

affidavit, BEZIK resided in the Central District of California.

     53.    Manuk MANUKYAN, a refugee who self-reported being born

in the USSR but was a person of Armenian descent, was an

associate of the Artuni Enterprise.       As described below,

MANUKYAN purchased a vehicle used during an attempted murder

committed on orders from ARTUNI, indicating his association with

the enterprise and willingness to cause and/or conduct violent

crimes on its behalf.     At all times relevant to the criminal

events described in this affidavit, MANUKYAN resided in the

Central District of California.

     54.    Levon ARAKELYAN, an illegal alien who self-reported

being born in the USSR but was a person of Armenian descent, was

an associate of the Artuni Enterprise.        ARAKELYAN was a self-

proclaimed Sureño8 and had a tattoo that read:         Armenian Pride .9


     8 As previously stated, more recently, Hispanic street gangs
controlled by the Mexican Mafia and Armenian organized crime
groups have negotiated a peace agreement through their senior
leadership, which has led to the normalization of them
associating and committing crimes together and to the
normalization of persons of Armenian descent joining or aligning
themselves with Sureño gangs.
     9   I have reviewed information provided by the Federal Bureau
                    , National Gang Unit, Intelligence and Counter
                                     (footnote cont d on next page)

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As described below, ARAKELYAN frequented the storage facility

that served as

on two of the weapons seized from there, evidencing a

willingness to cause and/or conduct violent crimes on the

                      .   At all times relevant to the criminal

events described in this affidavit, ARAKELYAN resided in the

Central District of California or was imprisoned in the District

of Nevada.

     55.     Christian SEDANO, a natural-born United States

citizen, was a member of the Artuni Enterprise.         SEDANO, like

STEPANYAN, was a documented member of the Sureño Elmwood street

gang.10    As described below, SEDANO (along with STEPANYAN)



                             Conspicuously timed gaps in usage of



involvement in these attempted murders is indicia of his

membership in the enterprise and willingness to cause and/or

conduct violent crimes on its behalf.        At all times relevant to

Terrorism Branch, who validated ARAKELYAN as a Sureño due to his
self-admission, gang tattoos, and a BOP memorandum documenting
ARAKELYAN walking hallways, sitting on the recreation yard, and
eating meals at the same tables with other documented Sureño
members. I have also reviewed information provided by the Las
Vegas Metropolitan Police Department, Central Intelligence Unit.
Based on my review of this information, I am aware that

tattooed in large lettering in the mid-section of his back
paying homage to his Armenian heritage and his association with
the Armenian Power criminal street gang. Also, above his left
elbow, ARAKELYAN has a tattoo of two lines, one over the top of
each other, with three dots right above it, signifying the
numerical number 13. This is a common Sureño symbol.
     10On or about September 16, 2022, the two were in a car
together when they were detained during a traffic stop
investigation.

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the criminal events described in this affidavit, SEDANO resided

in the Central District of California.

 XI. SUMMARY CHART OF RELEVANT INCIDENTS OF VIOLENCE COMMITTED BY
      THE AMIRYAN ORGANIZED CRIME GROUP AND THE ARTUNI ENTERPRISE

        56.   I have prepared the following chart summarizing the

relevant instances of violent criminal conduct, the dates on

which they occurred, the perpetrator(s), and the victim(s):

                               Criminal Conduct
 Date                Summary           Perpetrator(s)     Victim
 July 21, 2020      Edward LOPEZ       ARTUNI,            A.S.
                                       AGOPIAN,           D.M.
                    A.S. and D.M.      STEPANYAN,
                    as they slept      Edward Lopez
                    in their bed.      (deceased), et
                    A.S. was           al.
                    killed, while
                    D.M. sustained
                    two gunshot
                    wounds but
                    survived.
 October 25,        Person(s) shot     ARTUNI, et al.     STEPANIAN
 2022               STEPANIAN in
                    the back as he
                    stood in his
                    driveway.
                    STEPANIAN
                    survived.
 April 3, 2023      Person(s) shot     ARTUNI, et al.     AMIRYAN
                    at AMIRYAN
                    while he stood
                    in his garage
                    but missed
                    him.
 June 6, 2023       A. HARUTYUNYAN     AMIRYAN, V.        A.K.
 to June 7,         lured A.K.         HARUTYUNYAN,
 2023               from his home.     GZRARYAN,
                    A.K. was then      STEPANIAN, A.
                    kidnapped,         HARUTYUNYAN,
                    assaulted, and     BOJORQUEZ,
                    tortured.          EGUILUZ, et
                    A.K. sustained     al.
                    multiple

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                             Criminal Conduct
 Date              Summary            Perpetrator(s)     Victim
                   injuries but
                   survived.
 June 12, 2023     A vehicle          ARTUNI,            G.M.
                   registered to      HAZRYAN, A. A.
                   A.A.               KAZARYAN, et
                                      al.
                   father
                   was used in a
                   shooting
                   targeting G.M.
                   at an
                   intersection
                   down the
                   street from
                   his home.
                   G.M. was
                   uninjured.
 July 7, 2023      Person shoots      ARTUNI,            AMIRYAN
                   at AMIRYAN         HAZRYAN,
                   while he sat       MANUKYAN,
                   on a balcony       STEPANYAN,
                   at his home.       SEDANO, et al.

                   significant
                   other (R.M.)
                   was also on
                   the balcony.
                   AMIRYAN
                   sustained
                   multiple
                   gunshot wounds
                   but survived.
 August 18,        Person shot at     ARTUNI,            V. HARUTYUNYAN
 2023              V.                 HAZRYAN,
                                      STEPANYAN, et
                   home while he      al.
                   was inside.
                   V. HARUTYUNYAN
                   was uninjured.
 August 25,        Persons shot       ARTUNI,            V. HARUTYUNYAN
 2023              V. HARUTYUNYAN     AGOPIAN,
                   while he was       HAZRYAN,
                   in the             STEPANYAN, et
                   backyard of        al.

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                             Criminal Conduct
 Date              Summary            Perpetrator(s)     Victim
                   his home with
                   AMIRYAN,
                   GZRARYAN, et
                   al. V.
                   HARUTYUNYAN
                   sustained
                   multiple
                   gunshot wounds
                   but survived.
 November 9,       Person shot        ARTUNI,            H.H.
 2023              H.H. while he      HAZRYAN,
                   was parked in      STEPANYAN, et
                   a Starbucks        al.
                   parking lot.
                   H.H. sustained
                   multiple
                   gunshot wounds
                   but survived.
 March 14, 2025    Persons shot       ARTUNI, et al.     R.M.
                   at a car
                   driven by R.M.

                   significant
                   other) as she
                   parked it at
                   their home.
                   R.M. sustained
                   a gunshot
                   wound but
                   survived. The

                   children, who
                   were also in
                   the car, were
                   uninjured.
 March 28, 2025    Person shot        ARTUNI, et al.     R.M.
                   GZRARYAN in
                   the stomach as
                   he parked his
                   vehicle
                   outside of his
                   home.
                   GZRARYAN
                   survived.

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 XII. SUMMARY OF OTHER RACKETEERING ACTS COMMITTED BY THE ARTUNI
                              ENTERPRISE

     57.   I have prepared the following chart summarizing other

relevant racketeering conduct committed by the Artuni

Enterprise, the approximate dates (or date range) on which they

occurred, the perpetrator(s), and the victim(s):

                            Criminal Conduct
 Date(s)        Summary of Conduct    Perpetrator(s)     Victim
 Unk. to        Utilization of        ARTUNI,            Assorted
 2023           sham business         AGOPIAN,           credit card
                (Freedom At           HAZRYAN,           companies,
                Enterprise Inc) to    STEPANYAN,         banks, PayPal,
                defraud credit        SEDANO, et al.     and Intuit
                card companies by
                making false
                claims.
 Unk. to        Theft of goods        ARTUNI,            Amazon;
 2023           being transported     AGOPIAN, A. A.     assorted
                using Amazon.         KAZARYAN,          vendors
                                      BEZIK, et al.

                XIII.      STATEMENT OF PROBABLE CAUSE

     A.    July 21, 2020: Murder of A.S. and Attempted Murder of
           D.M. in Burbank

           1.    Probable Cause Summary

     58.   As set forth below, there is probable cause to believe

that ARTUNI, STEPANYAN, LOPEZ, and others known and unknown,

murdered A.S. and attempted to murder D.M.        The evidence

supporting this determination includes, but is not limited to:

(1) the use of a non-Armenian, Sureño gang member (LOPEZ) as an

assassin; (2) cell-site location data placing LOPEZ and



murder and attempted murder; (3) call history indicating that


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LOPEZ and STEPANYAN communicated frequently and met in-person

leading up to the murder and attempted murder; (4) a photograph

                                                                   -arrest

jail calls in which the person he was speaking with referenced

ARTUNI; and (6) an anonymous letter identifying ARTUNI and

others as the persons responsible for ordering the shooting.

               2.   Description of the Murder and Attempted Murder

        59.    Based on my review of Burbank PD reports and my

conversations with Burbank PD Sergeant Mirakyan, I am aware

that:

               a.   On or about July 21, 2020, at approximately 1:24

a.m., the Burbank PD Communications Center received a call for

service for shots heard at a residence on Cambridge Drive in

Burbank                                          .   The caller (D.M.)

advised the 9-1-1 dispatcher that A.S. had been shot and she

believed that he was dying.        The communications center then

received a flurry of additional calls for service regarding a

shooting on Cambridge Drive and, at one point, spoke with one of



been shot.11

               b.   At approximately 1:25 a.m., Burbank PD Officer

Martinez and other investigators

and saw LOPEZ lying in the driveway.         LOPEZ was wearing a black

face cover, a black neck cover, a black long-sleeved shirt,

dark-colored jeans, black shoes, and black gloves.            Next to

        11   Based on my conversations with Sergeant Mirakyan and my

minor children were all at home when the shooting occurred.

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LOPEZ, who was bleeding, there was a tan-colored semi-automatic

pistol with a long-barrel attachment that was a suppressor. 12

             c.   Officer Martinez tended to LOPEZ and took

possession of the firearm next to him.        Officer Martinez then

removed a loaded magazine from the firearm and cleared the

firearm, at which time, he saw a live round in the chamber.

Burbank Fire Department                      first responders arrived

at the house and after attempts to tend to his injuries,

ultimately, pronounced LOPEZ dead at approximately 1:43 a.m. 13

             d.   As first responders tended to LOPEZ, Officer

Martinez noticed that LOPEZ had several tattoos including,               14


and         15.


             e.   After LOPEZ was pronounced dead, Officer Martinez

canvased the outside of the residence and located a blood trail




      12   Based on my training and experience, I am aware that a

firearm and reduces the noise when the firearm is fired.
Individuals engaging in unlawfully activity typically utilize
suppressors to avoid detection when they shoot someone.
       Based on my review of Burbank PD reports, I am aware that
      13
on or about July 26, 2020, Deputy Medical Examiner Robyn Parks
determined that LOPEZ had been shot twice in the abdomen.

two gunshot wounds.
       Based on my training and experience, I am aware that
      14
members of Sureño gangs will commonly tattoo themselves with the

Mafia.
       Based on my review of Burbank PD reports, I am aware that
      15
on or about July 24, 2020, Burbank PD Detective Seston

LOPEZ was a member of the Psycho Ass Life (PAL) street gang.

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Martinez continued to follow the blood trail, looked up, and saw

blood on a glass railing on the second-floor patio.

             f.   At approximately 1:34 a.m., Burbank PD Officer

Alexy and other investigators arrived at the Cambridge Drive

residence.    Officer Alexy went into the master bedroom on the

second floor where he saw a shattered glass door leading to a

balcony and an area in the door where there was also at least

one bullet hole.    He also saw A.S. surrounded by a pool of blood

and lying on the floor next to a bed.        In addition, he saw D.M.

lying on the bed with a bloody blanket wrapped around her.

Officer Alexy and another officer provided D.M. aid and found a

gunshot wound on the right side of her torso and another gunshot

wound on her right arm, near her elbow.        Officer Alexy asked

D.M. if she knew who did this to her and she
       16


             g.   Burbank FD paramedics evaluated A.S. and

pronounced him dead at approximately 1:44 a.m.         On or about July

26, 2020, Deputy Medical Examiner Dutra generated a report

regarding the autopsy findings.       Examiner Dutra determined that




     16Based on my involvement in this investigation, I believe
that D.M. was stating that she could not name the person(s)
responsible because she feared them. This is further supported
by the fact that when she was interviewed at her home by Burbank
PD Detective Ekimyan in Armenian, she was asked if she knew who

However, then, when asked if she saw the shooter she replied,

is based on translations provided by Detective Ekimyan, who is a
fluent Armenian speaker.

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that A.S. sustained approximately eight wounds to his shoulder,

chest, and forearm.

           h.     While still conducting an investigation at and

around Cambridge Drive, Officer Alexy conducted several

interviews, including with a neighbor.          The neighbor stated that

several Armenian males would congregate at the home and stay for

days at a time.    The neighbor

drove nice cars and one time, when she spoke with one of them,

                       the neighbor



           i.     Later, on or about October 8, 2020, Burbank BP

Detective Sanchez interviewed D.M.         D.M. stated that the shooter

(LOPEZ) entered their residence through the sliding glass door

in their bedroom, walked over to A.S., and started shooting.

A.S. was able to grab a gun and shoot at LOPEZ.           Based on my

training, experience, and knowledge of this case, I believe that

A.S. must have defensively shot at LOPEZ before LOPEZ fell or

jumped over the balcony.

           3.
                  Murder and            Attempted Murder

                  a.      Burbank PD identifies LOPEZ and determines
                          that he communicated with a person using the
                                      (STEPANYAN) leading up to
                          murder

     60.   Based on my review of Burbank PD reports and my

conversations with Sergeant Mirakyan, I am aware that:

           a.     On or about July 21, 2020, Burbank PD

investigators, including Burbank PD Sergeant Kay, located a




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Drive.    The rear license plate (7BUJ248) was missing a month and

registration sticker.     The front license plate bore a different

number: 6DTN335.    In addition, there was a piece of tape affixed

to the windshield, covering the Vehicle Identification Number

( VIN ).    Burbank PD Detective Starkov conducted a records check

on both license plate numbers.        The rear plate (7BUJ248)

returned information for a 2008 Mercedes registered to J.T. 17 of

Beverly Hills, California.      And, the front plate (6DTN335)

returned information for H.G. of Los Angeles, California.            The

6DTN335 license plate had been reported stolen.         Burbank PD

Detective Terrill conducted a VIN check and confirmed the VIN

number matched that of the black Mercedes.        The detectives had

the vehicle impounded on the suspicion that this was LOPEZ

vehicle.

            b.   On or about July 22, 2020, Burbank PD Sergeant

Virzi obtained a warrant signed by the Honorable Suzette Clover,

Superior Court Judge of the State of California, County of Los

Angeles County, to search the black Mercedes.         During the

subsequent search, investigators located, among other things, a




containing a white t-

tape, two license plates for the vehicle (5SKN546), and an LG

cellphone                         .

     17Based on my conversations with Sergeant Mirakyan and
review of Burbank PD reports, I am aware that on or about July
23, 2020, Detective Sarkov contacted J.T. who confirmed that a
license plate was missing from her car. J.T. later filed a
police report about her missing plate.

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              c.   On or about July 27, 2020, Burbank PD Detective

Voorhis and Sergeant Kay reviewed                            and

determined that it belonged to LOPEZ based on the text messages

and the videos and pictures stored on the device.            When

searching the device, investigators found a string of text

                                                   ee

ended in -7157

              d.   In particular, on or about June 30, 2020, 18          ee

sent LOPEZ the following messages:                            when you


         19


documented Mexican Mafia associate, who, hereafter, will be

                       -

              e.   On or about July 2, 2020, sometime before 4:00

p.m.,

they had an in-

asked LOPEZ to let him know when he got on the 134 freeway.              The

                           Cellphone connected to when sending this

message covers a Burger King, which is located at 523 N. Central

Avenue, Glendale, California                             .   Then, on or




       Based on my conversations with Sergeant Mirakyan and
        18
review of Burbank PD reports, I am aware that LOPEZ was released
from prison on or about June 30, 2020. LOPEZ had been serving a
two-year sentence for a narcotics offense.
       Based on my review of Burbank PD reports and
        19
conversations with Sergeant Mirakyan, I am aware that LOPEZ was
wearing apparently new clothing at the time of his death.

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about that same date, around 6:19 p.m., LOPEZ took a picture of

a cellphone.    The cellphone depicted an image of A.S. 20

           f.    On or about July 9, 2020, at approximately 3:16



planned to have an in-person meeting.        Specifically,    Vee   sent



                                                          At the time of

this message exchange,                       connected to a cell tower

that covers the Burger King.

           g.    On or about July 10, 2020, at approximately 12:55

                          -1, and this phone call lasted

approximately 13 minutes.      At the time of this call,

Cellphone connected to a cell tower covering

home on Cambridge Drive.

           h.    On or about July 13, 2020, at approximately 12:33

                          V



                          -1 and they spoke for approximately three

minutes.   At the time of this call,



residence, suggesting that he was heading towards or coming from

their home.

           i.

exchanged approximately 20 messages and five phone calls.           In



     20
was providing LOPEZ with a photograph of A.S. so that LOPEZ
could kill A.S.

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King.        In one message, LOPEZ wrote:                        21   parking lot.
                                               22   In addition, between

approximately

utilized the same cell towers, including the tower covering the

Burger King.

                j.       On or about July 18, 2020,

exchanged a number of messages indicating that they were meeting

in-

tower covering the Burger King from approximately 5:20 p.m. to

7:00 p.m.        Cell tower data then indicates that LOPEZ left the

Burger King and traveled

he remained between approximately 7:36 p.m. and 7:51 p.m.                   Then,

at approximately 8:32 p.m., LOPEZ sent the following message to




Based on my training and experience, I believe that after

                                                ng, LOPEZ traveled to the

Cambridge Drive residence to kill A.S. but, ultimately, decided




LOPEZ to commit this murder.



        21


                     .
       Based on my review of Burbank PD reports and
        22
conversations with Sergeant Mirakyan, I am aware that there is

Glendale, California) located across the street from the Burger
King. I believe that                             ,


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           k.    On or about July 20, 2020, one day before



they spoke for approximately three minutes.              Then, at



approximately 50 seconds.         Then, on or about July 21, 2020, at

approxi




yet knowing that he had died.

           l.    On or about July 28, 2020, Sergeant Kay obtained

warrants, signed by the Honorable Suzette Clover, for GPS

location data and call detail records for                                and

                                                               .    Sergeant

Kay determined, after reviewing AT&T cellular records, that

there was no live GPS location data available for

Cellphone because it had been turned off.           Sergeant Kay later

                      ee

2020, two days after A.S. was murdered. 23

                 b.        Burbank PD d
                           STEPANYAN

     61.   Based on my review of Burbank PD reports and my

conversations with Sergeant Mirakyan, I am aware that:

           a.    In August 2020, Burbank PD investigators

                                                                   Sergeant Kay

received records from the cellphone provider associated with


     23


murder to conceal his involvement.

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                                                         -paid24 phone

                               .    Sergeant Kay



Norwalk, California.       In addition, Sergeant Kay determined that

                                                         tana apartment

complex located across the street from the Burger King where

                                                                Sergeant

Kay then used law enforcement databases to search for

individuals associated with the apartment complex and came

across

Mirakyan remembered STEPANYAN from a previous arrest and



name.        Sergeant Mirakyan also noted that STEPANYAN had a large



                b.   Sergeant Kay

history and determined that he had an associated address of 329

W. Lomita Street, Glendale, California.          Based on GPS location

data from his phone, this address is within 200 feet of where



on or about July 2, 2020, 19 days before his murder.            In

addition, Sergeant Mirakyan determined that A.B. was paying

utilities for Unit #454 at the Altana apartment complex.

Sergeant Mirakyan also determined, through reviewing jail

records, that A.B. had visited STEPANYAN in 2012 and again, in


       Based on my training and experience, I am aware that
        24
individuals engaged in criminal activity often utilize pre-paid
phones and register them under fictious names and addresses, or
names and addresses belonging to other people, to avoid law
enforcement detection.

                                      48
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2013, when he was imprisoned.      Using law enforcement databases,

Sergeant Mirakyan also determined that STEPANYAN and A.B.

previously shared a P.O. Box address in Glendale.           Based on this

information, Sergeant Mirakyan determined that STEPANYAN and

A.B. were likely in a romantic relationship and living together.

           c.    On or about July 31, 2020, Burbank PD officers

surveilled the Altana apartment complex and saw a BMW registered

to STEPANYAN parked in the parking structure.          Then, on or about

August 4, 2020, Sergeant Kay conducted surveillance and saw

STEPANYAN walk out onto an apartment balcony on what appeared to

be the sixth floor with his shirt off.

           d.    On or about July 31, 2020, Sergeant Kay obtained

a warrant signed by the Honorable Suzette Clover, for the e-mail



On or about August 12, 2020, Yahoo provided subscriber

information for the account, which included the

            a phone number ending in -3880.       Using law

enforcement databases, Sergeant Kay determined that that phone

                                                  .



apartment complex.

           e.    On or about August 14, 2020, the cellphone



to pay the account balance to Sergeant Kay.           Sergeant Kay then

obtained a search warrant for the account holder information

from the Honorable Suzette Clover, and on or about August 26,

2020, JPMorgan Chase Bank provided account holder information,


                                    49
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                                            .    Sergeant Kay used law



concluded that this was a fictious name.         However, through these

same databases, Sergeant Kay

associated with Unit #454 at the Altana apartment complex.

           f.    As part of the production from JPMorgan Chase

Bank, Sergeant Kay also received automated teller machine (ATM)

footage for transaction related to the account associated with

                      On or about July 6, 2020, a man with a large

neck tattoo conducted business on the account.          The man was

wearing a hat, black jacket, and white face mask; however, his

                                                        Sergeant Kay



and determined that this individual was STEPANYAN.

                 c.      An anonymous letter names ARTUNI and others
                         as being responsible for

     62.   Based on my review of Burbank PD reports and my

conversations with Sergeant Mirakyan, I am aware that:

           a.    On or about May 25, 2021, 25 an anonymous letter26

was delivered to Burbank PD.       The letter identified ARTUNI and

two other persons as being responsible for organizing the murder




     25Based on my conversations with Sergeant Mirakyan and
review of Burbank PD reports, I am aware that Sergeant Kay
generated the report regarding this letter on or about February
1, 2024. Though the letter was addressed to her, and was post
marked as being received on May 25, 2021, Burbank PD Detective
Sanchez could not recall receiving the letter previously.
     26Based on my conversations with Sergeant Mirakyan, I am
aware that the sender information was fictious and thus, the
true author of this letter is presently unknown.

                                     50
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of A.S. and attempted murder of D.M.         As it related to ARTUNI,

the letter read, in sum and substance, as follows:

            Homicide [A.S.]27

            July 21, 2020

                                    Cambridge Drive]28



            Aro (Armenian passport photo attached DOB 01.22.1984)

                 presenting himself as a fake Persian refugee.        is an

            Armenian from Armenia, unlawfully entered United



            Vrej.29

            [. . .]

            Anonymous

            b.       Attached to the letter was a passport photograph



                 .

                     d.   An individual STEPANYAN speaks with during a
                          jail call references ARTUNI

     63.    Based on my review of Burbank PD reports and my

conversations with Sergeant Mirakyan, I am aware that:

            a.       In furtherance of its investigation, Burbank PD



arrest for identity theft.        Sergeant Mirakyan, a fluent Armenian

speaker and department certified Armenian translator, reviewed

     27

     28
he was murdered.
     29   Based on my involvement in this investigation, I am aware


                                      51
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the jail calls.    The following summaries are based on his

translations.     During one call, on or about October 29, 2020,



cops are likely at my house and they may have found something



another call, STEPANYAN told an individual who identified

                 ik:               30


phone,



                                             investigation, I believe



ARTUNI confirms his connection with STEPANYAN.

            b.    In another call, on or about October 29, 2020,

STEPANYAN spoke with A.B.      STEPANYAN asked her if the cops took

a black shirt, and she told him that they did.         STEPANYAN then

                                                        Notably, LOPEZ

was wearing a black shirt at the time he died.         Cellphone

correspondence between LOPEZ and STEPANYAN indicate that



about law enforcement locating a specific item of clothing, may

have been because that item of clothing would tie him to LOPEZ.



indefinitely be detained are indicia of a guilty conscience.

                  e.




     30   Based on my training and experience, I believe that by
           ,

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     64.   Based on my review of LAPD reports and my

conversations with Detective Stupar, I am aware that:

           a.    On or about December 12, 2023, in connection with

this investigation, law enforcement executed search warrants,

signed by the Honorable Jacqueline L. Chooljian, a U.S.

Magistrate Judge in the Central District of California, at

multiple locations associated with the Artuni Enterprise.              The

                                executed pursuant to one such

federal warrant.      (Case No. 2:23-mj-6285.)    When executing the

warrant at the residence, law enforcement located, among other

items, a digital device (iPhone 14 Pro Serial Number LH7D79WWW9

and IMEI Number 357712766644875                                   ) that

was seized and later reviewed.       Detective Mkrtchyan and U.S.

Customs and Border Patrol (              Officers Hakobyan and

Tsarukyan reviewed the following messages of relevance: 31

                 i.     On or about July 20, 2020, AGOPIAN texted

ARTUNI, but ARTUNI did not respond.

                 ii.    On or about July 22, 2020, AGOPIAN contacted

ARTUNI using a different number and told ARTUNI to text like


                                                                  32   his


     31Detective Mkrtchyan and the CBP officers are fluent
Armenian speakers. Detective Mkrtchyan is a department
certified Armenian translator. My recounting of these
statements is, therefore, based upon their translations.
     32Based on my training and experience, I am aware that
individuals engaged in criminal activity will commonly dispose

                                          (footnote cont d on next page)

                                    53
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phone number after A.S. was murdered on or about July 21, 2020,



believe that he instructed ARTUNI to act like everything was

normal for the same reason.

     B.      October 25, 2022: Individuals Attempt to Murder
             STEPANIAN At His Former Residence in Granada Hills,
             California33

             1.   Probable Cause Summary

     65.     As set forth below, there is probable cause to believe

that ARTUNI, and others known and unknown, attempted to murder

STEPANIAN.    The evidence supporting this determination includes,

but is not limited to: (1) the recurring pattern of violence

targeting the Amiryan Organized Crime Group and (2) the presence



                  l devices.

             2.   Description of the Attempted Murder

     66.     Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   On or about October 25, 2022, LAPD Officers



                               4:09 p.m.   Officer Salcedo found

STEPANIAN in the driveway of his residence.           At the time,

STEPANIAN informed Officer Salcedo that he needed medical




phone, and it is commonly done so that criminals can avoid law
enforcement detection.
     33For reasons explained below in Subsection XIII(V)(9), I
believe that STEPANIAN has since located to SUBJECT PREMISES 3.

                                    54
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assistance.       Sometime thereafter, STEPANIAN was transported to a

local hospital.

             b.     While at the hospital, LAPD Officers De La

Victoria and Harland interviewed STEPANIAN.            STEPANIAN stated

that he was standing in his driveway on his cellphone when a

vehicle drove up and stopped several feet away from his

residence.    The rear passenger door opened, and an individual

exited.    The individual shot him in the upper right back, at

which time he fell to the ground.           Then, the individual began

racking the gun while approaching him and attempted to shoot him



individual got back in the car and fled.          STEPANIAN described

the individual as a male wearing a black face mask, dark hoodie,

multi-color plaid shirt, black jeans, and black gloves.             In

addition, the individual was carrying a handgun with a

suppressor.

             c.     Officers De La Victoria and Harland interviewed,

among other individuals,

surveillance footage captured on at-home cameras.            The

                                                  both corroborated



             3.
                    Attempted Murder

     67.     Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in the

investigation, I am aware that                                     ,

investigators located footage of ARTUNI operating a drone in his



                                       55
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backyard and aerial drone footage dated July 29, 2023, of

                           Although this footage post-dates the

murder attempt, I believe it still attributes ARTUNI to the

failed October 2022 murder, given the recurring targeting of

members of the Amiryan Organized Crime Group at or near their

homes.

     C.      April 3, 2023: AMIRYAN Is Shot at While in the Garage
             of His Former Residence

             1.   Probable Cause Summary

     68.     As set forth below, there is probable cause to believe

that ARTUNI, and others known and unknown, attempted to murder

AMIRYAN.     The evidence supporting this determination includes,

but is not limited to: (1) the recurring pattern of violence

targeting the Amiryan Organized Crime Group and (2) the presence

                      al information and then-address on one of



             2.   Description of the Attempted Murder

     69.     Based on my conversations with Detective Stupar and

Sergeant Mirakyan, my review of LAPD and Burbank PD reports, and

my own knowledge of the investigation, I am aware of the

following:

             a.   On or about July 8, 2023, at approximately 10:45

a.m., Burbank PD Detective Pira and Federal Bureau of
                                                 34   arrived at a local

hospital to interview AMIRYAN, who had been shot the day prior.


     34Based on my involvement in this investigation I know that
neither the FBI nor Special Agent Kojayan are a part of the
investigative team in this matter.

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AMIRYAN suffered injuries to his shoulder and elbow.              The July

7, 2023 shooting is further discussed below.

                b.   During the interview, AMIRYAN declined to discuss

the July 7, 2023 shooting and, instead, initiated a conversation

regarding an alleged shooting that occurred on or about April 3,

2023.        Specifically, according to AMIRYAN, on or about April 3,

2023, at approximately 11:30 p.m., he parked his vehicle in the

subterranean garage of his former residence, 35 which was in an

apartment complex on East San Jose Avenue in Burbank

                          .   He began to walk to the alleyway directly

behind his residence when, suddenly, a man wearing a ski-mask

and dark clothing approached him, fired two shots at him with an

AR-15, and fled.       Following the attempt on his life, AMIRYAN

went to his apartment.         According to AMIRYAN, he was not hit;

however, one round struck the concrete staircase that led to his

apartment and the other round struck a metal gate on top of the

staircase.       AMIRAYN covered the bullet hole on the gate with

black tape and did not notify the police about the shooting.

AMIRYAN did not provide an explanation as to why he did not

notify police.

                c.   On or about July 10, 2023, Burbank PD Detective

Voorhis went to                       -residence and found a bullet

strike in the metal gate that was covered by black tape.

Detective Voorhis took pictures of the bullet strike.




       As explained below, AMIRYAN has since relocated to
        35
SUBJECT PREMISES 1.

                                        57
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           3.
                 Attempted Murder

     70.   Based on my conversations with LAPD Major Crimes

Detective Stupar, my review of LAPD Major Crimes reports, and my

own involvement in the investigation, I am aware that on

                          , investigators located screenshots of a

background check of AMIRYAN and a screenshot of a map with the

address of the East San Jose residence depicted in the

background check screenshot.

     D.    June 6, 2023 to June 7, 2023: Members and Associates
           of the Amiryan Organized Crime Group Kidnap, Assault,
           and Torture A.K.

           1.    Probable Cause Summary

     71.   As set forth below, there is probable cause to believe

that AMIRYAN, V. HARUTYUNYAN, GZRARYAN, STEPANIAN, A.

HARUTYUNYAN, BOJORQUEZ, EGUILUZ, and others known and unknown,

kidnapped, assaulted, and tortured A.K.        The evidence supporting

this determination includes, but is not limited to: (1) the use

of non-Armenian criminals (BOJORQUEZ, EGUILUZ, and others known

and unknown) as the kidnappers and assailants; (2) Ring 36 camera

footage, which is corroborated by cell-site location and GPS

data, placing members of the Amiryan Organized Crime Group

(AMIRYAN, V. HARUTYUNYAN, GZRARYAN, and A. HARUTYUNYAN) at the

residence where A.K. was held captive; (3) call history

     36Based on my training and experience, I am aware that a
Ring camera is a type of smart home security camera that
provides homeowners with real-time video footage of their
property. Ring cameras come in various models, including
doorbell cameras, floodlight cameras, and standalone outdoor and
indoor cameras. They feature motion detection, two-way audio,
and night vision, and can be controlled and viewed via a
smartphone application.

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indicating that A. HARUTYUNYAN called A.K. five times

consecutively before he was kidnapped; (4) DNA and latent print

evidence placing AMIRYAN, V. HARUTYUNYAN, GZRARYAN, A.

HARUTYUNYAN, STEPANIAN and EGUILUZ at the residence where A.K.

was held captive; (5) a recorded conversation between ARTUNI and

A.K. in which A.K. named AMIRYAN as the person responsible for

his kidnapping; (6) the presence of vehicles used by A.

HARUTYUNYAN, V. HARUTYUNYAN, BOJORQUEZ, and STEPANIAN at or near

the residence where A.K. was held captive; (7) videos depicting



and (8)

from captivity.

           2.     Description of the Kidnapping, Assault, and
                  Torture

                  a.
                       reports him missing

     72.   Based on my conversations with LAPD Detectives Stupar

and Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

           a.     On or about June 7, 2023, at approximately 10:45

a.m., LAPD North Hollywood Division Officers Walters and

Hoermann responded to a radio call regarding a suspected

                                                                 was

located on Beeman Avenue in North Hollywood, California (the

                  r           .




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            b.     The two officers met with A.K.               and

nephew37 at the Beeman Avenue residence to discuss the reported

kidnapping.      During their conversation, which was in English,

A.K.

she received a phone call from a family friend who lives in

Armenia via WhatsApp.38     Per A.K.

stated that A.K. had been kidnapped and tortured.          The family

friend also claimed to have received this information from an

unknown person using a blocked number. 39

            c.     The two responding officers also spoke to A.K.

nephew at the Beeman Avenue residence to discuss the reported

kidnapping.      This conversation was in English.     A.K.


       Based on my conversations with Detectives Stupar and Sam,
       37
my review of LAPD reports, and my own knowledge of the
investigation, I am aware that A.K.   neighbor initially
reported the crime on behalf of A.K.   sister and nephew due to
their difficulty communicating fluently in English.
       Based on my training and experience, I know that WhatsApp
       38
is an end-to-end encryption messaging platform commonly used by
American-based users to communicate with others internationally.
Based on my training and experience, given that the
communications are encrypted, WhatsApp is also commonly used by
criminals to prevent law enforcement from intercepting their
messages.
       Based on my training and experience, I believe that since
       39
notice of the kidnapping originated from Armenia, it is likely
that the kidnappers acted on orders from (or with the blessing
of) someone from Armenia. As previously stated, Armenian
Organized Crime operates like many transnational criminal
organizations, where many senior leaders, members, and
associates reside in a foreign country. Armenian Organized
Crime originated in the former Soviet Union, which included
modern-day Armenia. Thus, today, many Armenian Organized Crime
leaders, members, and associates are Armenian citizens and
nationals, some of whom have residences in or permanently reside
in Armenia. It is my belief that the kidnappers in this case
were likely providing updates to Armenian Organized Crime
leadership, members, or associates in Armenia, because A.K.
family was first notified of his kidnapping by someone in
Armenia.

                                    60
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stated that A.K. left the Beeman Avenue residence on or about

June 6, 2023, at approximately 11:55 p.m., to meet with a friend

                                    A.K.               A.K. did not leave

in his own vehicle.       A.K.

uncle did not leave in his vehicle because he saw him walk away

from the residence on their home security camera.            A.K.



                                                 (As further detailed



HARUTYUNYAN, a member of the Amiryan Organized Crime Group.)

           d.     Later, while conducting their kidnapping

investigation, officers were informed by A.K.

phone call) that A.K. had contacted his mother in Armenia at

approximately 1:15 p.m. that same day.         According to A.K.

sister, A.K. told their mother that he had not been kidnapped,

and that he was safe.       According to his sister, A.K. also said

that he had lost his cellphone and would be returning home later

in the day.     A.K.             relayed the aforesaid information to

her daughter, who then advised law enforcement.           A.K.



number to validate these claims because according to her, her

mother is elderly, and she did not want her worrying about A.K.

In addition, A.K.                refused further police involvement.

                  b.   A.K. escapes from the residence where he was




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                       being held and returns home

       73.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   On or about June 7, 2023, at approximately 10:05

p.m., LAPD Foothill Division Officers Elias and Rivera responded

to a second radio call for a missing person/kidnapping

investigation regarding A.K.      The caller related that A.K. had

been

Milburn Drive, Los Angeles, California                           40   At

the time they received this call, the officers were aware of an

earlier incident in North Hollywood where other officers had

completed a missing person report on A.K.

             b.   Upon their arrival at 9852 Milburn, officers

noticed that there appeared to be no activity inside of the

residence.    There were no vehicles in the driveway or on the

street in front of the location, and the lights were off.

             c.   The officers saw a 2002, gold GMC Yukon bearing

California license plate number 4VVZ782 and VIN



Milburn Drive, Los Angeles, California                           41




       Based on my training and experience, I know that a
       40
tracked cellphone typically only gives an approximate location,
not the actual location. Based on my conversations with LAPD
Detectives Stupar and Sam, I know that the responding officers
had this same understanding.
       Based on my conversations with LAPD Detective Sam, who
       41
reviewed the LexisNexis Risk Solutions                database,
I am aware that 9842 Milburn is owned by D.G. (an Armenian
citizen and national). Based on records checks utilizing closed
                                   (footnote cont d on next page)

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registered to a person bearing the initials V.M.C. at an address

in Bakersfield, California.42         Because the registered owner of

the vehicle did not reside in the neighborhood, or even in the

County of Los Angeles, and further, because 9842 Milburn was

within the approximate location of where A.K.

                                                the officers focused

their attention on that residence.

                d.    LAPD Officer Rivera saw an individual through the

front window inside of 9842 Milburn, and he knocked on the front

door.        Two other men peeked through a stained-glass window on

the front door for a quick moment, and then they immediately

backed away.         Officers then saw some of the interior lights

being turned off.         Based on information that A.K. had possibly

been kidnapped and tortured, the fact that A.K.

was pinging in the surrounding area, and the presence of three

unidentified men in the house who were seemingly unwilling to

engage with law enforcement and furthermore, were taking

concealment-like steps, such as turning the lights in the house

off, officers determined that continuing to try to make contact

with the occupants, without further assistance, was not safe.

Officers backed away from the residence and requested additional


sourced law enforcement databases containing immigration
information, I am also aware that D.G. is undocumented and has
been ordered removed from the United States. His current
whereabouts are unknown.
       Based on my conversations with Detective Sam, who spoke
        42
with V.M.C. on November 5, 2023, V.M.C. claims that he sold the
Yukon around May 2023 or June 2023, and that he does not
remember who he sold it to.

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units for further investigation.         Once additional officers

arrived, a perimeter was established to secure the residence.

           e.    The officers, now with the assistance from an

LAPD airship and other additional LAPD units, ordered all

individuals inside of 9842 Milburn to exit.           Eventually,

AMIRYAN, V. HARUTYUNYAN, and GZRARYAN exited the residence and

were detained without incident.       During a cursory search of the

three men, officers found digital devices on AMIRYAN, V.

HARUTYUNYAN, and GZRARYAN                   These devices were later

searched pursuant to a federal search warrant signed by the

Honorable Jacqueline L. Chooljian.         (Case No. 2:23-mj-6296.) 43

           f.    After the three men exited 9842 Milburn, officers

conducted a protective sweep of the residence to confirm that

there were no additional persons inside.         While clearing the

residence, officers saw blood splatter throughout the house,

body armor, bullet holes in two walls that were filled with

fresh blood splatter, and a 2005, white Dodge Caravan minivan

bearing California license plate number 9BXP460 and VIN



substantial amount of blood that was seemingly in the process of

being cleaned.44   In addition, officers, without entering the


     43Based on my conversations with Detective Stupar, and my
review of LAPD reports, I am aware that separately, LAPD
obtained a warrant signed by the Honorable Thomas Falls,
Superior Court Judge of the State of California, County of Los
Angeles, to search these devices.
     44 Based on my conversations with Detective Stupar, and my
review of LAPD reports, I am aware that investigators obtained
Ring camera footage from neighboring houses pursuant to a state
search warrant signed by the Honorable Daniel Feldstern, Superior
                                   (footnote cont d on next page)

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Yukon, saw through the windows that a semi-automatic pistol was



            g.    Officers exited 9842 Milburn and requested

assistance from LAPD detectives for a search warrant and further

investigation.    An officer on the perimeter was flagged down by

an individual who stated that he had video surveillance of a

possible suspect45 in the area.      The individual advised the

officer that he heard the LAPD airship in the area and said his

Tesla46 captured a possible suspect.       Officer Rivera reviewed the

Tesla video recording and captured it on his body worn camera.

The video depicted A.K. fleeing from 9842 Milburn.

            h.    While officers continued to hold the perimeter of

9842 Milburn, LAPD Detective Larkin completed and swore out a

search warrant for 9842 Milburn, as well as the Yukon, and the

Minivan.    The search warrant was signed by the Honorable Lisa

Chung, Superior Court Judge of the State of California, County

of Los Angeles.

            i.    LAPD Detective Smith conducted a walkthrough and

search of 9842 Milburn pursuant to the warrant.         Detective Smith

discovered, among other items, the following: four Kevlar


Court Judge of the State of California, County of Los Angeles.
Based on the footage, the Minivan entered the garage at
approximately 12:32 a.m. on or about June 7, 2023.
     45The individual assumed that the person captured was a
suspect rather than a victim.
     46   Based on my training and experience, I know that


cameras capture a 360-degree view surrounding the car and record
activity outside of the car even when it is parked, locked, and
unattended. These recordings are generally saved on a Universal
Serial Bus (USB) drive stored in a port inside of the car.

                                    65
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bullet-proof vests (a type of body armor) inside a garbage bag

in one of the hall closets, black nitrile gloves, blood splatter

throughout the house, an orange two-way radio, blood-stained

                                                            -and-through

bullet holes in the master bathroom, and, as previously stated,

the Minivan, which contained a substantial amount of

bloodstaining throughout its interior and looked as if it was in

the process of being cleaned.

           j.    In the backyard, there was an in-ground pool

filled with dirty water, which caused low visibility.          For this

reason, officers at 9842 Milburn requested assistance from



searched the pool for possible victims and other evidence.           LAPD

Detective McKinney, a member of the Underwater Dive Unit,

recovered a loaded Smith & Wesson, model 442-1 Airweight, .38

special caliber, revolver, bearing serial number CYM6399; a

loaded Smith & Wesson, model 642-1 Airweight, .38 special

caliber, revolver, bearing serial number DNR9780; and a car key

belonging to a Kia47 at the bottom of the pool.

           k.    Additionally, Detective Smith found a black

nitrile glove on the ground on the other side of a wrought iron

fence bordering the backyard of 9842 Milburn.         This glove

matched the gloves found inside 9842 Milburn and the garage.

Also, on an adjacent property on Hollywood Way in Sun Valley,

     47Based my involvement in this investigation and review of
LAPD reports, I am aware that A.K. drove a Kia and upon
returning home, reported that his car keys were missing.
Accordingly, I believe these keys were thrown in the pool to
conceal that A.K. had been at the residence.

                                    66
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California (the     Hollywood Way property     ,48 Detective Smith saw

what appeared to be fresh footprints in the soft dirt, which led

down a hillside.    Detective Smith followed the trail of

footprints, which led him to a black duffle bag and a black,

fabric grocery bag at the edge of the Hollywood Way property

underneath an overgrown tree or bush.        The bags appeared to have

recently been partially covered in dirt and leaves. 49         Detective

Smith recovered the bags and inside of them found, among other

items, nitrile gloves; balaclava masks; two loaded, unknown

make, unknown model, unknown caliber, AR-15-type semi-automatic




Ordnance, model 1911 Expert Commander, .45 auto caliber, semi-

automatic pistol, bearing serial number K029104 with a silencer

attached; one Sig Sauer, model MCX, 5.56 NATO x 7.62 NATO

caliber, semi-automatic rifle, bearing serial number 63F039344;

one Walter, model P22, .22 caliber, semi-automatic pistol, with

an obliterated serial number and a silencer attached; assorted

ammunition and extended ammunition magazines; and a GPS tracking

device.

           l.     On a hillside, on another part of the Hollywood

Way property, Detective Smith found an orange two-way radio


     48Based on my conversations with Detectives Stupar and Sam,
I know that LAPD received consent from the owners to search
their property.
     49Based on my training and experience, I believe that these
items and others were discarded as members and associates of the
Amiryan Organized Crime Group fled from 9842 Milburn. I believe
they discarded these items so that they could not be tied back
to them.

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matching the one found inside 9842 Milburn.           Nearby the above-

mentioned bags, at the base of a chain-link fence on the

Hollywood Way property, Detective Smith found a large black

garbage bag containing blood-

towels matching those found inside 9842 Milburn, and a blood-

stained shower curtain.

           m.    Detective Smith continued canvassing the area

around 9842 Milburn and the adjacent properties and found a

loaded Smith & Wesson, model 638-3 Airweight, .38 caliber

revolver, bearing serial number DAM3868 inside a black holster

near the sidewalk of the Hollywood Way property, just around the

corner from 9842 Milburn.

           n.    LAPD detectives requested additional assistance

to process 9842 Milburn and the surrounding area.           LAPD

Criminalists Canlas and Wallace collected multiple items of



Coogle and Hood took photographs of the crime scene and all



Latent Print Specialists De Monte, Morales, and Valles recovered

latent prints from various locations and items at 9842 Milburn

                                         Forensic Science Division Gun

Unit Criminalist Saucedo recovered a .22 caliber projectile from

inside the wall of the master bathroom where bullet holes were

found.

                 c.   A.K. is treated at a local hospital for his




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                       injuries

       74.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports and hospital records, and my own

knowledge of the investigation, I am aware of the following:

             a.   While officers continued their investigation at



advised them in-person that A.K. had returned to his home (the

Beeman Avenue residence).      LAPD Officers Camacho and Olivares

went to the Beeman Avenue residence and interviewed A.K.           When

they met with A.K., the officers saw bruising to A.K. s eyes,

face, and head.    The officers also noted that A.K. was having

trouble speaking and was complaining of pain to his head.

Officers requested an ambulance, and Rescue Ambulance 889

responded to the Beeman Avenue residence and transported A.K. to

the hospital.

             b.   According to hospital records, A.K. presented

with significant swelling to the face and scalp.          Evaluation and

testing determined A.K. suffered from Leukocytosis, a nasal bone

fracture, an orbital bone fracture, a left frontal subarachnoid

hemorrhage, and transaminitis.       A Computed Tomography (CT) scan



the frontal lobe, along with comminuted fractures of the nasal

bone and anterior nasal spine, nondisplaced fractures of the

right medial and inferior orbital walls, and bilateral facial

soft tissue swelling with extensive interstitial air.

             c.   While at the hospital, the officers interviewed

A.K.   This interview was in English.      During the interview, A.K.


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stated that he had not been kidnapped, he knew the people living

at the residence (presumably 9842 Milburn), and he had not been

harmed or handcuffed.     He further stated that the people living



           3.


                 a.   Latent print evidence places members and
                      associates of the Amiryan Organized Crime
                      Group at 9842 Milburn

     75.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

           a.    As previously stated, law enforcement processed

9842 Milburn and the surrounding area.        During forensic

processing of the crime scene, approximately 365 items of

evidence were recovered.      One of the items included a 22 fluid

ounce Arizona Mucho Mango aluminum can, which officers found on

the living room floor.     Multiple fingerprints were obtained from

the body of the aluminum can.      Latent Print Specialist Salazar

conducted latent print testing and determined that the prints

obtained from the can matched prints from EGUILUZ.

           b.    During forensic processing of 9842 Milburn and

the surrounding area, other items were recovered, including a

12-fluid ounce Coca-Cola can and a digital device (a white Apple

iPhone SE bearing serial number FFMCQ8GJPLJN), which were both

found on top of a circular glass table located outside in the

backyard near a sliding door in the kitchen.          Multiple

fingerprints were obtained from the body of the Coca-Cola can



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and one fingerprint was obtained from the back of the iPhone.

Latent Print Specialist Salazar, conducted latent print testing

and determined the prints obtained from the can and the iPhone

matched prints from GZRARYAN.

             c.   During forensic processing of 9842 Milburn and

the surrounding area, a second and third 12-fluid ounce Coca-

Cola can were found on top of a circular glass table located

outside in the backyard near a sliding door in the kitchen.

Multiple fingerprints were obtained from the body of the Coca-

Cola cans.    Latent Print Specialist Salazar conducted latent

print testing and determined the prints obtained from the Coca-

Cola cans matched prints from A. HARUTYUNYAN.

             d.   During forensic processing of 9842 Milburn and

the surrounding area, a 12-fluid ounce Squirt can was found in

the backyard inside of a plastic bag under a circular glass

table located outside in the backyard near a sliding door in the

kitchen; a 750-milliliter glass bottle of Johnnie Walker Green

Label was also found on top of the circular glass table.           Prints

were obtained from the Squirt can and the side of the Johnnie

Walker Green Label bottle.      Latent Print Specialist Salazar

conducted latent print testing and determined that the prints

obtained from the can and the bottle matched prints from

AMIRYAN.

             e.   During forensic processing of 9842 Milburn and



of a circular glass table located outside in the backyard near a

sliding door in the kitchen; and an open pack of Camel Blue Hard


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Pack cigarettes, and a 16.9 fluid ounce Crystal Geyser plastic

water bottle label were found on top of the kitchen counter.

Fingerprints were obtained from the cup, cigarette pack, and

water bottle.     Latent Print Specialist Salazar conducted latent

print testing and determined that the prints obtained from the

cup, cigarette pack, and water bottle matched prints from V.

HARUTYUNYAN.

             f.   During forensic processing of 9842 Milburn and

the surrounding area, a fourth 12-fluid ounce Coca-Cola can and

750-milliliter glass bottle of Macallan 18 were found on top of

a circular glass table located outside in the backyard near a

sliding door in the kitchen.       The Macallan packaging was found

in the backyard on top of a brown wicker stool.          Fingerprints

were obtained from the Coca-Cola can, the front of the 750-

milliliter glass bottle of Macallan 18, and on the back of the

Macallan packaging.       Latent Print Specialist Salazar conducted

latent print testing and determined that the prints obtained

from the can, bottle, and packaging matched prints from

STEPANIAN.

                  b.   DNA evidence confirms
                       presence at or near 9842 Milburn

     76.     Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.

mixture profile for reddish-brown blood stains in various parts

of 9842 Milburn, on clothes found in 9842 Milburn, and in the



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Minivan parked in the garage of 9842 Milburn, and determined



           b.

the loaded Smith & Wesson revolver that was discarded near the

sidewalk of the Hollywood Way property and received a Combined



DNA was consistent with the majority of DNA that was recovered

from the firearm.

                 c.   A.K. identifies members of the Amiryan
                      Organized Crime Group but maintains that
                      they were not responsible for his
                      kidnapping, assault, and torture

     77.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

           a.    On October 26, 2023, Detectives Sam, Stupar, and

Mkrtchyan conducted a follow-up interview with A.K. at an LAPD

North Hollywood police station.       The interview was conducted in

both English and Armenian.      When translation to Armenian was

necessary, Detective Mkrtchyan, who is a fluent Armenian speaker

and certified Armenian translator, acted as the translator.

           b.    Prior to meeting with A.K., detectives created

separate six-pack photo line-ups of individuals they had

identified as potential suspects during their investigation,

including V. HARUTYUNYAN, AMIRYAN, GZRARYAN, STEPANIAN, and

EGUILUZ.   The photo line-ups were printed in color and

separately placed in manila folders.       In addition to the above

photo line-ups, Detective Sam also printed a color copy of A.



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photo.

            c.   Detective Mkrtchyan read and translated the

photographic show-up admonition to A.K., which he stated that he

understood and acknowledged by signing the admonition.            Prior to

showing A.K. each separate line-up, Detective Mkrtchyan

confirmed that he still understood the admonition, to which A.K.

responded in the affirmative, and signed a separate admonition.

            d.   Detective Mkrtchyan showed A.K. the following

photo line-ups that detectives had previously created, using the

blinded photo line-up procedure: 50

                 i.    Detective Mkrtchyan presented A.K. with

                          -up.   A.K. immediately recognized GZRARYAN,



                                                               A.K.

placed his initials in the top right corner of the photo and the

date (10/26/23) on the bottom right corner of the photo.

Additionally, A.K.

Identification Report.51

                 ii.   Detective Mkrtchyan presented A.K. with V.

                             -up.   A.K. immediately recognized V.

                                                                      A.K.


     50Based on my training and experience, I am aware that the
                   -
person administering the photo line-up does not create or look
at the photographs prior to showing them.
     51   Based on my training and experience, I know that a

photograph of the suspect along with five other persons who bear
a similar resemblance.

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and dated the bottom of the photo.               Additionally, A.K.



                       iii. Detective Mkrtchyan presented A.K. with

                             -up.     A.K. immediately recognized AMIRYAN,




date above the photo.             Additionally, A.K.



                       iv.   Detective Mkrtchyan presented A.K. with

                                  -up.   A.K. immediately recognized


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Photographic Identification Report.

                       v.    Detective Mkrtchyan presented A.K. with

                 photo line-up.      EGUILUZ was in position number five.

A.K. did not immediately recognize anyone but stated that he

believed that the person placed in position number 3 (who was

not EG

shur                          ,

Identification Report.

                  e.   During the interview, detectives asked A.K. if

anyone inside 9842 Milburn had harmed him.                A.K. responded that

nobody at the house had attempted to harm or threaten him.


       52   Based on my knowledge of this investigation, I believe


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           f.     Interviewing detectives showed A.K. the video

recording of him being assaulted inside 9842 Milburn.          As

previously stated, investigators located this video on a digital

device (a white iPhone bearing serial number DNPN93ADFFDN) that

                                                                    A.K.

denied that the beating occurred at 9842 Milburn, but when told

by detectives that they knew the video was taken from inside

9842 Milburn, he did not deny it.        A.K. then expressed concern

about creating problems for himself and mentioned his desire to

and avoid any trouble for his family, which he stated, was

currently living peacefully.      A.K.

his assailants.

           g.     During the interview, A.K. was shown a single DMV

photo of A. HARUTYUNYAN.      A.K. positively identified the person

depicted in the photograph

                  d.   Ring cameras capture members of the Amiryan
                       Organized Crime Group entering and exiting
                       9842 Milburn

     78.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware that between on or about June 6, 2023,

and June 7, 2023, Ring camera footage captured individuals,

including AMIRYAN, V. HARUTYUNYAN, GZRARYAN, and A. HARUTYUNYAN,

driving to and from 9842 Milburn, bringing assorted items into

9842 Milburn, and entering and exiting the residence.          As

previously stated, this Ring camera footage was searched

pursuant to a warrant signed by the Honorable Daniel Feldstern.




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     79.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am also aware that corroboratively, cell-site

and GPS location data for a phone registered to EGUILUZ and

phones found on the persons of V. HARUTYUNYAN and GZRARYAN when

they were detained, placed them at or near 9842 Milburn between

June 6, 2023, and June 7, 2023.

                 e.   Law enforcement locates videos depicting
                                                 and a photograph
                                               on two of
                                          s

     80.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware that law enforcement located

approximately 13 videos on a white Apple iPhone 5S bearing IMEI



                                 5S

assaulted and tortured.      The following is a description of some

of the videos located:53

           a.    On or about June 7, 2023, at approximately 1:09

a.m., someone recorded a video titled

                                                                    5S

that depicted, among other things, an individual interrogating




     53This cellphone was searched pursuant to a warrant issued
by the Honorable Jacqueline L. Chooljian. (Case No. 2:23-mj-
6296.) In some of the videos, the person(s) interrogating A.K.
spoke in Armenian. Detective Mkrtchyan reviewed the videos and
translated them from Armenian to English. My understanding of
what is said in the videos is, therefore, based on his
translation.

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Fish,                                                                  stomp

A.K.

           b.    On or about June 7, 2023, at approximately 1:10

a.m., someone recorded a video titled

                                                                       5S

that depicted, among other things, an individual interrogating

A.K. and asking him, in English,                                   ,

referring to defendant AMIRYAN, and what gang the shooters were

from, and A.K. responding that an individual associated with the

                    A-    ,

a reference to AGOPIAN), and ARTUNI, among others were

responsible..

           c.    On or about June 7, 2023, at approximately 1:47

a.m., someone recorded a video titled

                                                                       5S

that depicted, among other things, an individual interrogating

                                                 ,

                              ,

                                  ,

the shootings, were offering $50,000 for, and A.K. responding

that ARTUNI, among others, was responsible.

           d.    On or about June 7, 2023, at approximately 1:49

a.m., someone recorded a video titled

                                                                       5S

that depicted, among other things, A.K. covered in blood and

holding a bloody yellow towel.




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               e.       On or about June 7, 2023, at approximately 1:50

a.m., someone recorded a video titled

                                                                          5S

that depicted, among other things, an individual interrogating



           ,

$50,000 for a location; (c) and whose location the person(s)

responsible for the shooting were seeking, and A.K. responding

that ARTUNI, among others, was responsible.

               f.       On or about June 7, 2023, at approximately 1:51

a.m., someone recorded a video titled

                                                                          5S

that depicted, among other things, an individual interrogating



       ,

                                                    to AMIRYAN, and A.K.

responding that ARTUNI, among others, was responsible.

               g.       On or about June 7, 2023, around 1:52 a.m.,

someone recorded a video titled



depicted, among other things, an individual demanding, in

                                                                      ,

involved in targeting AMIRYAN and STEPANIAN, and A.K. providing

MMA-                .

                        f.   A. HARUTYUNYAN calls A.K. five times on the




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                      night he is kidnapped

     81.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware that a number ending in -0007 was

registered to A.K. at the time he was kidnapped.          On or about

June 6, 2023, from approximately 11:29 p.m., to approximately

11:51 p.m., A.K. received five consecutive phone calls from a

telephone number ending in -0003. 54      Given, among other things,

the fact



HARUTYUNYAN was the individual calling A.K.

                 g.   Telegram messages reveal that AMIRYAN
                      arranged for BOJORQUEZ and EGUILUZ to come
                      to 9842 Milburn

     82.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware that Detective Sam reviewed a digital

device seized from the backyard of 9842 Milburn, and later

determined to belong to AMIRYAN, on the day he was detained (a

blue, iPhone 12 mini bearing serial number F71DP39X0GRV)

pursuant to a federal search warrant signed by the Honorable

Alicia G. Rosenburg, a U.S. Magistrate Judge in the Central

District of California.      (Case No. 2:24-mj-1763.)      During his

review, Detective Sam located approximately 103 messages on the

encrypted messaging application Telegram between AMIRYAN (who


     54This number is registered to S.M. Per a Burbank Police
Department report regarding a stolen vehicle dated June 19,

me to believe that A. HARUTYUNYAN used this number to call A.K.

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                                             BOJORQUEZ (who was using the

                 ).    In relevant part, Detective Sam located the

following                                                    :

            a.        On or about June 5, 2023, at approximately 9:45

p.m., BOJORQUEZ sent the following message to AMIRYAN to see if



man wanted to see if u had anything going on tonight for us if

not is it ok if I head back tonight I got court tomorrow morning

                                            BOJORQUEZ followed this

message with a photograph of court documents bearing his true,

legal name.

            b.        On or about June 6, 2023, at approximately 3:15

p.m., BOJORQUEZ sent the following message to AMIRYAN to let him

know that he and EGUILUZ (who BOJORQUEZ referred to as

          )55



                                      Based on my involvement in this

investigation, I believe that BOJORQUEZ was advising AMIRYAN

that he and EGUILUZ were separately traveling to 9842 Milburn at




     55Based on my involvement in this investigation, I am aware
that the Consolidated Criminal History Reporting System
                EGUILUZ as a documented Southsider gang member
(or Sureño) who uses the
Additionally, based on my conversations with Detective Stupar, I
am aware that in 2007, Hawthorne PD Officer Robles and his
partner conducted a traffic stop on a vehicle driven by EGUILUZ.
Officer Robles immediately recognized EQUILUZ from previous
field contacts and knew him to be a gang member from Fuck a
Bitch (FAB)                           .

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           c.    On or about June 6, 2023, at approximately 3:20

p.m., AMIRYAN sent the following response to BOJORQUEZ



           d.    On or about June 6, 2023, at approximately 3:23

p.m., AMIRYAN sent the following message to BOJORQUEZ

around 7:30               Based on my involvement in this

investigation, I believe that AMIRYAN was instructing BOJORQUEZ

to come to 9842 Milburn between 7:30 p.m. and 8:00 p.m.

           e.    On or about June 6, 2023, at approximately 3:24

p.m., BOJORQUEZ responded with the following message, confirming

that he would see AMIRYAN
           f.    On or about June 6, 2023, at approximately 6:28

p.m., BOJORQUEZ sent AMIRYAN the following message to alert him

that EGUILUZ (who BOJORQUEZ                                ) had



           g.    On or about June 6, 2023, at approximately 7:22

p.m., BOJORQUEZ sent AMIRYAN the following message to alert him

that he too had arrived

           h.    On or about June 6, 2023, at approximately 7:27

p.m., AMIRYAN sent BOJORQUEZ



        Based on my involvement in this investigation, I believe



                                                                     he

meant that he was working on luring A.K. from his residence.            In




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                , he was asking if both BOJORQUEZ and EGUILUZ had

arrived at 9842 Milburn.

           i.      On or about June 6, 2023, at approximately 7:28

p.m., BOJORQUEZ sent AMIRYAN the following message confirming

that he and EGUILUZ were both at the location



                   h.   Vehicles used by members and associates of
                        the Amiryan Organized Crime Group are parked
                        at or near 9842 Milburn

     83.   Based on my own knowledge of the investigation, I am

aware that a 2022 blue Lexus ES bearing California license plate

number 9BNT929 and VIN 58ADA1C10NU020519, which was registered

to A. HARUTYUNYAN at a residence on Annette Street in Los

Angeles, was parked on the street by 9842 Milburn, the residence

where A.K. was tortured, on or about June 8, 2023, when law

enforcement reviewed the scene.

     84.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports and photographs taken of vehicles

at or near 9842 Milburn by Photographer Coogle on or about June

8, 2023, and my own knowledge of the investigation, I am also

aware of the following:

           a.      A 2023 black Mercedes Benz EQS SUV bearing

temporary California license plate number CL95F82, issued

permanent California license plate number 9FFV320, and

registered to K.P.56                  significant other) was parked



     56                                    significant other
based on my review of LAPD reports relating to the attempt on
                    or about October 25, 2022, described above.

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across the street from 9842 Milburn when law enforcement

reviewed the scene on or about June 8, 2023.

           b.    A 2023 black Jeep Wrangler bearing California

license plate number 9DGR329 and registered to V. HARUTYUNYAN

was parked across the street from 9842 Milburn, directly in

front of the above-described Mercedes Benz, when law enforcement

reviewed the scene on or about June 8, 2023.

           c.    A 2015 white Honda Civic bearing California

license plate number 9ATH201 and registered to E.M.H. (who, per

LexisNexis is an associate of BOJORQUEZ ) was parked near 9842

Milburn when law enforcement reviewed the scene on or about June

8, 2023.

                 i.   A. HARUTYUNYAN flees to Mexico after A.K.
                      escapes from 9842 Milburn

     85.   Based on my review of CBP reports, and my own

knowledge of the investigation, I am aware of the following:

           a.    On or about June 8, 2023, at approximately 4:30

a.m., CBP Officer Cortez was conducting border crossing checks

when she stopped a 2012 black Range Rover bearing California

license plate 6UCR298 (the

The driver of the Range Rover (E.M.) presented her with a green

card in his name and stated that he was the only person in the

vehicle.   E.M. claimed to be traveling from Los Angeles enroute

to Rosarito, Mexico to visit his cousin.        Officer Cortez

instructed E.M. to place his vehicle in park and roll down all

his windows.    E.M. only cracked open the front window at which

point Officer Cortez repeated her instructions and roll down all



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windows.   In response, E.M. put the vehicle in park.         Officer

Cortez then asked E.M. if he understood her instructions and he

stated,    Yes.     At that point, Officer Cortez noticed a person

covered and laying on the back seat of the Range Rover.

            b.     Officer Cortez confronted E.M. and asked him why

he had stated he was the only person in the vehicle.          E.M.

continued to state that he was the only person in the vehicle

                                               ,

Cortez replied that she was not done with her inspection.

Officer Cortez then focused her attention on the male in the

back seat and asked for his travel documents.         The male replied

that he had no documents.      E.M. then stated that the male in the

back of the vehicle did not understand English, and all his

documents were in Mexico.      The Range Rover, E.M., and the male

were taken to the Security Office for further inspection.            The

male was fingerprinted and subsequently identified as A.

HARUTYUNYAN.      Per CBP records, A. HARUTYUNYAN had a prior

derogatory history and adverse immigration actions levied

against him.      And, when he was stopped, A. HARUTYUNYAN had a

pending removal hearing.      A. HARUTYUNYAN was advised to have

proper entry documents or court issued paperwork if he wished to

return to the United States.      Then, both E.M. and A. HARUTYUNYAN

were released into Mexico.

            c.     Based on my training and experience, I believe

that A. HARUTYUNYAN fled to Mexico to avoid being arrested for




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           4.                                              Possession
                 and Use of Unregistered Firearms

     86.                                       s

kidnapping, assault, and torture, AMIRYAN, V. HARUTYUNYAN,

GZRARYAN, STEPANIAN, A. HARUTYUNYAN, EGUILUZ, and BOJORQUEZ, had

not registered to own any firearms.

           5.

     87.   Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

           a.    As previously stated, during the search of

                on or about December 12, 2023, investigators

located a digital device (               iPhone 14 Pro).    On the

device, investigators located recorded conversations between

ARTUNI and A.K.57    These conversations were in the Armenian

language and translated by Detective Mkrtchyan, Sergeant

Mirakyan, and CBP Officers Hakobyan and Tsarukyan.          In two of

the recordings, ARTUNI and A.K.



                                                             (

who law enforcement believes was in reference to AGOPIAN).           In

addition, ARTUNI confronts A.K. about naming him as one of the

persons responsible for targeting AMIRYAN and other members of


     57Based on my training and experience, involvement in this
investigation, and conversations with other law enforcement
officers who specialize in Armenian Organized Crime, I believe
these recordings were made so that they could be sent to
organized crime leaders in Russia and Armenia. This would be
done so that ARTUNI could dispute the allegations made against
him by AMIRYAN and/or his associates.

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his group.    A.K. responds that AMIRYAN and others made him say

                 so that it could be recorded.         ARTUNI also brings

up that the thieves in law were now involved and suggests that

he was now facing some issues because AMIRYAN, or someone close

to him, reported ARTUNI (seemingly in relation to the attempted

murders).

     88.     Based on my training, experience, and involvement in

this investigation, I believe that these recorded conversations

are significant to this investigation.         First, they confirm that

A.K. is affiliated with ARTUNI and that is why he was targeted

by the Amiryan Organized Crime Group.         Second, they confirm that

ARTUNI and AMIRYAN, and their affiliates, are embedded within

Russian and Armenian Organized Crime.         Third, they confirm that

AMIRYAN is a figure of significance in the criminal underworld

because he was able to successfully appeal for ARTUNI to be

 regulated. 58    Fourth, the notion of

                          claims that AMIRYAN was doing most of the

talking when he was kidnapped.        This means that AMIRYAN was in

charge and was likely the person that can be heard on the

recordings interrogating A.K. in Armenian.         Fifth, they confirm

that there was (and as further detailed below, still is) an

ongoing power struggle between AMIRYAN and ARTUNI within the

Armenian Organized Crime world.

     58Based on my training, experience, and conversations with
other law enforcement officers who specialize in Armenian
Organized Crime, I am aware that Armenian and Russian Organized

the code of conduct, for example, attempting to kill a man of
repute like AMIRYAN without proper clearances, by punishing them
with monetary penalties and/or physical violence.

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     E.    June 12, 2023: G.M. Is Shot as He Is Driving Home

           1.    Probable Cause Summary

     89.   As set forth below, there is probable cause to believe

that ARTUNI, HAZRYAN, STEPANYAN, A. A. KAZARYAN, and others

known and unknown, attempted to murder G.M. 59        The evidence

supporting this determination includes, but is not limited to:

(1) the recurring pattern of violence targeting the Amiryan

Organized Crime Group and its associates; (2) the use of a

                                                      during the murder

attempt; (3) cell tower data showing ARTUNI and HAZRYAN

following G.M. leading up to the murder attempt; (4) call data



date and timing of the murder attempt; and (5) the presence of

drone footage                                                             .

           2.    Description of the Attempted Murder

     90.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:


     59  Based on my involvement in this investigation and
conversations with law enforcement officers who specialize in
Armenian Organized Crime, I am aware that G.M. is considered an
                         G.M., who is Armenian, served under the
                               Kazarian, a documented Armenian
Organized Crime leader who maintained control of the entire western
United States as a gogh. G.M.                influence drastically
diminished in 2015 when his son, who claimed to be a member of
Armenian Power, committed an unprovoked and unauthorized murder of
a White Fence gang member in North Hollywood. The unsanctioned
murder triggered a chain of events that caused the Mexican Mafia
to place a green light (approval to kill) on all Armenian Power
gang members and levy a heavy tax (or fine) on G.M. as punishment.
Following this conflict with the Mexican Mafia, G.M. went into
hiding and began using an alias.


                                    88
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           a.    On or about June 12, 2023, at approximately 3:19

p.m., a caller reported a shooting at the intersection of

Devonshire Street and Melvin Avenue in Los Angeles.          Around 3:30

p.m., LAPD Officers Mejia and Hong responded to a radio call

regarding the shooting.

           b.    When the two officers arrived at the

intersection, the reporting party stated that around 3:15 p.m.,

as he was driving westbound on Devonshire Street approaching

Melvin Avenue, he saw two or three cars driving in the same

direction as him.    As the reporting party reached the

intersection, he saw someone inside of a white or cream-colored

Chevrolet SUV or Crossover shoot approximately seven or eight

rounds at another vehicle.      The shooter then sped away.       The

reporting party believed that a shooting occurred because he saw



vehicle.   Additional officers responded to the intersection to

provide investigative assistance.        LAPD Officer Park recovered

approximately eight Federal .45 caliber spent shell casings at

the intersection.

           c.    While continuing their investigation at the

Devonshire Station, Officers Mejia and Hong received another

radio call regarding the shooting.        At approximately 4:11 p.m.,

a second caller reported the shooting and from this call,

officers were able to locate G.M. at his residence on Hiawatha

Street in Los Angeles.

           d.    After locating G.M., LAPD Detective Reyes

consensually obtained dash camera footage from the vehicle that


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G.M. was driving when he was shot at.        Detective Reyes reviewed

              camera footage and surveillance footage that he

consensually obtained from another Melvin Avenue resident.

Collectively, the footage shows a 2011 off-white GMC Acadia SUV

bearing California license plate number 6NVB285 and VIN

1GKKRNED3BJ287455                          a 2021, dark blue BMW X6

M50 bearing temporary license plate number CM36D82 60 and VIN

5UXCY8C02M9E21818

in a trained manner that suggests both drivers were familiar




extends a

turning.    Approximately seven to eight gunshots are audible, and

                                                                  The

blue BMW X5 M50 and GMC SUV both speed away, and G.M. drives his

car a few blocks to his residence.

     91.    Based on my involvement in this investigation, I am

aware that G.M. and AMIRYAN have a close relationship.           When

                               cellphones that were seized at 9842

Milburn (a black iPhone 13 bearing IMEI number 355701905187161),

Detective Sam located a photograph of AMIRYAN and G.M. together.

In addition, on WhatsApp, Detective Sam located messages and

                                                                        .

Based on my involvement in this investigation, and conversations

with law enforcement officers who specialize in Armenian

     60Based on my review of DMV records, I am aware that the
permanent California license plate number for this vehicle is
9HCU299.

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                                                                   ,

leading me to believe that these communications were between

AMIRYAN and G.M.       As such, I believe, based on my training,

experience, and knowledge of this investigation, that G.M. was

targeted by members of the Artuni Enterprise given his proximity

to AMIRYAN as well as his historical position in the Armenian

Organized Crime world.

             3.
                  Attempted Murder

                  a.
                         father is used in the attempted murder

     92.     Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   Using a law enforcement database, Detective

Reyes, determined that the blue BMW X5 M50 was registered to A.

                         .   On or about June 20, 2023, Detective

Reyes mailed a 15.2561

About a week after the 15.25 contact letter was sent, A. A.




the letter because his f

KAZARYAN inquired why the letter was sent, and when informed by

Detective Reyes that it was concerning a shooting, acted

surprised.    A. A. KAZARYAN denied knowing anything about a

shooting incident and advised Detective Reyes that he would

     61


that they either call or come into the police station.

                                       91
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speak with his father prior to ending the call.          To date, A. A.

KAZARYAN has not contacted Detective Reyes.

                  b.   Cell tower data shows ARTUNI and HAZRYAN
                       following G.M. prior to the shooting 62

     93.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

           a.     Cell tower data supports that HAZRYAN was

following G.M. (whose location is known to law enforcement

through GPS data from his vehicle) prior to the shooting and

went to                                   or a business that they

likely co-use after the shooting.         Specifically, on or about

June 12, 2023,                                                           63


connected to a cellular tower near the residence of S.K., a

well-known Armenian Organized Crime figure, who earlier in the

day, was visited by G.M.       At approximately 2:59 p.m. (around 16

minutes before the shooting occurred), G.M. parked his vehicle

at a Shell gas station located at 6801 Reseda Boulevard, Reseda,

California.     At approximately 2:56 p.m.,

connected to a cellular tower located at 6827 Reseda Boulevard,

Reseda, California.       The distance between           vehicle and the

cellular tower that HAZRYAN s cellphone connected to was


     62This cell tower data was obtained pursuant to a state
search warrant signed by the Honorable Judge Teresa Sullivan,
Superior Judge of the State of California, County of Los
Angeles.
     63Based on my conversations with him, I am aware that
Detective Stupar utilized law enforcement databases to determine
that the phone number 747-306-5985 was registered to HAZRYAN.
Unless otherwise noted, a


                                     92
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approximately 132 feet.      At approximately 3:24 p.m., around nine

minutes after the murder attempt

connected to a cellular tower located at 10800 North Lemona

Avenue, Mission Hills, California.       This cellular tower is

located approximately 7.5 miles east from where the shooting

occurred.   At approximately 3:45 p.m., around 30 minutes after

the murder attempt

cellular tower located at 10189 Tujunga Canyon Boulevard,

Tujunga, California.      This cellular tower is located

approximately 18.5 miles east from where the shooting occurred



(SUBJECT PREMISES 9       10053 Tujunga Canyon Boulevard, Tujunga,

California 91042) and 0.34 miles from Kaz Wholesale Furniture,

Inc. (7505 Foothill Boulevard, Tujunga, California 91042), a

suspected fraudulent business operated by HAZRYAN with suspected

assistance from A. A. KAZARYAN.

            b.   Cell tower data supports that ARTUNI was also

following G.M. prior to the murder attempt.           Specifically, at

approximately 2:24 p.m.,                         64   connected to a


     64LAPD Detective Stupar learned from Burbank PD Detective
Pira, who was investigating the July 7, 2023 shooting of AMIRYAN
detailed below, that a phone number belonging to ARTUNI (747-
272-5736) was involved in their shooting investigation. In
turn, Detective Stupar obtained a warrant for call detail

shooting investigation. The state search warrant was signed by
the Honorable C.J. Pratt, Superior Court Judge of the State of
California, County of Los Angeles. As previously stated,
                              iPhone 14 Pro on or about December
12, 2023, when executing a federal search warrant at his
residence signed by the Honorable Jacqueline L. Chooljian. The
seized cellphone had a corresponding phone number of 747-272-
                                   (footnote cont d on next page)

                                    93
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cellular tower near              residence (.72 miles away).      Then, at

approximately

cellular tower located at 10193 Tujunga Canyon Boulevard,

Tujunga, California, approximately 16.7 miles from the attempted

murder location and 0.44 miles from A.

That cell tower is also located approximately 0.32 miles from

Kaz Wholesale Furniture, Inc.

                c.   Of note, between approximately 2:08 p.m. and 4:22

p.m., A. A.                           65   connected to a cellular tower

located at 10193 Tujunga Canyon Boulevard, Tujunga, California,

approximately 16.7 miles from attempted murder location and 0.44

miles from his residence at SUBJECT PREMISES 9.           That cell tower

is also located approximately 0.32 miles from Kaz Wholesale

Furniture, Inc.

                     c.   Call
                          an hours long gap on the date of the




5736.        Hereafter, unless otherwise noted, any references to

with this phone number.
       As part of the ongoing investigation into the shooting of
        65
G.M., investigators learned through LexisNexis that A. A.
                            818-205-8757. Detective Stupar
obtained a state search warrant to include CDR data for this
phone number. The search warrant was signed by the Honorable
C.J. Pratt.
cellphone (iPhone 15 Pro bearing serial number HQ3617Y71M and
IMEI number 353864164453567) on or about December 12, 2023, when
executing a federal search warrant at his residence signed by
the Honorable Jacqueline L. Chooljian. (2:23-mj-6286.) The
corresponding phone number for his phone was 818-205-8757.

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                          attempted murder66

      94.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   G.M. was shot at approximately 3:15 p.m. as he

was driving home.                    cellphone had a gap in usage

between the hours of 1:48 p.m. and 5:31 p.m.           Based on my

training, experience, and knowledge of this case, I believe that

STEPANYAN did not use his cellphone before, during, and after

the attempted murder to thwart law enforcement tracing.

                 d.       HAZRYAN has
                          residence on his cellphone

      95.   Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   As previously stated, in relation to this

investigation, investigators executed search warrants at

assorted locations on or about December 12, 2023, pursuant to

federal search warrants signed by the Honorable Jacqueline L.



       On or about December 12, 2023, investigators served a
      66
federal search warrant signed by the Honorable Charles F. Eick,
a U.S. Magistrate Judge in the Central District of California,
on a storage unit belonging to STEPANYAN. (Case No. 2:23-mj-
6368.) LAPD Detective Kaminski spoke to the manager of the
storage facility, who provided him with the rental agreement
listing STEPANYAN and his phone number (818-293-9713) as the
person renting the storage unit. Furthermore, a LexisNexis
inquiry listed STEPANYAN, among others, as being the subscriber
for the phone number. In furtherance of the investigation,
Detective Stupar obtained a state search warrant seeking CDR
data, among other information, for STEPANYAN. The search
warrant was signed by the Honorable Thomas Falls. Hereafter,
unless otherwise noted,
are in reference to the cellphone associated with this number.

                                      95
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                                            e such search location.

(Case No. 2:23-mj-6287

investigators located, among other things, a digital device

(iPhone 15 Pro bearing IMEI numbers 353431650783350 &

353431653286930                                  ).67    On the device,

investigators found aerial drone footage dated August 8, 2023,

of G.M.

drone of HAZRYAN operating the drone. 68       The video footage also

depicted a Jeep Wrangler bearing California license plate number

9DCG912 and registered to A. A. KAZARYAN at his previous

residence, 10762 Mount Gleason Avenue, Tujunga, California

91042.

      F.    July 7, 2023: AMIRYAN Is Shot While on the Balcony of
            His Former Residence

            1.    Probable Cause Summary

      96.   As set forth below, there is probable cause to believe

that ARTUNI, HAZRYAN, STEPANYAN, MANUKYAN, SEDANO, and others

known and unknown, conspired to murder AMIRYAN and attempted to

murder him and his significant other (R.M.).            The evidence

supporting this determination includes, but is not limited to:

(1) the recurring pattern of violence targeting the Amiryan


       Based on my training and experience, I am aware that a
      67
phone can have dual IMEI numbers or phone lines, which is why
                     has two numbers associated with it. These
numbers are called eSIM numbers (electronic SIM numbers) that
are assigned to each phone line on the same device.
       Although this footage post-dates the murder attempt, I
      68
believe it still attributes HAZRYAN to the failed June 2023
murder, given the recurring targeting of members and associates
of the Amiryan Organized Crime Group at or near their homes.
Separately, law enforcement located a video on one of ARTUNI s
devices showing ARTUNI operating a drone as well.

                                     96
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Organized Crime Group; (2)

used to shoot AMIRYAN and cell tower data indicating that

HAZRYAN and ARTUNI were present at the sale; (3) the presence of

                                                                -

residence right after he was shot

balcony later found on his phone; (4) the presence of a

screenshot of a background check for AMIRYAN, which included a

map with the address of                     -residence on one of

                               5) gaps in usage of STEPANYAN and




in North Hollywood, which is near where AMIRYAN resided at the

time; (7) bullet casings matching a firearm used in this

shooting and recovered from a storage facility registered to

STEPANYAN and frequented by members and associates of the Artuni

Enterprise, including ARTUNI himself; and (8) a recorded call

between HAZRYAN and AMIRYAN in which AMIRYAN accuses HAZRYAN of

being in cahoots with ARTUNI.

            2.   Description of the Attempted Murders

      97.   Based on my conversations with Detectives Stupar and

Sam and Sergeant Mirakyan, my review of Burbank PD and LAPD

reports, and my own knowledge of the investigation, I am aware

of the following:

            a.   On or about July 7, 2023, at approximately 10:40

p.m., Burbank PD officers arrived at the East San Jose residence




                                     97
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             then-residence)69 in response to a radio call



pickup truck.    Upon arriving at the residence, Burbank PD

Officer Bickel made contact with AMIRYAN, who was suffering from

multiple gunshot wounds.70

            b.   Burbank PD Officer Hosepian arrived at the

residence                                 significant other (R.M.).

Per R.M., at approximately 10:30 p.m., she and AMIRYAN were

seated on their balcony, which is adjacent to an alleyway.             R.M.

heard a vehicle driving at a high speed in the alley.           R.M.

looked at their home surveillance cameras and saw a red/orange

pick-up truck stop directly in front of their apartment balcony

in the alley.    Almost simultaneously, R.M. heard loud gunshots

from the alley and felt bullets strike their balcony ceiling.

R.M. fell to the ground and AMIRYAN climbed on top of her to

protect her from the gunfire.       Once the shooting stopped, R.M.

looked at the surveillance footage and saw the pick-up truck

drive westbound in the alley towards Glenoaks Boulevard.

            c.   Detective Pira, who was later assigned to the

investigation, canvassed the area surrounding the residence and



       Based on my conversations with Detective Stupar and my
      69
involvement in this investigation, I am aware that after this
shooting, AMIRYAN relocated to another home with his family
(SUBJECT PREMISES 1).
       Based on my review of hospital records, I am aware that
      70
AMIRYAN sustained the following injuries: gunshot wounds to the
left shoulder, left elbow, and abdomen, an unspecified displaced
fracture of the left humerus, a fractured rib, traumatic
hemothorax, a contusion of the lung, acute posthemorrhagic
anemia, elevated white blood cell count, and essential primary
hypertension.

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located surveillance cameras.        After consensually obtaining the

footage, Detective Pira reviewed it.         On one video, which is

dated July 7, 2023, and time stamped at 10:37 p.m., a 2002, red

lifted Ford F-150 bearing California license plate number

                                                 -

sitting in an alleyway near the balcony.         An individual standing

in the bed of the truck appears to fire several rounds towards

the balcony where AMIRYAN and R.M. were seated, and then the F-

150 speeds away.

             d.   The City of Burbank maintains several traffic

cameras throughout the city, which are posted in various

intersections.     These cameras record and retain footage, which

can be accessed and reviewed later.          On or about July 12, 2023,

Burbank PD Detective Rodriguez reviewed traffic camera footage

to trace the F-                                  the East San Jose

residence.    A traffic camera shows that at approximately 10:41

p.m. (four minutes after the shooting), the F-150 arrived at an

intersection at Burbank Boulevard with a sedan with a broken

rear passenger side taillight and missing hub cap trailing.              The

footage depicts the suspected shooter getting out of the bed of

the F-

             3.                                                   the
                  Attempted Murder

                  a.      MANUKYAN                   the F-150 used in the
                          attempted murder

      98.    Based on my conversations with Detectives Stupar and

Sam and Sergeant Mirakyan, my review of LAPD and Burbank PD




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reports, and my own knowledge of the investigation, I am aware

of the following:

             a.   On or about July 7, 2023, a person using the

                                                                      -

150, seeking to purchase it.       And at approximately 4:00 p.m.,



with the original owner, conducted a test drive, and then



                                               a passport image.

             b.   During the investigation, Detective Ekimyan

recognized the person photographed on the passport from prior

contacts and an arrest one week prior as MANUKYAN. 71         Because the

name on the passport was an alias, Detective Ekimyan determined

that the passport was likely fake.        (MANUKYAN is a convicted

felon, and his criminal history includes fraud and identity

theft.)

      99.    Based on the use of a fake name on a purported U.S.



that MANUKYAN used a fake passport when purchasing the vehicle,



to him.     Also, based on my training and experience, I know that



       Based on my knowledge of this investigation and
      71
conversations with Sergeant Mirakyan, I know that on or about
August 4, 2023, Officers Ekimyan and Martinez arrested MANUKYAN
for possession of a controlled substance, in violation of
California Health and Safety Code Section 11350(a). In brief,

Officers learned that MANUKYAN was on probation for being a
felon in possession of ammunition. MANUKYAN gave officers
consent to search his vehicle. A consent/probation check of the
vehicle revealed suspected heroin.

                                    100
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people involved in organized crime who plan and commit murders

will often use false information to avoid detection by law

enforcement or rivals.       I also know that organized crime members

                      i.e., murders) will often use several

individuals to fulfill the murder plan, and they will assign

each individual specific roles to coordinating and executing the

murder.   This includes roles such as purchasing equipment and

tools for the murder (e.g., vehicles and firearms), surveillance

                                                       and accessories to

destroy evidence, among other things.         Based on this training

and experience, I believe that at least one of                              s

was to purchase the vehicle used in the shooting.

            a.   In addition, cell tower data placed ARTUNI (using

a number ending in -6430) and HAZRYAN (using a number ending in

-5736) at or near the location of the vehicle purchase, a tire

shop in Vernon, California.

                 b.       A vehicle likely driven by SEDANO
                          accompanies the F-150 after the attempted
                          murders

      100. Based on my conversations with Detectives Stupar and

Sam and Sergeant Mirakyan, my review of LAPD and Burbank PD

reports, and my own knowledge of the investigation, I am aware

of the following:

            a.   As previously stated, after the murder attempts,

the F-150 drove to an intersection at Burbank Boulevard with a

sedan with a broken rear passenger side taillight and missing

hub cap trailing.     During the course of this investigation, law

enforcement determined that the individual who commonly drives


                                     101
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this vehicle, or a vehicle that looks much like it, is SEDANO.

For example, on or about December 12, 2023, law enforcement

executed a search warrant at Unit B16 of Enterprise Self

Storage, which is located at 10711 Vinedale Street, Sun Valley,

California.          The warrant was signed by the Honorable Charles F.

Eick.        (Case No. 2:23-mj-6368.)

                b.     Unit B16 is registered to STEPANYAN.      On or about

December 12, 2023, after law enforcement executed warrants at

several locations associated with the Artuni Enterprise, SEDANO

came to the storage facility and was spotted by law enforcement.

At the time, SEDANO was driving a gray Toyota Camry bearing

California license plate number 5ZWX352 that was missing a hub

cap.

                c.     SEDANO left the facility, upon seeing law

enforcement, and later returned, at which time, law enforcement

detained him and seized his cellphone (a black Samsung Note

cellphone bearing an unknown serial number and IMEI number

356101115240125)

cellphone pursuant to a federal search warrant signed by the

Honorable Maria A. Audero, a U.S. Magistrate Judge in the

Central District of California. 72            (Case No. 2:23-mj-06439.)   On



vehicle with a missing a hub cap.             In that same video, there was

a 2023, white Toyota Camry bearing California license plate

        72
cellphone number. Detective Stupar obtained a state search
signed by the Honorable Thomas Falls for CDR. Hereafter, any

and the associated number.

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number 9FOU408.     As detailed below, STEPANYAN appears to drive

this car to the storage facility to pick up items prior to the

November 9, 2023 attempted murder of H.H.          In addition, on that

phone, law enforcement located a Google Maps view of the



                  c.      ARTUNI has

                          address, on his cellphone

      101. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in the

investigation, I am aware that investigators located a

screenshot of a background check for AMIRYAN, which included a

map                                          -residence

iPhone 14 Pro.

                  d.      STEPANYAN and SEDANO seemingly turn off
                          their phones at the time of the attempted
                          murder

      102. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.    Detective Stupar reviewed CDR for STEPANYAN and



phones were not in use when AMIRYAN was shot. 73          AMIRYAN was shot

at approximately 10:40 p.m., on or about July 7, 2023.            Based on

his review of the records, Detective Stupar determined that

                                -293-9713) had a gap in usage between

                                                  (818-691-8750), had a



       The review of this information was authorized by a state
      73
search warrant signed by the Honorable Thomas Falls.

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gap in usage between 8:07 p.m. and 11:36 p.m.           Based on my

training, experience, and involvement in this investigation, I

believe that this gap in usage demonstrates their involvement in

                                                               not used in

order to avoid law enforcement from being able to trace their

locations.

                  e.
                          search for a shooting in North Hollywood

      103. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.

or about December 12, 2023, in relation to this investigation.

During the search warrant execution, law enforcement found a

device (                             ).74   When searching the device,

Detective Stupar located the following in the web search



an associated time stamp.       However, based on my involvement in

this investigation, I believe that HAZRYAN was searching to see

if AMIRYAN had been shot, given that at the time, AMIRYAN

resided in Burbank, which is near North Hollywood.           This

conclusion is supported by, among other things,




       Based on my training and experience, I am aware that a
      74
phone can have dual IMEI numbers or phone lines, which is why
                     has two numbers associated with it. These
numbers are called eSIM numbers (electronic SIM numbers) that
are assigned to each phone line on the same device.

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detail records,75 which place him at or near the location where

the F-                                                      76   His call

detail records also place him in contact with individuals who,

based on cell tower data, were near or around in the days

leading up to and at the time of

                 f.
                          residence match a firearm seized from


      104. Based on my conversations with Detective Stupar and

Sergeant Mirakyan, my review of LAPD and Burbank PD reports, and

my own involvement in the investigation, I am aware that during

the search of storage unit on or about December 12, 2023,

investigators located an arsenal of weaponry.           Ballistics for

one of the firearms located (a Glock, model 21, .45 Auto

caliber, pistol bearing serial number KDK598) matched suspect

casings retrieved from the alley of

(the East San Jose residence).        As further described below, this

storage facility appears to have been used as an armory for

members and associates of the Artuni Enterprise.

                 g.       AMIRYAN accuses HAZRYAN of being in cahoots




      75
numbers he was in contact with were obtained via state search
warrants signed by the Honorable Michael Villalobos, Michael D.
Carter, Jared D. Moses, and Adam Y. Chang, Judges of the
Superior Court of California, County of Los Angeles.
Investigators used law enforcement databases to determine that
the numbers were registered to and used by HAZRYAN.
       Based on my review of Burbank PD reports and
      76
conversations with Burbank PD Sergeant Mirakyan, I am aware that
the original owner of the F-150 and an associate of his reported
that at least two men were present at the sale.

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                          with ARTUNI

      105. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   On                                , investigators located

recorded conversations between AMIRYAN and HAZRYAN that HAZRYAN

sent to ARTUNI on or about September 15, 2023. 77           These

conversations were in the Armenian language and translated by

Detective Mkrtchyan, Sergeant Mirakyan, and CBP Officers

Hakobyan and Tsarukyan.        In one of the recordings, HAZRYAN

appears to be baiting AMIRYAN                                           into

discussing MMA-2.78       HAZRYAN reiterates MMA-         name several

times causing AMIRYAN to ask him why he was using names and if

everything around him was normal.             In another recording, AMIRYAN

                              . 79   AMIRYAN then accuses HAZRYAN of




then accuses HAZRYAN of having other people, including ARTUNI,



       As previously stated, based on my training and
      77
experience, involvement in this investigation, and conversations
with other law enforcement officers who specialize in Armenian
Organized Crime, I believe these recordings were made so that
they could be sent to organized crime leaders in Russia and
Armenia.
       Of note, as previously stated, in video recordings found
      78
                       , A.K. also named MMA-2 as one of the
persons responsible for targeting AMIRYAN and STEPANIAN along
with ARTUNI.
       Based on my training, experience, and conversations with
      79
other law enforcement officers who special in Armenian Organized
Crime, I am aware that
refers to someone who spreads rumors and misinformation and
delivers messages from one person to another.

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listening to the call, which HAZRYAN denies. 80        AMIRYAN then

makes several derogatory marks about and towards ARTUNI.

      106. Based on my training, experience, and involvement in

this investigation, I believe that these recorded conversations

are significant.     First, they confirm that HAZRYAN is affiliated

with ARTUNI considering that HAZRYAN sent them to ARTUNI.

Second, they confirm that there was (and as detailed below,

still is) an ongoing dispute between AMIRYAN and ARTUNI related

to their roles and positions within the Armenian Organized Crime

world.

      G.    August 18, 2023
            Former Residence81

            1.   Probable Cause Summary

      107. As set forth below, there is probable cause to believe

that ARTUNI, HAZRYAN, STEPANYAN, and others known and unknown,

attempted to murder V. HARUTYUNYAN and attempted to murder him

by shooting at a dwelling he resided in.        The evidence

supporting this determination includes, but is not limited to:

(1) the recurring pattern of violence targeting the Amiryan

Organized Crime Group; (2) cell tower data placing HAZRYAN and




       Based on my knowledge of this investigation and review of
      80
LAPD reports, I am aware that at the end of the recording, after
AMIRYAN hangs up, HAZRYAN begins talking to someone else who is
either with him or on another phone that he has with him.
Therefore, someone else did appear to be listening to the call,
as AMIRYAN suspected.
       As previously stated, based on my involvement in this
      81
investigation, I am aware that while this was his residence at
the time of the shooting, V. HARUTYUNYAN has since relocated to
the State of Florida.

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the shooting; (3) gaps in usage in STEPANYAN, A. A. KAZARYAN,

and SEDANO                                                      and (4) the



                                    .

             2.    Description of the Shooting

       108. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.    On or about August 18, 2023, at approximately

4:50 p.m., LAPD Officers Shin and Garcia responded to a radio

call regarding a shooting at a residence on Bryant Street in

North Hills, California.

             b.    When the two officers arrived, Officer Garcia

spoke with V. HARUTYUNYAN who stated that he was asleep in his

bedroom located on the second floor when he heard a loud bang

coming from the downstairs.       V. HARUTYUNYAN did not think much

of the noise due to him being half asleep.            V. HARUTYUNYAN woke

up to a cellphone call from his neighbor, who told him that he

just saw a guy running around with a gun near his front yard.

During the interview, V. HARUTYUNYAN also stated that he has no

enemies, and he has no idea why he was targeted.            V. HARUTYUNYAN

was not injured.

             c.    That same day, officers consensually obtained

video surveillance footage from V. HARUTYUNYAN

captured the shooting.      The surveillance footage from V.

HARU              home depicts what appears to be a male wearing

dark clothing and a helmet driving to V. HARU                   s home on a


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dark-colored motorcycle.       The motorcyclist parks near the

residence and a gray pickup truck parks next to the motorcycle.

The motorcyclist retrieves what appears to be a step ladder and

rifle from the backseat of the gray pickup truck.           He then

stands on the step ladder and fires approximately two rounds

striking the downstairs window of V. HARUTYUNYAN

The motorcyclist then gets on the motorcycle and speeds away.

The gray pickup truck also drives away.         Of note, the

surveillance camera only captured the motorcyclist fire two

rounds because it is motion detection activated.           However,

Officer Shin recovered approximately nine 7.62x39mm caliber

                                               s driveway.

            3.
                 Shooting

                 a.       Cell tower data places HAZRYAN and STEPANYAN
                          at or
                          time of the shooting

      109. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   Cell tower data supports that HAZRYAN was at or



after the shooting (which occurred at approximately 4:20 p.m.).

Specifically, at approximately

connected to a cellular tower located at 8720 Woodley Avenue,

North Hills, California, which is approximately 0.1 miles away

                                            approximately 4:21 p.m.,




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16130 Nordhoff Street, North Hills, California, which is



approximately 4:23 p.m., approximately eight minutes after the



located at 9058 ½ North Hayvenhurst Avenue, North Hills,

California, which is approximately one mile from V.

                                   approximately 5:01 p.m.,



connected to a cellular tower located at 14545 Victory

Boulevard, Van Nuys.       The distance between the cellular tower

                                                         one mile.

             b.   Cell tower data also supports that STEPANYAN was

                                            .   Specifically, at

approximately 3:22:26                           cellphone used cellular

data and connected to a cell tower located approximately 0.77

miles

                                                         miles of V.

                                At which point there was a gap in

usage further described below.

                  b.      STEPANYAN, A. A. KAZARYAN, SEDANO, and
                                   phones all have gaps in usage that
                          correspond with the date and time of the
                          shooting

        110. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   STEPANYAN, A. A. KAZARYAN, SEDANO, and ARTUNI all

had gaps in usage on their cellphones, which included the timing



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of the shooting.       Specifically, V. HARUTYUNYAN was shot at while

inside his residence at approximately 4:15 p.m.

cellphone had a gap in usage between approximately 3:22:41 p.m.

and 4:32 p.m.                 cellphone had a gap in usage from or

about August 17, 2023, at approximately 2:27 p.m. to on or about

August 18, 2023, at approximately 5:12 p.m.

cellphone had a gap in usage between approximately 4:09 p.m. and

5:17 p.m.    ARTUNI had a gap in usage between approximately 2:42

p.m. and 5:52 p.m.

                  c.      ARTUNI has
                          residence on his cellphone

      111. Based on my conversations with LAPD Detective Stupar,

my review of LAPD reports, and my own involvement in the

investigation, I am aware that                                    ,

investigators located aerial drone footage dated July 30, 2023



      H.    August 25, 2023: V. HARUTYUNYAN Is Shot While in the
            Backyard of His Residence

            1.    Probable Cause Summary

      112. As set forth below, there is probable cause to believe

that ARTUNI, AGOPIAN, HAZRYAN, STEPANYAN, and others known and

unknown, attempted to murder V. HARUTYUNYAN, AMIRYAN, GZRARYAN,

and others by shooting at a backyard that they were all

congregated in.     The evidence supporting this determination

includes, but is not limited to: (1) the recurring pattern of

violence targeting the Amiryan Organized Crime Group; (2) cell

tower data placing ARTUNI, HAZRYAN, and STEPANYAN at or near V.

                               t the time of the attempted murders;


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(3) gaps in usage in ARTUNI and                           s at the time

of the shooting; (4) video depicting ARTUNI, AGOPIAN, HAZRYAN

and STEPANIAN obtaining an item from the storage facility where

the Artuni Enterprise held its firearms immediately before the

shooting; and (5) as previously mentioned, the presence of




            2.   Description of the Attempted Murders

      113. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   On or about August 25, 2023, at approximately

10:05 p.m., LAPD Officers Ruiz and Perez responded to a radio

call regarding gunshots fired near Valjean Avenue and Parthenia

Street in North Hills, California.         For the second time in a

week, a shooting had occurred at V. HARU                  former North

Hills residence on Bryant Street.         When the two officers

arrived, they spoke with GZRARYAN, AMIRYAN, and others who

stated that they were all in the backyard and dropped to the

ground when the shooting occurred.         According to them, they did

not see any suspects or vehicles.         V. HARUTYUNYAN, who had been

shot six times, was transported to the hospital, and officers

interviewed him there.      This interview was not recorded.       While

at the hospital, V. HARUTYUNYAN stated that he had no enemies,

and he had no idea why he was targeted.

            b.   On or about the same date, officers consensually

obtained video surveillance footage from V. HARUTYUNYAN


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that captured the shooting.        The surveillance footage from V.

HARU              s home depicts what appears to be a gray-colored

pickup truck with unknown license plates (resembling the same

pickup truck used during the August 18, 2023 shooting) stopped

in the rear alley of the residence.            Two individuals are seated

in the bed of the pickup truck holding what appears to be

assault rifles.       One individual stands and shoots multiple

rounds into the backyard, where AMIRYAN, V. HARUTYUNYAN,

GZRARYAN, and others are gathered.            What appears to be a soft,

                                                At least two individuals

who were in the backyard start shooting back at the pickup

truck.   The pickup truck then drives away while the two

individuals in the back lay down in the bed of the truck.

             c.      Officer Perez recovered approximately thirty-four

5.56mm caliber spent shell casings, one 5.7mm spent shell

casing, and one unknown caliber round in the rear alley of the

residence.    Officer Perez also recovered one Federal.40 caliber

spent shell casing and one Blazer .40 caliber spent shell casing

in the backyard.

             3.
                     Attempted Murder

                     a.   Cell tower data places ARTUNI, HAZRYAN, and
                          STEPANYAN at or
                          residence at the time of the shooting

       114. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:




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            a.     Cell tower data supports that HAZRYAN was at or



shooting and then fled to the area of his and

residences right after.      Specifically, at approximately 10:03

p.m., around the time

connected to a cellular tower located at 8720 Woodley Avenue,

North Hills, California.      The distance between the cellular

                                former residence is approximately

0.22 miles.      At approximately 10:05 p.m., around two minutes

after the shooting and when law enforcement was called,



9058 ½ N. Hayvenhurst Avenue, North Hills, California.           The

                                                                  former

residence is approximately .58 miles.        At approximately 10:08

p.m., around

cellphone connected to a cellular tower located at 10515 Balboa

Boulevard, Granada Hills, California.        The distance between the

                                          former residence is

approximately 3.3 miles.      At approximately 10:17 p.m., around 14



cellular tower located at 11727 Tampa Avenue, Porter Ranch,

California.      The distance between the cellular tower and V.

                          residence is approximately 8.4 miles.        The

                                former residence in Porter Ranch,

California and the cellular tower is approximately 0.95 miles.




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(SUBJECT PREMISES 6        19747 Winged Foot Way, Northridge,

California), is approximately 0.22 miles.

            b.      Cell tower data also supports that ARTUNI was at

                                                 approximately 25

minutes before the attempted murders and fled sometime after.

Specifically, at approximately                                   lphone

connected to a cellular tower located at 16208 Parthenia Street,

North Hills, California.      The distance between the cellular

                                former residence is approximately

0.14 miles.      As detailed below, there was a gap in usage in



the cellphone was possibly turned off.        Then, at approximately

                          cellphone connected to a cellular tower

located at 11155 Tampa Avenue, Northridge, California.             The



approximately 1.2 miles.      The distance between the cellular



            c.      Cell tower data also supports that STEPANYAN was



attempted murders and fled sometime after.            From approximately

9:45 p.m. to 9:46 p.m.,                   cellphone connected to a

cell tower located approximately 0.77 miles from the attempted

murder location.      From approximately 9:45 p.m. to 9:49 p.m.,

                 cellphone connected to a cell tower located

approximately 0.63 miles from the shooting location.             From

approximately 10:02 p.m. to 10:12 p.m.,                        cellphone




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used cellular data and connected to a cell tower located

approximately 1.23 miles from the shooting location.

                  b.      ARTUNI and                    s have a gap in
                          usage that corresponds with the date and
                          time of the attempted murders

      115. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.               cellphone had a gap in usage from on or

about August 25, 2023, at approximately 7:16 p.m. to on or about

August 26, 2023, at approximately 4:08 p.m., and was likely

turned off during this time.82       In addition Between 9:41 p.m. and

                           cellphone had a gap in usage, and was

likely turned off.

                  c.      Surveillance footage from a storage facility
                          where STEPANYAN maintained the Artuni

                          AGOPIAN, HAZRYAN, and STEPANYAN

      116. Based on my conversations with Detectives Stupar and

Sam, my review of surveillance footage from a storage facility

utilized by the Artuni Enterprise, 83 and my own knowledge of the

investigation, I am aware of the following:

             a.   On or about August 25, 2023, at approximately

6:47 p.m., two vehicles arrived at Enterprise Self Storage: a



      82   I am aware that the cellphone was likely turned off

inconsistent for him to have such a large gap in usage. Because
of that, investigators opine that his phone was turned off
during the attempt murders. .
       Based on my involvement in this investigation, I am aware
      83
that footage from the storage facility was obtained pursuant to
an administrative request for information.

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dark-colored Infinity SUV bearing California license plate

number 9GAL467, registered to A. A.                    father, driven by

HAZRYAN and with ARTUNI and AGOPIAN in the backseat

and a white Mercedes Benz sedan bearing California license plate

number 9GOF815 and driven by and leased to STEPANYAN (the

                  .   STEPANYAN exited his vehicle and entered

                  The individuals inside the SUV spent a

considerable amount of time inside the vehicle.          After some

time, ARTUNI exited the SUV and spoke on the phone and STEPANYAN

                                                                  ARTUNI

eventually re-

            b.   At approximately 8:18 p.m., STEPANYAN and AGOPIAN

returned to the storage facility in the white Mercedes.           When

they returned, both STEPANYAN and AGOPIAN congregated around the

Mercedes Benz along with ARTUNI and HAZRYAN.          After some time,

STEPANYAN removed what appeared to be an empty soft black guitar

case from his vehicle and all four members of the Artuni

Enterprise entered the interior of the storage facility.           The

soft black case appeared flexible and was bending, indicating

that it was empty at that time.

            c.   At approximately 8:47 p.m., the four men exited

the storage facility through the elevator with AGOPIAN carrying

what appeared to be the same black case from before.           However,

at this time, the case looked weighted and rigid, indicating

that the something was now inside.        (Of note, based on

surveillance footage of the attempted murder, which shows what

appears to be a soft black case at the feet of the shooters, I


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believe that the rifles that were used in the shooting a few

hours later were placed inside.)

             d.   They walked back to their vehicles and AGOPIAN

placed the soft black case inside of

                                                      .   ARTUNI and

                                           .   Both vehicles drove

away.

             e.   On other dates, including on or about September

2, September 6, September 13, and October 25, 2023, STEPANYAN

and SEDANO are captured on surveillance footage entering and

exiting with a plastic chest, luggage, and other carriers.             On

or about September 13, 2023, the two were joined by AREKELYAN.

AREKELYAN was also seen entering and exiting the facility with

STEPANYAN handling assorted carriers on or about November 2,

2023.    Of note, based on surveillance footage, anyone entering

the storage facility was (apart from on or about December 12,

2023, when SEDANO attempted to enter by himself using

                           ) always escorted by STEPANYAN.

        I.   November 9, 2023: H.H. Is Shot While Sitting in His
             Car at a Starbucks

             1.   Probable Cause Summary

        As set forth below, there is probable cause to believe that

ARTUNI, HAZRYAN, STEPANYAN, and others known and unknown,

attempted to murder H.H. while he sat in his car at a Starbucks.

The evidence supporting this determination includes, but is not

limited to: (1) cell tower data placing HAZRYAN and STEPANYAN at

or near the attempted murder location; (2) gaps in usage in



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                                                                        ; (3)

storage facility surveillance footage depicting STEPANYAN

carrying out something in a black canvas-type bag before the

shooting; (4) footage near the shooting capturing a car similar



shooting at a Starbucks.

            2.   Description of the Attempted Murder

      117. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   On or about November 9, 2023, at approximately

4:40 p.m. LAPD Officers Green and Moreno responded to a

commercial area on Foothill Boulevard in Los Angeles, California
                                                            84


            b.   When the two officers arrived, H.H. was sitting



gray Toyota Prius.        At the time, other officers, who were

already at the scene, were rendering medical aid.           H.H. was

unable to provide any information about the shooting, as he

appeared to be drifting in and out of consciousness.             H.H.

suffered four gunshot wounds, resulting in laceration of the

lung, respiratory failure, multiple rib fractures, traumatic

hemothorax acute posthemorrhagic anemia, and shock.              Officer

Moreno recovered approximately six 7.62mm rifle casings around




       Based on my training and experience, I know that a victim
      84
                                      or injured and requires
medical attention.

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several cars down) had gunshot holes in the windshield, hood,



hospital to be treated.

             c.   LAPD Officers Proni and Massie interviewed a

witness in the area surrounding the Starbucks.           According to the

witness, she saw a 40-year-old, white female wearing a medical

mask driving a tan SUV (possibly a Yukon) in the area.            She then

saw the woman fire four to five rounds at H.H. before fleeing in

her car.

             3.
                  Attempted Murder

                  a.      Cell tower data places HAZRYAN and STEPANYAN
                          at or near the attempted murder location

      118. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   Cell tower data indicates that HAZRYAN was at or

near Starbucks prior to the shooting and fled towards A. A.

                                     .     Specifically, at approximately

3:54 p.m., around

cellphone connected to a cellular tower located at 8138 W.

Foothill Boulevard, Sunland, California.          The distance between

the cellular tower and 8241 Foothill Boulevard (the location of

the Starbucks where the shooting occurred) is approximately 0.2

miles.     At approximately 4:44 p.m., around six minutes after the



located at 10189 Tujunga Canyon Blvd., Tujunga, California.             The

distance between the cellular tower and the location of the


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attempted murder is approximately 1.6 miles.           The distance



approximately 0.2 miles.       At approximately 4:46 p.m., around

eight minutes after the attempted murder

connected to a cellular tower located at 6708 Foothill

Boulevard, Tujunga, California.        The distance between the

cellular tower and the location of the attempted murder is

approximately 2.3 miles.       The distance between the cellular

                                            is approximately 0.3 miles.

At approximately 5:16 p.m., around 38 minutes after the

attempted murder

tower located at 435 West Arden Ave., Glendale, California.             The

distance between the cellular tower and the location of the

shooting is approximately 15.7 miles.

            b.   Cell tower data indicates that STEPANYAN was at

or near the Starbucks at the time of the attempted murder.

Specifically, at approximately                                  cellphone

used data and connected to a cell tower located approximately

0.72 miles from the attempted murder location.           At approximately

                             cellphone connected to a cell tower

located approximately 0.72 miles from the attempted murder



connected to a cell tower located approximately 0.72 miles from

the shooting location, this time, in the opposite direction of

the shooting location.

                 b.
                          usage that corresponds with the date and



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                          time of the attempted murder

      119. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   ARTUNI and SEDANO had gaps in usage on their

cellphones, which included the timing of the attempted murder.

Specifically, between approximately 4:00 p.m. and 5:08 p.m.,



his phone was likely turned off.                   cellphone had a gap

in usage from approximately 4:11 p.m. to 4:52 p.m.

                 c.                 cellphone includes an Internet
                          search for a shooting at a Starbucks

      120. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

            a.   When searching                                , Detective

Stupar located the following in the web search history:



                                   -TUJUNGA AREA EMERGENCY POLICE-FIRE

                                                         and

                                    .    These web searches were

conducted on November 10, 2023, a day after H.H. was shot at the

Starbucks parking lot.       Detective Stupar discovered another web

search item

This last web search was conducted on November 11, 2023, two

days after H.H. was shot.       Based on my involvement in this

investigation, I believe that HAZRYAN was searching to see if



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H.H. was successfully shot, given that H.H. was shot at a

Starbucks.

                  d.      STEPANYAN is captured on surveillance
                          footage retrieving something from the
                          storage facility

      121. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, and my own knowledge of the

investigation, I am aware of the following:

             a.   At approximately 3:49 p.m., STEPANYAN was

captured on surveillance footage arriving at the storage

facility in a white Camry.85       STEPANYAN entered the facility with

a cardboard box and left at approximately 4:11 p.m. with a soft

black carrier that appeared to be a canvas-type bag.

                  e.      A vehicle similar to the one STEPANYAN was
                          driving is captured on surveillance footage
                          at the Starbucks

      122. Based on my conversations with Detectives Stupar and

Sam, my review of LAPD reports, my review of surveillance

footage obtained from a business near the Starbucks, and my own

knowledge of the investigation, I am aware of the following:

             a.   At approximately 4:29 p.m., H.H. drove into the

Starbucks parking lot.       At approximately 4:34 p.m., a white

Camry (similar to the one STEPANYAN drove less than a half hour

earlier at the storage facility) entered the parking lot after

H.H. followed by a tan/brown Nissan Armada.            The white Camry



into an empty parking space close by.         At approximately 4:37


      85   As mentioned above, this appears to be the same vehicle


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p.m., the white Camry abruptly sped through the parking lot, and

the Nissan Armada, reversed out of its parking spot, stopping

right in front of              vehicle.    After several seconds, the

Nissan Armada sped through the parking lot following the Camry.

H.H. stumbled out of his vehicle as though injured and

approached several bystanders.        H        vehicle appeared to have

several bullet holes in it.

      123. Based on witness interviews, forensic evidence, and my

training and experience, I am aware that AMIRYAN is considered

one of the most prominent Armenian Organized Crime figures in

Los Angeles County.       As such, ARTUNI, who has been seeking to

advance his position in the Armenian criminal community, with

the backing of the Mexican Mafia, has targeted AMIRYAN and those

close to him in order to attempt to assume AMIRYAN s position

within the Armenian Organized Crime world.

                 f.       Casings from the Starbucks are linked to a
                          firearm seized from the storage facility
                          used by the Artuni Enterprise as an armory

      124. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in this

investigation I am aware that when executing the warrant at Unit

B16 of Enterprise Self Storage, investigators located a Century

Arms, model C39v2, 7.62x39 caliber rifle bearing serial number

C39P2A01084.    Casings from the Starbucks matched that firearm.

      J.    December 12, 2023: Law Enforcement Seizes the Artuni

            a Storage Facility

      125. Based on my conversations with LAPD Detective Stupar




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Agent Ghaltakhchyan, my review of LAPD and ATF reports, and my

own knowledge of the investigation, I am aware of the following:

             a.   During the search of Unit B16 of Enterprise Self

Storage on or about December 12, 2023, law enforcement located

the following firearms, among others:

   Make        Model        Caliber             Type            Serial No.
 Stag        STAG-15      5.56mm       Rifle                   110979
 Arms
 Century     C39v2        7.62x39      Rifle                   C39P2A01084
 Arms
 Izhmash     Saiga        .223         Rifle                   H04161419
                          Remington
 Ruger       American     6.5          Rifle                   690876968
                          Creedmoor
 Glock       23           .40          Pistol                  LLM670
 Charter     Bulldog      .44 SPL      Revolver                22C03482
 Arms
 Glock       20           10mm Auto    Pistol                  BNAV439
 Taurus      G3           9xl9         Pistol                  AAL034433
 Glock       29 Gen4      10mm Auto    Pistol                  BRRT964
 Glock       43X          9x19         Pistol                  BLUA713
 CZ          P-10S        9x19         Pistol                  UC11926
 Taurus      605          .357         Revolver                TI62464
                          Magnum
 Ruger       LCP          .380 Auto    Pistol                  371851421
 Glock       21           .45 Auto     Pistol                  KDK598
 Glock       17L          9x19         Pistol                  NA436 US
 S/S Inc.    Street       12 gauge     Shotgun/Destructive     SH129286
             Sweeper                   Device
 None        None         Unknown      AR-Style Short-         None
                                       Barreled Rifle

             b.   In addition, law enforcement located several

rounds of assorted ammunition, including but not limited to:

 No. of Rounds            Make                    Caliber
 10                       FN Herstal/Fiocchi      5.7x28mm
 21                       FN Herstal/Fiocchi      5.7x28mm


       This firearm was loaded with three rounds of .25 Auto
        86
caliber ammunition, which is manufactured by Industrias Tecnos,
S.A. de C.V. in Mexico.

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 150                      FN Herstal/Fiocchi      5.7x28mm
 77                       Barnaul Cartridge       9mm Luger
                          Works
 59                       Sig Sauer               .380 Auto
 19                       Hornady                 7.62x39mm
 39                       Hornady                 .357 Magnum
 11                       Hornady                 9mm Luger
 7                        Hornady                 .45 Auto
 25                       Hornady                 .38 Special
 1                        Federal Cartridge       .45 Auto +P
                          Company-CCI/Speer
 50                       Fiocchi                 .380 Auto
 6                        205th Arsenal           .223 Remington
 8                        Ammo Incorporated/      9mm Luger
                          Jagemann
 8                        Sellier & Bellot        9x19mm
 26                       Remington               .22 short

            c.   Law enforcement also located the following, among

other items: (1) a Glock switch, 87 (2) two Glock switch

assemblies, (3) assorted firearm parts bearing no serial

numbers, (4) four suppressors, (5) a rifle scope, (6) five body

armor plates, and (7) three body armor carriers.

            d.                      88   was found on two of the firearms

seized from the storage unit: (1) a Glock, model 29 Gen4, 10mm

Auto caliber, pistol bearing serial number BRRT964; and (2) a



       A Glock switch is a device that attached to a handgun,
       87
which allows the handgun to fire automatically. Glock switches
are themselves considered machineguns and are, therefore,
prohibited pursuant to 18 U.S.C. § 922(o).
       In relation to this investigation, I obtained a warrant
       88
signed by the Honorable Daniel J. Albregts, a U.S. Magistrate
Judge in the District of Nevada (Case No. 2:24-mj-0410) to seize
samples of DNA from ARAKELYAN, who was detained at High Desert
State Prison in Nevada. On or about on May 7, 2024, I served
the search warrant on ARAKELYAN and seized a sample of his DNA,
following which LAPD Forensic Science Division compared his DNA
to DNA samples collected from the firearms seized on or about
December 12, 2023, from the storage unit and determined there
was a match.

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Taurus, model G3, 9x19 caliber, pistol bearing serial number

AAL034433.

             e.   As it relates to ARAKELYAN, after the search

warrant execution and after I obtained his DNA pursuant to a

federal warrant on May 7, 2024, he made several seemingly

incriminating statements to his then-romantic partner on jail

calls.89    Specifically, on a May 8, 2024 call, 90 ARAKELYAN tells



conversation and tells her that the cops came to speak with him




going on, seemingly referring to the criminal investigation into

him.                             Listen to my words I am never




be getting released.

       126. Based on my training, experience, and involvement in

this investigation, I believe that this storage unit was

maintained by STEPANYAN and SEDANO (the two individuals who had

the unique access code and who, as felons, were prohibited from

possessing firearms and ammunition)




       I obtained the jail calls from Nevada Department of
       89
Corrections, Office of the Inspector General, Criminal
Investigator Karla Moreira.
        This call was in Armenian. Accordingly, I requested the
       90
assistance of Detective Emikyan and Sergeant Mirakyan with the
review and analysis of this call and others obtained from the
prison.

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specifically given that assorted members and associates of the

Artuni Enterprise, including ARTUNI himself, AGOPIAN, HAZRYAN,

STEPANYAN, and SEDANO, frequented the facility, and further, one

or more of them were present at the facility prior to the

shootings on August 25, 2023, and November 9, 2023.           I also

believe, based on firearms matching casings from the July 7,

2023 attempted murders targeting AMIRYAN and his significant

other, and the November 9, 2023 attempted murder targeting H.H.

that the Artuni Enterprise was responsible for these crimes.

      K.    December 12, 2023: Law Enforcement Seized Firearms
            from the Residences of ARTUNI, HAZRYAN, A. A.
            KAZARYAN, and MANUKYAN

      127. Based on my conversations with Detective Stupar,

Sergeant Mirakyan, and Special Agent Ghaltakhchyan, my review of

LAPD, Burbank PD, and ATF reports, and my own knowledge of the

investigation, I am aware of the following:

            1.   Firearms, Ammunition, Body Armor, and a Large Sum
                 of Cash

            a.   Investigators seized the following items of



including one ghost gun; a large quantity of ammunition;

magazines; body armor; and $16,917

report, at the time, ARTUNI had not registered to own any

firearms.

            2.   Loaded

            b.   Investigators seized the following items of




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and body armor.     When later interviewed following a Miranda

advisement, HAZRYAN admitted to placing the handgun in the toy

box.   A records check of the recovered handgun revealed that it

was stolen on January 3, 2023, out of Orlando, Florida.           Per an

                            , at the time, HAZRYAN had not

registered to own any firearms.

            3.    Firearms, Ammunition, and Firearm Accessory Found


            c.    Investigators seized the following items of



magazines, a large quantity of ammunition, and one rifle upper

                                                 , at the time, A. A.

KAZARYAN has not registered to own any firearms.

            4.    Firearms and Ammunition Found at Felon and Addict


            d.    When investigators executed a warrant, signed by

the Honorable Jacqueline L. Chooljian,

on or about December 12, 2023 (Case No. 2:23-MJ-6288), they were

informed by his father that while he did reside at the

residence, the week prior, he had left for a drug rehabilitation

                                             mother further advised

that MANUKYAN and his girlfriend had recently welcomed a child;

however, the child was taken from them by the Department of

Children and Family Services (DCFS) due to both being drug

addicts.    Prior to the child being taken,

parents explained that they had cleaned the garage, where

MANUKYAN kept his belongings, to make a nursery for the baby,




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and                           placed everything they cleaned out in

the hallway closet.

            e.    Burbank PD Detective Rodriguez searched the



the following firearms: (1) a Ruger, model 10/22, .22 caliber

rifle, bearing serial number 129-54711; (2) a United States, M1

Carbine, .30 caliber, semi-automatic rifle, bearing serial

number AA33192; and (3) a Sears Roebuck, model M-300, .20

caliber shotgun, bearing Q118168.         After seeing that the



belonged to him,91 in contradiction to his significant other



hallway closet.

            f.                                        , at the time,

MANUKYAN had not registered to own any firearms.          Of note, given

his felon and addict status, he would not have been able to

purchase the firearms and/or register them anyways.

            g.    On or about October 17, 2024, a male purporting



the status of the seized firearms.         Detective Pira has had prior

contact with MANUKYAN in the past and immediately recognized the

voice to be M                              ,

(which ends in -3520) is registered to MANUKYAN.          Detective

Ekimyan and Sergeant Mirakyan were present and recognized



       Based on my training and experience, I know that it is
      91
common for family members to take responsibility for illegal
firearms in residences to avoid their loved ones getting in
trouble.

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                                              him, he further concluded

that the caller was MANUKYAN and not his father.)          Detective

Pira asked for the caller

birth, which he was unable to do.         Detective Pira terminated the

call and stated that he would follow up later.          Based on my

training, experience, and involvement in this investigation, I

believe that MANUKYAN pretended to be his father so that he

could obtain the seized firearms.         The fact that MANUKYAN called

pretending to be his father further supports my conclusion that

the firearms found in the hallway closet belonged to MANUKYAN.

      128. In addition, based on my training, experience, and

discussions with other law enforcement officers, I am aware that

individuals engaged in criminal activity will not register

firearms so that the crimes cannot be traced back to them.             In

this case,                                            illegal possession

of unregistered firearms, and also,                            , his

illegal possession of firearms and ammunition despite his addict

and felon status, is further indicia of their nexus to the

violent criminal activity described in this affidavit and their

attempts to avoid law enforcement detection.

      L.     April 2024: ARTUNI Flees from the United States and to
             Armenia, and then Dubai

      129. Based on my conversations with Detective Stupar, my

review of LAPD reports, information received from an HSI Attaché




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located in Dubai, and my own involvement in this investigation,

I am aware of the following:

            a.   Sometime in April 2024, ARTUNI is believed to

have fled the United States through to Mexico, where he flew to

Yerevan, Armenia.     Based on the timing of his flight, I believe

that ARTUNI was (1) fleeing the United States to avoid arrest

and prosecution, and (2) to meet with the thieves in law 92 that

he referenced during his recorded conversation with A.K.

            b.   Then, on or about an unknown date in April 2024,

ARTUNI flew from Mexico to Dubai.

photograph was taken at the border.        I have reviewed the

photograph, which was obtained from a closed source law

enforcement system and international partners, and in it, ARTUNI

appears to have sustained several injuries and bruises.           Based

on my training, experience, and involvement in this

investigation and my conversations with other law enforcement

officers, I believe that while abroad, ARTUNI may have been



member of Armenian Organized Crime or the Russian Mafia.

            c.   ARTUNI returned to Los Angeles on or about

November 16, 2024, entering through the Otay Mesa Port of Entry

at the U.S.-Mexico border near San Diego, California.           Based on

my training, experience, and involvement in this investigation,

and my conversations with other law enforcement officers, I

believe that ARTUNI resided in Dubai        for approximately a year


       As explained earlier, thieves in law are individuals who
      92
have been crowned by the Russian Mafia to lead Armenian
Organized Crime groups.

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to see if charges would be brought against him.          Then, when no

charges were brought, returned to Los Angeles so that he could

recommence his criminal activity.

      M.     March 14, 2025 and March 28, 2025:
             Significant other (R.M.) and GZRARYAN are Both Shot in
             Seemingly Related Acts of Violence

             1.   March 14, 2025: R.M. Is Shot While Parking Her
                  Car at Her Apartment Building in Studio City

      130. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in this

investigation, I am aware of the following:

             a.   On or about March 14, 2025, at approximately

11:16 p.m., LAPD Officers Armas-Rincon and Gutierrez were

dispatched for a                                          a residence on

Kentucky Drive in Los Angeles.       Upon arriving to the scene, the

officers met with R.M. who stated that she drove her vehicle (a

2024 Cadillac Escalade bearing California license plate number

9NZL315) into the parking structure of her apartment complex and

was shot by two unidentified males.        Shortly after making this

statement, R.M. was transferred to a local hospital for further

medical attention as she suffered a single gunshot wound to her

left knee.

             b.   LAPD Officers Kim and Huitz arrived at the

hospital and conducted a follow-up interview with R.M.           R.M.

told the officers that prior to the shooting, she and her two

minor children, who were in the car with her, arrived at their

apartment by driving through the rear alleyway.          R.M. opened the

garage and entered the parking structure.         As she began to park



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her car, two unidentified males, both wearing all black clothing

and a black mask, and each carrying rifle-style guns in each

hand, entered through the opened garage gate.           Shortly after,

she heard gunshots coming towards her vehicle and put her head

down to avoid being hit.

                 i.       On or about March 17, 2025, LAPD Detectives

Stupar and Urena, conducted a follow-up investigation into the

shooting and consensually obtained security camera footage from

a neighboring business.       The footage showed a silver-colored

Audi A4                                                     parked at the

entrance of the alleyway.       Approximately 15 minutes into the

video, the vehicle that R.M. was driving turned into the alley.

Two males who were dressed in all black and carrying rifles,

exited the Audi and ran afte

complex.    Shortly thereafter, the Audi drove through the same

alleyway following after the two males and also moving towards

the apartment complex.

                 ii.      On or about March 18, 2025, Detectives

Stupar and Urena, utilizing department resources, conducted a

radial search for silver-

shooting.    After reviewing multiple images, there was one image

dated March 17, 2025, of a silver Audi parked at or near Fair

Avenue in Studio City, California, bearing California temporary

license plate number DA25T27, which was actually registered to a




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2024 Lexus.93     Upon further review of the vehicle, the detectives

saw that the vehicle had no front license plate, and it also had

the same front left bumper body damage and black side view

mirrors as the vehicle used in the shooting.

             2.   March 28, 2025: GZRARYAN Is Shot While Sitting in
                  a Car in Front of His Home

      131. Based on my conversations with Detective Stupar and my

review of LAPD reports, I am aware of the following:

             a.   On or about March 28, 2025, at approximately

10:50 p.m., LAPD Officers Bloomgren and Ponce were dispatched to

an assault with a deadly weapon call on Helen Avenue in Sun

Valley, California.       Upon arriving to the scene, officers saw

                                                      a vehicle (a 2024

Black BMW 850I bearing license plate 9LHX877 and VIN

WBAGV802RR25432) suffering from multiple gunshot wounds to his

torso.     Officers also saw approximately 15 large caliber casings




vehicle.     GZRARYAN was transported to a local hospital for

further medical treatment.

             b.   LAPD Officer Ramirez, who also responded to the

shooting, spoke to the reporting party A.C., who told officers

                      significant other.     A.C. stated that at

approximately 10:45 p.m., she heard several gun shots coming

from the street and shortly after, received a call from GZRARYAN


       Based on my training and experience, given that this
      93
temporary plate was associated with a different vehicle, I
believe that this was a fraudulent temporary plate used by the
shooters to avoid law enforcement detection.

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stating that he had been shot outside of their home.           A.C. then

exited their home and went to the front where she saw GZRARYAN

sitting in his vehicle and suffering from multiple gunshot

wounds.   A.C. informed Officer Ramirez that she did not see any

suspects or suspect vehicles and had no further information on

who would want to hurt GZRARYAN.

      132. Based on my training and experience, my involvement in

this investigation, and my conversation with other investigators

involved in this case, I believe that the modus operandi used by

the shooters in this incident closely matches that of the 2023

shooting incidents orchestrated by the Artuni Enterprise.            The

Artuni Enterprise historically has used one or two shooters;

high-capacity firearms; vehicles recently purchased, stolen,

and/or leased; and a person to act as the getaway driver.            The

Artuni Enterprise is known to be well coordinated, rehearsed and

thought-out when carrying these types of criminal activities and

typically, attacks its targets at or near their homes. I know

from the course of this investigation that the Artuni Enterprise

has previously targeted members and associates of the Amiryan

Organized Crime Group, including AMIRYAN himself.          Accordingly,



significant other (R.M.) and GZRARYAN, were also conducted by

the Artuni Enterprise.




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        N.   April 11, 2025: AGOPIAN, a Felon, Brandishes a Firearm
             at a Plainclothes Officer

        133. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in this

investigation, I am aware of the following:

             a.     On or about April 11,2025, at approximately 7:43

a.m.,             Surveillance Support Section was conducting a

surveillance around                            SUBJECT PREMISES 7 -

10880 Amidon Place, Tujunga, California), in anticipation of a

later arrest and search warrant execution in this investigation.

At this time, AGOPIAN (a convicted felon) began following LAPD

Detective Brian Murphy in a black GMC Yukon Denali, bearing

Oregon License Plate 479QHU. 94     Detective Murphy was in plain

clothes and driving an unmarked police vehicle.          AGOPIAN pulled

up next to Detective Murphy, lowered his window several inches,

stuck his hand out of the opening, and pointed and waved a

firearm at Detective Murphy.       After the brandishing incident,

Detective Murphy sent out a call for further support, following

which, numerous LAPD officers and detectives responded to the

area.

             b.     Detective Stupar obtained a state search warrant

                                                  residence, vehicles,

and digital devices.      The warrant was signed by the Honorable


       Based on my conversations with LAPD Detective Stupar, I
        94
am aware that this vehicle was armored. Based on my training,
experience, and participation in this investigation, I believe

which he brandished a firearm at a person he was not familiar
with supports the conclusion that AGOPIAN himself (a member of
the Artuni Enterprise) is participating in the war against the
Amiryan organized Crime Group.

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Shelly Torrealba, Superior Court Judge of the State of

California, County of Los Angeles.        While investigators were

waiting on the search warrant review and approval, AGOPIAN was

transported to the LAPD Foothill station.         Prior to the

commencement of the search, Detective Urena was advised by a

patrol officer that AGOPIAN requested that they not damage the

safes and stated the keys for the safes were located in the main

bedroom left side nightstand, in the third drawer down.           Based

on my conversations with Detective Mkrtchyan, I am aware that

the left side of the nightstand contained items belonging to a

male.   Accordingly, I believe this nightstand was used by

AGOPIAN, and not his significant other (A.P.).

            c.   During a search of the residence, pursuant to the

search warrant, Detective Mkrtchyan searched the nightstand

third drawer, which was unlocked and located multiple sets of

keys for three safes.      One set of keys was for a clock safe

located on a small nightstand, in the main bedroom, left of the

bed                                                        , another set

of keys was for an empty gun safe located in the garage, and one

single key was for the standing safe located in the office-

closet.   Access to all three safes was granted via use of these

physical keys.

            d.   During a search of the premises conducted in part

by Detective Mkrtchyan, a loaded Kimber 1911, model Custom TLE

II, .45 caliber, semi-automatic pistol bearing serial number

K707215                                               And, a second

firearm, a loaded KelTec, model KSG, 12-gauge shotgun bearing


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serial number XXC224 was located inside the standing safe.             Both

                                             significant other (A.P.).

Given that these firearms were registered to A.P., I believe



purchased the firearms on AGOPIAN s behalf and registered them

under her name because he is otherwise prohibited from

possessing them due to his felon status.         Additionally, LAPD

Detective Espinoza located two 9mm live rounds in the garage,

inside of a rifle bag, which was unsecured.

            e.   On or about April 12, 2025, to on or about April

13, 2025, while AGOPIAN was detained in state custody in relation

to the above-described incident, he spoke with his significant

other (A.P.) on jail calls.        These calls were conducted in the

Armenian language.        My understanding of their substance is,

therefore, based upon summaries and translations provided by

Detective Mkrtchyan.        A brief summary of the relevant calls are

as follows:

                 i.       AGOPIAN and A.P. are talking about the items

seized by the police during the search warrant, and AGOPIAN

tells A.P. that the police even took the drone.           AGOPIAN tells

                                                                I believe

this is significant considering that members of the Artuni

Enterprise had drone footage on their phones depicting the homes

of members and associates of the Amiryan Organized Crime Group).

                                                       , and she states

she does not know and does not have his number.           AGOPIAN tells




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                  ii.



A.P. tells AGOPIAN that      Davo   told her that when his boss

(seemingly referring to AGOPIAN) gets out of jail and finds out

that   Davo    allowed A.P. to travel without having one of the

guys with her, that the boss will take his head off and that

A.P. does not have a choice and that        Hovo      needs to travel with

A.P.   (I believe this is significant in that it demonstrates

that AGOPIAN holds a position of authority within the Artuni

Enterprise.)

                  iii.

in reference to A. A. KAZARYAN) and for him to get three new

                                                            I believe this




AGOPIAN asks A.P. why, and A.P. states that she is upset with



stating that she is mad at ARTUNI, tells A.P. if she is upset

then she should go punch a wall.       AGOPIAN tells A.P. stop being

stupid and not to talk in that manner.        A.P. tells AGOPIAN she

will tell him about it when he gets out of jail.           Then, A.P.

                 (BEZIK) on another phone and places the call on

speaker.    (I believe this is significant because it reinforces



they are, and BEZIK states that they are in Tujunga.            (A. A.

KAZARYAN lives in Tujunga.)       AGOPIAN tells BEZIK to get a hold

of Artur (seemingly in reference to A. A. KAZARYAN) and have him


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get three iPhones and to connect them to specific numbers.

AGOPIAN also tells NAREK to talk with his Russian speaking

friend and to tell him to bring him a watch.          (AGOPIAN giving

orders to BEZIK and A. A. KAZARYAN further supports that he is

senior within the Artuni Enterprise.)

      134. Based on my training, experience, and involvement in

this investigation, and my conversations with other law

enforcement officers, I believe that AGOPIAN (a senior member of

the Artuni Enterprise) was on high-alert and in possession of

multiple firearms due to the ongoing war between the Amiryan

Organized Crime Group and the Artuni Enterprise, which most

recently, included                                           significant

other) and GZRARYAN (a member of the Amiryan Organized Crime

Group).    The fact that AGOPIAN was driving a custom armored

vehicle with fully armored glass and door panels, and was

willing to brandish a firearm at a plainclothes officer further

supports this conclusion, as does the fact that (1) A.P.

attributes this situation, seemingly referring to the violence

and quick law enforcement response, to ARTUNI, and (2) AGOPIAN

is discussing A.P. leaving Los Angeles and being transported by

a chauffeur/protector (HAZRYAN) on jail calls.

      O.    Other Racketeering Activities Conducted by Members and
            Associates of the Artuni Enterprise

            1.   Relating to Wire and Financial Institution Fraud

      135. Based on my conversations with Detective Stupar, my

review of LAPD reports, my conversations with HSI Special Agent




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Victoria Scott, my review of HSI reports, and my own involvement

in this investigation, I am aware of the following:

             a.   Since 2022, members of the Artuni Enterprise,

including ARTUNI, HAZRYAN, AGOPIAN, SEDANO, STEPANYAN, KAZARYAN,

and their family members, have used multiple fictitious

businesses, including FREEDOM AT ENTERPRISE, INC. and DK9, INC.,

among others, to engage in, and benefit from, bank and wire

fraud.    The fraud scheme operated as follows:

                  a.      The Scheme

                  i.      First, members and associates of the Artuni

Enterprise would use credit cards in their own names and in the

names of other individuals (who in several instances,

consensually provided their information) to make large

transactions at a fictitious business (FREEDOM AT ENTERPRISE,

INC.) through a payment processor such as PayPal or Intuit.

                  ii.     Next, once the payments cleared the business

bank account, funds would be withdrawn in cash or dispersed via

peer-2-

payments to other entities.        These monies would go directly to

members and associates of the Artuni Enterprise and their

relatives.

                  iii. Then, the users of the credit cards (or the

persons named on the credit cards) would dispute the

transactions with their credit card companies.           In some

instances, they would request a generic email from FREEDOM AT

ENTERPRISE, INC. regarding an inability to provide the services

promised as proof for the credit card companies.


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                 iv.      Finally, the payment processor would attempt

to withdraw the funds from the business bank account to refund

the money but would be unable to do so as the funds would

already be gone.

                 b.       Execution of the FREEDOM AT ENTERPRISE, INC.
                          Scheme

      136. Based on my review of LAPD reports regarding the



iPhone 8 -

                                            -          seized from

                                                               am aware

that HAZRYAN possessed photographs, videos, and emails

indicating he was a controlling party for FREEDOM AT ENTERPRISE,

INC., along with A.T.       These include, among other items, the



card; FREEDOM AT ENTERPRISE, INC. invoices; sales receipt emails

for FREEDOM AT ENTERPRISE, INC.; transactions from Intuit; the

California Secretary of State Statement of Information for

FREEDOM AT ENTERPRISE, INC.; a City of Los Angeles tax

registration certificate for FREEDOM AT ENTERPRISE, INC.;

QuickBooks statements for FREEDOM AT ENTERPRISE, INC.; a

contract between FREEDOM AT ENTERPRISE, INC. and another

individual (M.L.) for $7,890; and access to FREEDOM AT

ENTERPRISE, INC.                      : freedom20at@gmail.com.

      137. Based on my own review, I am aware that according to



FREEDOM AT ENTERPRISE, INC. filed on September 25, 2023, A.T. is



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the Chief Executive Officer, Secretary, and Chief Financial

Officer.    FREEDOM AT ENTERPRISE, INC. lists an address of 145 S.

Glenoaks Boulevard #1015, Burbank, California.          According to

Google maps, that location is a mailbox rental location.

       138. I have reviewed LAPD

iPhone 8 -4018 and -3026, and a text message conversation

between HAZRYAN and phone number ending in -

and associated with M.T.95, and I am aware of the following:

            a.   HAZRYAN obtained the personal identifying

information and credit cards of M.T., H.T., A.Z., and R.M. from



            b.   HAZRYAN possessed FREEDOM AT ENTERPRISE, INC.

invoices from November 2023 for M.T. in the amount of $5,463,

for H.T. in the amounts of $1,800 and $14,250, and for A.Z. in

the amount of $7,956.

            c.   On November 19, 2023, HAZRYAN assisted M.T. with

filing a dispute with Discover for the FREEDOM AT ENTERPRISE,

INC.

            d.   On December 7, 2023, HAZRYAN texted M.T.




       According to Accurint, a data platform developed by
       95
LexisNexis that provides access to a vast database of public and
non-public records and primarily used for locating people,
businesses, and assets, verifying identities, conducting
investigations, and detecting fraud, the phone number ending in
-6710 is associated with M.T. at an address in North Hollywood,
California. In the text messages, M.T. provides a photo of his

address.

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and need immediate assistance please.        I paid to have my

furniture packed and moved on 11/18/2023 -, you scheduled my

move date for 11/23/2023. No one showed up and called. I have

made several attempts to call you all and I am getting a ring no

[answer] and your voicemail box is full. I have also come to

speak with someone in person and no one is there. Please help, I

need an update asap? You have charged me for service and did not

provide the service and you are not answering my calls and your

doors are closed. What is going on? I need someone to please




yesterday from her email to freedom moving company. Can you

respond so I can supply Citibank with the requested documents



             e.   HAZRYAN received email confirmations for 89

transactions totaling over $1.2 million deposited in FREEDOM AT

                      Chase bank account ending in -6361.

             f.   HAZRYAN drafted an email in the Notes application

on his phone and then sent the email using the FREEDOM AT

ENTERPRISE, INC.

we want let you know that we cannot provide service as promised

on invoice sorry for inconvenience please for you refund call

                                                             Those

customers included, but were not limited to, SEDANO and V.

STEPANYAN.    HAZRYAN received 25 email responses to the generic

email, many of which appeared to be copied directly from another

response.


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      139. Based on my review of FREEDOM AT ENTERPRISE, INC. bank

account records, I know FREEDOM AT ENTERPRISE, INC. dispersed

the funds gained from the access device fraud to members of the

Artuni Enterprise, including the following:

            a.   SEDANO received two checks from FREEDOM AT

ENTERPRISE, INC., for $5,150 and $6,050.          SEDANO deposited the

check for $6,050 into his BMO Checking account ending in -7485

on November 22, 2023.      He deposited the check for $5,150 into

his Chase bank account ending in -0029.

            b.   AGOPIAN received a total of $76,000 from FREEDOM

AT ENTERPRISE, INC. via one check for $8,000 on October 4, 2023,



wire transfers for $10,000 on November 6, 2023, $20,000 on

November 7, 2023, $20,000 on November 14, 2023, and $10,000 on

November 22, 2023. The checks and wire transfers were deposited

into his Citibank account ending in -4814.

            c.   BEZIK received a total of $154,828 from Freedom



19, 2023, for $5,880 and $8,100 on October 20, 2023, for $37,635

on October 24, 2023, for $51,783 on November 2, 2023, for

$21,975 on November 8, 2023, and for $8,595 on November 16,

                          (A.A.-1)

for $13,525 on October 25, 2023 and $42,600 on October 28, 2023.

BEZIK cashed all of the checks at multiple check cashing

businesses.

            d.                             (N.Y.) received a total of

$34,178 from FREEDOM AT ENTERPRISE, INC.


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for $21,570 on October 31, 2023, and $10,608 on November 3,

2023, and a check for $2,000 on November 13, 2023.

             e.                     (V.A.)

for $8,000 on October 11, 2023, from FREEDOM AT ENTERPRISE, INC.

             f.   Between October 23, 2023, and November 27, 2023,

HAZRYAN transferred a total of $20,670 to a Zelle account in the



2023, and October 19, 2023, HAZRYAN transferred a total of

$10,4

his fictitious businesses.96

             g.   According to California Franchise Tax Board

records, FREEDOM AT ENTERPRISE, INC. reported $0 gross receipts

and $0 net income on their 2020 and 2021 California State Tax

returns and reported $83,840 gross receipts and $977 net income

on their 2022 California State Tax returns.           At the time of this

complaint, FREEDOM AT ENTERPRISE, INC., had not filed 2023 tax

returns.

             h.   Based on information provided by Intuit

investigators, the FREEDOM AT ENTEPRRISE, INC. scheme led to




       According to Early Warning Systems, the parent company
        96
for Zelle, records, the DK9, Inc Zelle account is associated
               DK9, Inc Bank of America account -9310 and email
address dk9dogs@yahoo.com
devices as described below. The         Zelle account is under
                          and deposits to an unknown Discover
Bank account. I have reviewed the transactions and confirmed
                                                   Zelle account
                 .

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fraudulent charges of at least $400,000 on assorted credit

cards.97

                   c.     Execution of the DK9, INC. Scheme

       140. Based on my review of LAPD reports regarding the




know HAZRYAN possessed photographs, videos, and emails

indicating he was a controlling party for DK9, INC., along with

G.G., who is his mother, including: invoices from DK9, INC.;

photographs of credit card merchant sales receipts for DK9, INC.

transactions; the California Secretary of State Articles of

Incorporation for DK9, INC.; a City of Los Angeles tax

registration certificate for DK9, INC., and access to DK9,

INC.                      : dk9dogs@yahoo.com.

       141.

iPhone 13, I am aware of the following:

              a.   HAZRYAN possessed credit card merchant sales

receipts for DK9, INC. and invoices from DK9, INC. for purchases

by individuals with the initials A.K., M.A., V.Z, and I.P.

              b.   HAZRYAN created a draft in the Notes application

                               [G.H.]. On 01/18/2023 I went to DK9 in

which is located 16834 Mckeever Ave Granada hills Ca 91344 to

buy poodle puppy I made order with this company paid them $5700

and they gave me invoice which says I will get my puppy on


       This figure is based on the loss amount that Intuit
       97
incurred because they were unable to recover disputed charges
from the FREEDOM AT ENTERPRISE, INC. account.

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03/03/2023 but I never got my puppy I tried to contact them

nobody was answer I went same place no one is there so I open my

claim with my bank to resolve this problem and get my money



             c.   HAZRYAN received emails from Fiserv, the merchant

services company he used for DK9, INC., regarding collections

notices for a balance due of $61,666.20.

      142. Based on my knowledge and experience with these types

of investigations, and my own knowledge of this investigation, I

believe HAZRYAN used DK9, INC. in a similar way to FREEDOM AT

ENTERPRISE, INC., charging credit cards, withdrawing the funds,

and then having card holders dispute the charges.

                  d.      DK9, INC. Paid Lease Payment on Vehicle Used
                          In November 9, 2023 Shooting of H.H.

      143. Based on my review of LAPD reports regarding the

November 9, 2023 shooting of H.H., LAPD reports regarding

                                  INC. bank account records, I am

aware that HAZRYAN used personal identifying information for

Z.I. and DK9, INC. to lease the white Toyota Camry used in the

November 9, 2023 shooting,       as discussed above.

      144.



Y8885174 in the name of Z.I.        According to the California DMV,

license Y8885174 belongs to a different individual.            According

to my review of departmental databases, Z.I. is a real person

who resides in Utah, and her photograph does not match the

                                                .



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      145. According to Toyota Financial records, the white

Toyota Camry bearing California license plate 9FOU408 was

purchased on March 3, 2023, in the name of Z.I.          The lease



address.    On August 10, 2023, DK9, INC.

account ending in -9310 was used to make a one-time payment of



            2.   Relating to the Theft of Interstate Shipment

      146. Based on my training, experience, conversations with

other law enforcement officers, my review of HSI reports,

California DMV records, law enforcement databases, and an Amazon

Law Enforcement Referral Report, and my own involvement in this

investigation, I am aware of the following:

            a.   At present, Amazon is plagued by recurring thefts




operates in the following fashion: (1) criminals, masquerading

as legitimate trucking carriers, contract with Amazon to

transport shipments by truck from vendors to Amazon facilities;

(2) after picking up the product from the vendor, the so-called

trucking carriers divert part of the load to a location where

product is offloaded; (3) the self-styled carriers then deliver

the remainder of the shipment to the destination Amazon

facility.    BEZIK, A. A. KAZARYAN, and other members of the

Artuni Enterprise, conspired and agreed with each other to

commit cargo theft as a source of income affecting interstate

and foreign commerce.


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            b.   Since 2021, BEZIK has administered the operations




                             .   All based in California, the

transport carriers are purportedly engaged in the business of

obtaining contracted freight routes from the Amazon Relay

Board,98 to transport purchased goods by Amazon to be picked up



delivered to Amazon designated fulfillment or warehouse centers.

In reality, BEZIK and associates, known and unknown, would

divert from the designated route for the purpose of removing the

Amazon purchased goods and reselling them for a profit or

gifting them to associates.

            c.   In an Amazon Law Enforcement Referral Report

dated August 30, 2024, and titled         Organized Cargo Theft and

Resale of Stolen Goods




approximately $83,579,010.99 in missing goods.

            d.   In the Amazon report, Amazon identifies the

following information as being associated with BEZIK:




       The Amazon Relay Load Board driver accounts are designed
      98
for individuals responsible for transporting contracted freight
and the administrative accounts are designed for individuals
overseeing the business aspects of a contracted carriers
transportation operations.

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                 i.                                    Areg Bezik        436 W

Colorado St. Ste 209, Glendale, California 91204-3071.

                 ii.                                   Areg Bezik        537 N

Adams St Apt 105, Glendale, California 91206-3488.

                 iii.                                  Areg Bezik     of 7505

Foothill Boulevard, Los Angeles, California 91042.

                 iv.      A phone number ending in -8117.

                 v.       An email address abezik1989@gmail.com.

            e.   I have confirmed that the above addresses, phone

number, and email address are all associated to BEZIK.               436 W.

Colorado Street Suite 209, Glendale, California 91204-3071, is

the registered principal address for New Era Physical Therapy,

Inc., which lists BEZIK as the Chief Executive Officer and Agent

on California Secretary of State records as of on or about April

28, 2025.    BEZIK lists 537 North Adams Street Apartment 105

Glendale, California 91206-3488 on two vehicle registrations in

his name: a 2022 Chevy, bearing California License Plate

9KOH689, VIN KL79MMS23NB091498; and a 2016 Make: Shore BTM:

Carrier, bearing California License Plate 4PA7102, VIN

1MDAPAR18GA584026.        Per Accurint, the address 7505 Foothill

Boulevard, Los Angeles, California 91042 is the location for

Lifeline Medical Associates, which lists BEZIK as the Chief

Executive Officer.        According to my review of a device seized

from A. A. KAZARYAN on or about December 12, 2023 (an iPhone 15

Pro bearing Serial Number HQ3617Y71M and IMEI 353864164453567,

                                                                    -433-8117




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significant other), among others, BEZIK directs S.Y. to email

him, and she confirms that she emailed him at email address

abezik1989@gmail.com.

            f.   Based on my review of the Amazon report and my

discussions with counsel for Amazon, I am aware that BEZIK has a

personal Amazon account (Amazon Customer ID #: 117451075805)

that

is separate from his account that is utilized to access the

Amazon Relay Board.       According to the Amazon Report and my

discussion with counsel for Amazon, Amazon has identified that

IP address: 107.209.62.197 and device IDs:

50EC19E5DE8B4D3C968FD579E2A4E348 and

AC07AD001AD04B4591B8083F42465C2B 99 have specifically accessed

                                 As listed below, these same unique

identifiers (the IP Address and device IDs) have been identified

through an internal Amazon investigation to have accessed Amazon

Relay Load Board Driver or Administrative accounts and other

Amazon Customer Accounts:

                 i.       IP Address: 107.209.62.197 has accessed 406

Amazon Relay Load Board Driver or Administrative accounts and

four other Amazon Customer Accounts.

                 ii.      Device ID: 50EC19E5DE8B4D3C968FD579E2A4E348



       Based on my training and experience and my discussion
       99
with other law enforcement officers, I am aware that this device
ID number is a unique, anonymized identifier assigned to each
mobile device, such as smartphones, tablets, or wearables. This
identifier is used by apps and services to recognize and
interact with your device without accessing personal information

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has accessed 110 Amazon Relay Load Board Driver or

Administrative accounts and four other Amazon Customer Accounts.

                 iii. Device ID: 50EC19E5DE8B4D3C968FD579E2A4E348

has accessed 50 Amazon Relay Load Board Driver or Administrative

accounts and four other Amazon Customer Accounts.

      147. Based on the Amazon report, the internal data provided

by Amazon, and my discussions with counsel for Amazon, I am

aware that the IP Address and Device IDs which have been



been identified as having accessed the following four carrier

accounts:



                           100




      100
Number is unique identify issued by Federal Motor Carrier Safety
Administration for Companies that operate commercial vehicles
transporting passengers or hauling cargo in interstate commerce
must be registered with the FMCSA and must have a USDOT Number.
Also, commercial intrastate hazardous materials carriers who
haul types and quantities requiring a safety permit must
register for a USDOT Number.

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      148. I have conducted a search through the California

Secretary of State registered businesses and corporations for

the above-listed accounts, and I am aware of the following:

            a.   AK Transportation, Inc. was first registered with

the California Secretary of State on or about January 11, 2022,

under the name A.A.-2 at 215 W Kenneth Rd, Glendale, California,

                                                                  ) of

C4832299, and is still currently active.

            b.   NBA HOLDINGS, LLC was first registered with the

California Secretary of State on or about November 17, 2015,

under BEZIK           and under the name Sierra Transportation

Services, LLC.    On or about December 4, 2018, A.A.-3 101 filed an

Amendment to Articles of a LLC for Sierra Transportation

Services, LLC and changed the name to NBA HOLDINGS, LLC, Entity

File # 201532210086, Type of Business: Interior and Exterior

Design.

            c.   Belman Transport, Inc was first registered with

the California Secretary of State on or about September 22,

2014, under the name of an individual bearing the initials I.K.

at 1024 Iron Point Rd, Folsom, California 95630.          On or about



        Based on my knowledge of this investigation, my
      101
conversations with other law enforcement officers involved in
this case and my review of the alien file belonging to BEZIK, I
am aware that A.A.-3 is his mother and has often been listed as
the primary account holder for many bank accounts and as the
Owner/Chief Executive Officer for many businesses or
corporations controlled and maintained by BEZIK.

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July 14, 2021, A.A.-3 filed a State of Information, listing

herself as the Chief Executive Officer at 1024 Iron Point Rd,

Folsom, California 95630.

             d.   Markos Transportation, Inc was first registered

with the California Secretary of State on or about November 9,

2021, as a corporation, under the name of an individual bearing

the initials N.V.H.M. at 718 E Palmer Ave Apt # 8

Glendale, California, 91205.

        149. Based on my knowledge of this investigation, and my



Investigator Sean Spaulding, I am aware that utilizing closed-

source law enforcement databases, only one of the three USDOT



Markos Transportation Inc) and the rest returned negative

results.

        150. In the Amazon report, Amazon associated 33 transport

carriers with BEZIK, including the two following transport

carriers which appeared in evidence from this investigation:

             a.   NBA HOLDINGS, LLC., with an estimated loss of

$8,459,044.16.    California Secretary of State records dated

November 17, 2015, list BEZIK as the filer for the Articles of



HOLDINGS, LLC.

             b.   AK Transportation, Inc., with an estimated loss

of $1,340,213.42.     On

                                                               -1502-4EE6-

AF86-


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of a computer.     Visible on the computer screen was the following



aktransport1121@gmail.com, dated July 7, 2022.             Two printouts

were visible on the desk which read the following:

                 i.       Load Board         Trip 1133D2GLM, booked for AK

Transportation Inc., [A.A.-2] at aktransport1121@gmail.com,

dated 07/08/2022       Chino, CA to Aurora, CO

                 ii.      Load Board         Trip 11535XH29, booked for AK

Transportation Inc., [A.A.-2] at

aktransport1121@gmail.com, dated 07/08/2022              Chino, CA to

Schertz, TX

      151. Based on my review of digital devices owned by ARTUNI,

HAZRYAN, and A. A. KAZARYAN, I also identified the following

images and videos in conversations involving BEZIK from cellular

phone number (818) 433-8117.       In a conversation between BEZIK

and A. A. KAZARYAN, I discovered videos and photos of them

driving forklifts, moving pallets, or near forklifts/pallets of

cargo sealed goods.       In conversations between HAZRYAN and BEZIK,

I discovered a video sent of a warehouse full of suspected

stolen Amazon goods.       In conversations between BEZIK and ARTUNI,

I discovered videos of a warehouse filled with suspected stolen

Amazon goods and images of different products, with some still



                           5D91C030-34EF-4F56-B524-



forklift near a pallet of sealed/packaged crockpots.




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      152.                                             also discovered

the following:

             a.   A video with file name



unknown individual and A. A. KAZARYAN operating a forklift to

move pallets of sealed/packaged goods.

             b.   A

BEZIK operating a forklift to move pallets of sealed/packaged

goods.

             c.   A

a male operating a forklift with BEZIK and a minor child

standing on the forks of the vehicle, surrounded by pallets of

sealed/packaged crockpots.

             d.   A

a A. A. KAZARYAN operating a forklift that is in the process of

lighting a pallet containing stacked Keurig Boxes, surrounded by

other pallets of sealed/packaged merchandise.

             e.   A                                    -



operating a forklift102 to move pallets of sealed/packaged goods.

      153.                                             the following:




        Based on my review of the images and videos discovered
      102
in the seized devices, I am aware that A. A. KAZARYAN, BEZIK and
the unidentified male each operated the forklift depicted in
         -34EF-4F56-B524-                          ,

points.     I believe this because the forklift depicted in those
                  -


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               a.   A

portraying several boxes stacked on top of each other, some

boxes were still sealed, and others appeared to be opened.

Around the stacked boxes there were more stacked boxes and a

pallet, indicating that the boxes were likely being shipped from

the manufacture to a distribution center.            On top of the boxes

in the center, there were four OGX Beauty Products lined up on

display, from Vogue International, LLC: Renewing+ argan oil of

Morocco shampoo, smoothing+ coconut coffee scrub & wash, Ever

straightening+ Brazilian keratin therapy conditioner, and

Moroccan curling perfection Defining cream.

               b.   A video            mov_6420     which appears to be a

recording of the inside of a warehouse with a variety of items,

ranging from Coway Air filters, Weber grills, tyger tonneau

covers, MAC ALLY electronics, X9preformance electronics, and

Securityman door bars.

        154.                                             the following:

               a.   An 11-                                    -c9b8-4e7e-

9d6e-

adjacent to a storage unit surrounded by a number of different

merchandise that, in my training and experience are packaged in

a way that indicates they were directly shipped from the

manufacturer and have not been processed for sale.             The two

males appear to be sorting and unboxing the items.

               b.   An                                          -A786-45C3-

86D2-

several boxes packaged in a way that indicates they were


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directly shipped from the manufacturer and have not been

processed for sale.       T                                     -2061,



                                  -6F61-4436-A075-

and depicts a pallet stacked with over 20 boxes packaged in a

way that indicates they were directly shipped from the

manufacturer and have not been processed for sale.          The boxes

                              -

      155. Based on my review of the Amazon report and my

discussions with counsel for Amazon, I am aware that through an

internal investigation conducted by Amazon, Amazon linked BEZIK

and NBA HOLDINGS, LLC to three interstate freight shipments

where Amazon claimed a loss.

      156. In my review of the imaged titled

                          -1502-4EE6-AF86-

was sent by BEZIK from his phone number, I identified a

contracted Amazon Freight Relay Trip and have included a

synopsis of the trip below:

            a.   Trip 1133D2GLM booked for AK Transportation Inc.

According to data received by Amazon, Trip 1133D2GLM, was a

contracted route for AK Transportation Inc, with O.S. listed as

the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 22205 E 19th Ave, Aurora, Colorado 80019 with the

delivery location of Amazon purchased merchandise to the Amazon




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fulfillment warehouse located at 16300 Fern Ave, Chino,

California 91708.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about July 8, 2022, at approximately 9:00 a.m., but

O.S.                              or about July 8, 2022, at

approximately 8:42 a.m.      O.S. then departed the distributor

location on or about July 8, 2022, at approximately 1:24 p.m.

with an Amazon trailer (Trailer ID AJKQR-cb294f0e-28dc-4ff2-

b6a8-5ec77b2b60b9) and was scheduled to arrive at the Amazon

fulfillment warehouse on or about July 9, 2022, at approximately

6:10 p.m., but the actual arrival date was on or about July 14,

2022, at approximately 7:17 a.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by O.S. under AK

Transportation Inc:




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      157. In my review of the imaged titled

                          -1502-4EE6-AF86-

was sent by BEZIK from his phone number, I identified a

contracted Amazon Freight Relay Trip and have included a

synopsis of the trip below:

            a.   Trip 11535XH29 booked for AK Transportation Inc.

According to data received by Amazon, Trip 1133D2GLM was a

contracted route for AK Transportation Inc, with J.M. listed as

the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 6000 Schertz Pkwy, Schertz, Texas, 78154 with the




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delivery location of the Amazon fulfilment warehouse located at

16300 Fern Ave, Chino, California 91708.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about July 8, 2022, at approximately 09:00 a.m., but

        actual arrival was on or about July 8, 2022, at

approximately 8:51 a.m.      J.M. then departed the distributor

location at on or about July 8, 2022, at approximately 1:44 p.m.

with an Amazon trailer (Trailer ID AJKQR-12539bb6-92fe-4aa8-

bfe5-984dd5bd96be) and was scheduled to arrive at the Amazon

fulfilment warehouse location on or about July 10, 2022, at

approximately 11:21 a.m., but the actual arrival date was on or

about July 14, 2022, at approximately 8:05 a.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by J.M. under AK

Transportation Inc but never delivered to the fulfilment center:




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                                    #:170




      158. In my review of the imaged titled

                          -1502-4EE6-AF86-

was sent by BEZIK from his phone number, I identified a

contracted Amazon Freight Relay Trip and have included a

synopsis of the trip below:

            a.   Trip 1153ZZHM7 booked for AK Transportation Inc.

According to data received by Amazon, Trip 1153ZZHM7, was a

contracted route for AK Transportation Inc, with E.S. listed as

the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 2145 Burton Branch Rd, Cookeville, Tennessee 38506,

with the delivery location of Amazon purchased merchandised to

the Amazon fulfillment warehouse located at 2496 W Walnut Ave,

Rialto, California 92376.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about July 7, 2022, at approximately 4:23 p.m., but


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E.S.                      was on or about July 7, 2022, at

approximately 2:50 p.m.      E.S. then departed the distributor

location on or about July 8, 2022, at approximately 1:44 p.m.

with an Amazon trailer (Trailer ID AJKQR-8a6dc9e6-822f-4d3e-

9075-ca1630cb2d10) and was scheduled to arrive at the Amazon

fulfilment warehouse location on or about July 7, 2022, at

approximately 6:00 p.m., but the actual arrival date was on or

about July 8, 2022, at approximately 8:46 p.m.

Amazon has identified the following merchandise as missing after

being transported by E.S. under AK Transportation Inc but never

delivered to the fulfilment center:




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      159. In my review of a spreadsheet provided b

counsel, I identified a contracted Amazon Freight Relay Trip and

have included a synopsis of the trip below:

            a.   Trip 1147ZHZT2 booked for NBA HOLDINGS, LLC.

According to data received by Amazon, Trip 1147ZHZT2, was a

contracted route for NBA HOLDINGS, LLC with BEZIK, under the

email abezik1989@gmail.com, listed as the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 20005 E Business Pkwy, Walnut, CA 91789, with the

delivery location of Amazon purchased merchandised to the Amazon

fulfillment warehouse located at 3300 Hogum Bay Rd NE, Lacey, WA

98519-3111.




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            c.   This contracted Amazon Freight Trip was scheduled

for on or about November 1, 2021, at approximately 9:00 a.m.,

                               was on or about November 1, 2021, at

8:12 a.m.    BEZIK then departed the distributor location on or

about November 2, 2021, at approximately 4:47 p.m. with an

Amazon trailer (ADMRB-6a638ab5-4837-40c5-9571-

66aa351f8d97,ADMRB-99a255ba-d747-415c-9206-e1b7904a0fc9, ADMRB-

4341dbb1-2cc6-46c2-bb8d-fde52a3da2c1) and was scheduled to

arrive at the Amazon fulfilment warehouse location on or about

November 3, 2021, at approximately 1:00 a.m., but the actual

arrival date was on or about November 3, 2021, at approximately

7:37 a.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by BEZIK under NBA HOLDINGS,

LLC but never delivered to the fulfilment center:




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                                     #:174


      160. In my review of a spreadsheet

counsel, I identified a contracted Amazon Freight Relay Trip and

have included a synopsis of the trip below:

            a.   Trip 111N6JTS3 booked for NBA HOLDINGS, LLC.

According to data received by Amazon, Trip 111N6JTS3 booked for

NBA HOLDINGS, LLC.        According to data received by Amazon, Trip

111N6JTS3, was a contracted route for NBA HOLDINGS, LLC with

R.B.listed as the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 20005 E Business Pkwy, Walnut, CA 91789, with the

delivery location of Amazon purchased merchandised to the Amazon

fulfillment warehouse located at 4375 N Perris Blvd, Perris, CA.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about November 5, 2021, at approximately 9:00 a.m.,

but R.B.                        was on or about November 5, 2021, at

approximately 7:37 a.m.       R.B. then departed the distributor

location on or about November 5, 2021, at approximately 11:15

a.m. with an Amazon trailer (ADMRB-b1b9c1f6-2583-4551-a975-

1761ea53029c) and was scheduled to arrive at the Amazon

fulfilment warehouse location on or about November 5, 2021, at

approximately 11:46 a.m., but the actual arrival date was on or

about November 6, 2021, at approximately 2:53 p.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by R.B. under NBA HOLDINGS,

LLC but never delivered to the fulfilment center:




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                                     #:175




      161. In my review of a spreadsheet

counsel, I identified a contracted Amazon Freight Relay Trip and

have included a synopsis of the trip below:

            a.   Trip 1121KL53Q booked for NBA HOLDINGS, LLC.

According to data received by Amazon, Trip 1121KL53Q booked for

NBA HOLDINGS, LLC.        According to data received by Amazon, Trip

1121KL53Q, was a contracted route for NBA HOLDINGS, LLC with

G.S. listed as the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 2700 East Imperial Hwy, Lynwood, CA 90262, with the

delivery location of Amazon purchased merchandised to the Amazon



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fulfillment warehouse located at 22300 E 26 th AVE, Aurora, CO

80019.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about November 8, 2021, at approximately 9:56 a.m.,

but G.S.                     was on or about November 8, 2021, at

approximately 8:48 a.m.      G.S. then departed the distributor

location on or about November 9, 2021, at approximately 12:58

p.m. with an Amazon trailer (ADMRB-da950294-1abb-4fa6-8f80-

d9dd56649175) and was scheduled to arrive at the Amazon

fulfilment warehouse location on or about November 9, 2021, at

approximately 8:00 p.m., but the actual arrival date was on or

about November 15, 2021, at approximately 4:18 p.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by G.S. under NBA HOLDINGS,

LLC but never delivered to the fulfilment center:




      162. In my review of an Amazon excel sheet, I identified a

contracted Amazon Freight Relay Trip and have included a

synopsis of the trip below:

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            a.   Trip 112X3T9XF booked for NBA HOLDINGS, LLC.

According to data received by Amazon, Trip 112X3T9XF booked for

NBA HOLDINGS, LLC.        According to data received by Amazon, Trip

112X3T9XF, was a contracted route for NBA HOLDINGS, LLC with

Z.H. listed as the driver.

            b.   The route was scheduled for pickup of Amazon

purchased merchandise from the manufacturer/distribution

warehouse at 18401 E Arenth Ave, Bldg B, City of Industry, CA

91748, with the delivery location of Amazon purchased

merchandised to the Amazon fulfillment warehouse located at 3300

Hogum Bay Rd NE, Lacey, WA 98516.

            c.   This contracted Amazon Freight Trip was scheduled

for on or about October 5, 2021, at approximately 9:00 a.m., but

Z.H.                        was on or about October 5, 2021, at

approximately 7:25 a.m.       Z.H. then departed the distributor

location on or about October 5, 2021, at approximately 11:30

p.m. with an Amazon trailer (ADMRB-e73c2027-6369-4879-80dc-

7f92423e4525) and was scheduled to arrive at the Amazon

fulfilment warehouse location on or about October 5, 2021, at

approximately 8:00 p.m., but the actual arrival date was on or

about October 8, 2021, at approximately 10:18 a.m.

            d.   Amazon has identified the following merchandise

as missing after being transported by Z.H. under NBA HOLDINGS,

LLC but never delivered to the fulfilment center:




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      163. Based on my review of the financial analysis reports

generated by the HSI Financial Analysis Support and Triage Team

                                                           A.A.-3 as

 member     and signer on Bank of America accounts ending in -1669

and -0244.    Based on my review of digital devices seized from

ARTUNI, HAZRYAN, and A. A. KAZARYAN, I am aware that BEZIK often

instructs members and associates to transfer funds in and out of

NBA HOLDINGS, LLC accounts.        Based on my review of the FAST Team

financial analysis reports, I am aware of the following NBA

HOLDINGS, LLC transactions:

             a.   NBA HOLDINGS, LLC distributed payments to members

of the Artuni Enterprise:

                  i.      BEZIK received a total of $369,300.

$359,500 was wired to AREG BEZIK INC 103 and $15,100 in posted

checks to BEZIK, on the following dates:




        I have conducted a search through the California
      103
Secretary of State registered businesses and corporations, and I
am aware of the following: On May 5, 2022, A.A.-3 filed Articles
of Incorporation, CA General Stock, for AREG BEZIK INC, at the
address of 537 N Adams St. Apt 105, Glendale, CA 91206. On May
12, 2022, A.A.-3 filed a Statement of Information, listing A.A.-
3 as the Chief Executive Officer and Director at the same
address. On January 11, 2024, A.G. filed a Statement of
Information, listing himself as the Chief Executive Officer and
Director. I am aware that between November 29, 2022, to January
30, 2023, A.G. received a total of $71,000 in check payments
from NBA HOLDINGS, LLC.

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                          (I)   On or about March 1, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$5,300 with BEZIK as the named beneficiary (check # 1143);

                          (II) On or about April 13, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$9,800 with BEZIK as the named beneficiary (check # 1161);

                          (III)        On or about September 27, 2022,

NBA HOLDINGS, LLC (account -1669) posted a check withdrawal of

$10,000 with AREG BEZIK INC as the named beneficiary (check #

1450);

                          (IV) On or about October 27, 2022, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $54,000

with AREG BEZIK INC as the named beneficiary

(TRN:2022102700501603 SERVICE REF:017668 BNF:AREG BEZIK INC

ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT D

ET:410601126);

                          (V)     On or about November 2, 2022, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $86,000

with AREG BEZIK INC as the named beneficiary

(TRN:2022110200292202 SERVICE REF:006826 BNF:AREG BEZIK INC

ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT

DET:411408030);

                          (VI) On or about November 30, 2022, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $46,000

with AREG BEZIK INC as the named beneficiary

(RN:2022113000617338 SERVICE REF:030114 BNF:AREG BEZIK INC




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ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT

DET:415211420);

                          (VII)        On or about January 31, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $30,000

with AREG BEZIK INC as the named beneficiary

(TRN:2023013100567363 SERVICE REF:028145 BNF:AREG BEZIK INC

ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT D

ET:423686568);

                          (VIII)       On or about February 13, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $53,000

with AREG BEZIK INC as the named beneficiary (WIRE TYPE:WIRE OUT

DATE:230213 TIME:1558 ET TRN:2023021300478503 SERVICE REF:013783

BNF:AREG BEZIK INC ID:1895572251 BNF BK:COMERICA B ANK

ID:121137522 PMT DET:425575242);

                          (IX) On or about March 9, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $15,000

with AREG BEZIK INC as the named beneficiary

(TRN:2023030900387902 SERVICE REF:012360 BNF:AREG BEZIK INC

ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT

DET:429127492);

                          (X)     On or about April 7, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $18,500

with AREG BEZIK INC as the named beneficiary

(TRN:2023040700076883 SERVICE REF:001860 BNF:AREG BEZIK INC

ID:1895572251 BNF BK:COMERICA B ANK ID:121137522 PMT

DET:433129212); and

                          (XI) On or about May 3, 2023, NBA HOLDINGS,


                                        174
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LLC (account -1669) posted a wire transfer of $47,000 with AREG

BEZIK INC as the named beneficiary (TRN:2023050300121718 SERVICE

REF:009138 BNF:AREG BEZIK INC ID:1895572251 BNF BK:COMERICA B

ANK ID:121137522 PMT D ET:436708060).

                 ii.      A. A. KAZARYAN received $24,156 in a shared

bank account with his father as well as an additional $8,800 to

a Zelle account in the name of           ARVIN   on the following dates:

                          (I)     On or about April 27, 2022, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $20,000

with A. A. KAZARYAN                   as the named beneficiary

(TRN:2022042700412621 SERVICE

REF:012315 BNF:ALBERT KAZARIAN ID:153498401337 BNF BK:U S. BANK

N A. LOS ANG ID:122235821 PMT DET:385246242).            This wire was

confirmed to have been wired to a joint account that A. A.

KAZARYAN shares with his father, specifically, a US Bank account

ending in -1337;

                          (II) On or about September 9, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$5,000 with A. A. KAZARYAN s father as the named beneficiary

(check # 1396); this check was deposited to an account

associated with A. A. KAZARYAN                   , specifically, a US Bank

account ending in -1484;104

                          (III)        On or about September 13, 2022,

NBA HOLDINGS, LLC (account -1669) posted a Zelle transfer of


        Based on the Artuni E
      104
members names and accounts, and specifically A. A. KAZARYAN
using his father s name to rent vehicles used by the Artuni
Enterprise, I believe these monetary deposits and/or transfers
were intended for A. A. KAZARYAN, not his father.

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                                                105   (Zelle Confirmation #

c4naubsqf);

                          (IV) On or about September 20, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$3,500 with A. A. KAZARYAN                    as the named beneficiary

(check # 1435); this check was deposited to A. A. KAZARYAN

father s US Bank account ending in -1484;

                          (V)     On or about September 21, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$6,362 with A. A. KAZARYAN                    as the named beneficiary

(check # 1441); this check was deposited to A. A. KAZARYAN

father s US Bank account ending in -1484;

                          (VI) On or about October 21, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$3,500 with A. A. KAZARYAN                    as the named beneficiary

(check # 1477); this check was deposited to A. A. KAZARYAN

father      US Bank account ending in -1484;

                          (VII)        On or about November 7, 2022, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$8,000 with A. A. KAZARYAN                    as the named beneficiary

(check # 1528); this check was deposited to A. KAZARI

Bank account ending in -1484;

                          (VIII)       On or about December 1, 2022, NBA

HOLDINGS, LLC (account -1669), posted a check withdrawal of


        Based on my review of records provided by Early Earning
      105
Services, LLC and my conversations with other law enforcement

Account in the name of A. A. KAZARYAN and is associated with his
phone number.

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$4,000 with A. A. KAZARYAN                    as the named beneficiary

(check # 1553); this check was deposited to A. A. KAZARYAN

father      US Bank account ending in -1484;

                          (IX) On or about January 3, 2022, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $5,000

                                                     Confirmation #

fgmuszjb2);

                          (X)   On or about January 10, 2023, NBA

HOLDINGS, LLC (account -1669) posted a check withdrawal of

$3,500 with A. A. KAZARYAN                    as the named beneficiary

(check # 1622); this check was deposited to A. A. KAZARYAN

father      US Bank account ending in -1484; and

                          (XI) On or about February 1, 2023, NBA

HOLDINGS, LLC (account -1669), posted a Zelle transfer of $2,800

                                                     Confirmation #

cek7sq309).

                  iii. ARTUNI received a total of $21,500 to a

                                  ARO         106,   on the following dates:

                          (I)   On or about February 4, 2023, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $5,000

                                 RO                     Confirmation #

ozjkz73tj);




        Based on my review of records provided by Early Earning
      106
Services, LLC and my conversations with other law enforcement

Account in the name of A.G., associated to phone number 818-912-
9906, who was identified as being the significant other of
ARTUNI.

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                          (II) On or about March 24, 2022, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $2,500

                                   RO               Confirmation #

y7o4reucv);

                          (III)         On or about October 25, 2022, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $4,000

                                   RO               Confirmation #

q8dr2wmt5);

                          (IV) On or about February 6, 2023, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $5,000

                                   RO               Confirmation #

ich6yf3mo); and

                          (V)     On or about February 23, 2023, NBA

HOLDINGS, LLC (account -1669) posted a Zelle transfer of $5,000

                                   RO               Confirmation #

qj85aaguo).

                  iv.     AGOPIAN received a total of $120,000 from

wire transfers, on the following dates:

                          (I)     On or about February 1, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $40,000

                                                  -4814, with AGOPIAN as

the named beneficiary (TRN:2023020100350920 SERVICE

REF:009485 BNF:ALEX AGOPIAN ID:42001584814 BNF BK:CITIBANK, N A.

ID:322271724 PMT DET:423915366); and

                          (II) On or about February 21, 2023, NBA

HOLDINGS, LLC (account -1669) posted a wire transfer of $80,000

                                                  -4814, with AGOPIAN as


                                         178
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the named beneficiary (WIRE TYPE:WIRE OUT DATE:230221 TIME:1252

ET TRN:2023022100619375 SERVICE REF:014794 BNF:ALEX AGOPIAN

ID:42001584814 BNF BK:CITIBANK, N A. ID:322271724 PMT

DET:426571026).

            b.    NBA HOLDINGS, LLC also had significant money

movement with multiple hospice companies associated with A. A.

KAZARYAN and his family members, including:

                  i.      On or about February 9, 2022, to November

23, 2022, Blossom Hospice, whose listed CEO is S.Y. (A. A.

             significant other) deposited $290,650.00 to NBA

HOLDINGS, LLC and on April 28, 2023, Blossom Hospice received

$51,700.00 from NBA HOLDINGS, LLC; and

                  ii.     On or about May 1, 2022, to November 23,

2022, Benefit Hospice, whose listed CEO is S.Y., deposited

$358,300.00 to NBA HOLDINGS, LLC and received $53,250.00.

      164. Based on my training, experience, and involvement in

this investigation, my knowledge of the Artuni Enterprise and

their involvement in the organized cargo theft of Amazon freight

goods, I believe that BEZIK appears to be the main

administrator/coordinator/accountant of the Amazon related cargo

theft, A. A. KAZARYAN appears to be involved with unloading and

movement of goods, HAZRYAN appears to be involved with storing

goods at the warehouse and selling the goods, and ARTUNI, as the

leader of the enterprise, and AGOPIAN, as a person of prominence

in the enterprise, both receive funds from the proceeds of this

activity.




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      P.    Health Care Fraud

      165. Based on my training and experience, my conversations

with other law enforcement officers, including L.A. Care,

Special Investigations Unit, Investigators Rodriguez and Devine

and U.S. Department of Health and Human Services, Office of the

                             -                             , my review of

HSI and LAPD reports, and my own involvement in this

investigation, I am aware of the following:

            a.   HAZRYAN, his significant other

                                               significant other

(S.Y.), among others, have conspired to commit and have

committed hospice care fraud.        Specifically, they appear to have

enrolled unqualified patients in hospice and/or billed for

patient services that were not provided.         During this

investigation, law enforcement has identified multiple hospice

care facilities operated by members of the Artuni Enterprise

and/or their significant others to include: (1) Allegiance

Hospice Care, Inc., (2) Angeles Family Hospice Care, Inc., and

(3) Allegiance Hospice Care, that have seemingly been used to

defraud both state and federal health care programs.

            b.   The investigation into these hospice care

facilities has, in part, revealed that:

                 i.       For claims that fall under Medi-Cal 107 Health

Care benefits, Allegiance Hospice Care, Inc. is listed under


        According to the California Department of Health Care
      107
Services official website, Medi-Cal is California s Medicaid
program. This is a public health insurance program that
                                   (footnote cont d on next page)

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N.Y. at 13609 Victory Blvd Ste 247A, Van Nuys, CA 91404.

Allegiance Hospice Care billed the State of California a total

of $2,320,730.61 and was paid out a total of $2,120,552.08.

                   ii.    For claims that fall under Medi-Cal Health

Care benefits, Angeles Family Hospice Care, Inc. is listed under

the name of an individual bearing the initials A.S. at 2505

Foothill Blvd. Ste E., La Crescenta, California 91214.            Angeles

Family Hospice Care billed the State of California, a total of

$1,248,653.01 and was paid out a total of $20.00.

                   iii. For claims that fall under MediCare 108 Health

Care benefits, Allegiance Hospice Care, Inc., is listed under

N.Y. and S.Y., and Angeles Family Hospice Care, Inc. is listed

under HAZRYAN.      Allegiance Hospice Care billed the United

States, a total of $ 208,091.22 and was paid out a total of $

178,846.49.      Angeles Family Hospice Care billed the United

States a total of $ 5,186,639.15 and was paid out a total of $

5,318,631.22.

            c.     On or about April 21, 2025, L.A. Care

investigators conducted interviews of several purported patients


provides needed health care services for low-income individuals
including families with children, seniors, persons with
disabilities, foster care, pregnant women, and low-income people
with specific diseases such as tuberculosis, breast cancer, or
HIV/AIDS. Medi-Cal is financed equally by the state and federal
government.
        According to the Official Medicare.gov website, Medicare
      108
is administered by the Centers for Medicare and Medicaid
Services (CMS), a federal agency under the United States
Department of Health and Human Services.
care benefit program, is use by qualifying for medical benefits
like benefits but not limited to, inpatient hospital care,
skilled nursing facility (SNF) care, home health care, and
hospice care persons program.

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for Allegiance and Angeles Family Hospice Care providers to

inquire about their knowledge of being enrolled in hospice and

the need for hospice care health benefits.            At the time the

interviews were conducted, four patients for Allegiance Hospice

Care were not receiving any type of Hospice services, nor were

they terminally ill.      Two patients were receiving hospice

services but were not terminally ill.        Two patients were not

terminally ill but were promised compensation for their

enrollment with Allegiance Hospice Care.        Also, at the time the

interviews were conducted, two patients for Angeles Family

Hospice Care were not receiving any type of hospice services nor

were they terminally ill.      Eight patients were receiving hospice

services but were not terminally ill.        One patient was receiving

hospice services and was terminally ill.

            d.   Based on my review of evidence seized and

documented during the execution of a federal search warrant at

HAZRYAN     home on or about December 12, 2023, HSI Special Agents

discovered six business checks from Angeles Family Hospice Care,

Inc. with payment to Northridge Psychiatry 109 from a JP Morgan

Chase Bank Account110.     There were also three unused business

checks from Angeles Family Hospice Care, Inc.


      109Northridge Psychiatry, according to the State of
California, Office of the Secretary of State, Statement of
Information, lists H.K.             significant other) at 10012
Reseda Blvd, Unit A, Northridge, CA 91234 as the Chief Executive
Officer.
        Based on my discussion with HHS-OIG Special Agent
      110
Alfaro, I know that Medicare does not authorize Psychiatric care
as part of hospice services, indicating the payments between
Angeles Family Hospice Care and Northridge Psychiatry appear to
                                   (footnote cont d on next page)

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      Q.    2018 to 2023:                  Payments to ARTUNI

      166. Based on my conversations with Detective Stupar, my

review of LAPD reports, and my own involvement in this

investigation, I am aware of the following: 111

            a.                                   , there were multiple

instances where an individual paid him (either directly or

through his father, V. ARTUNI) large sums of money without

explanation.     For example:

                  i.      On or about July 4, 2018, AGOPIAN 112 messages

ARTUNI and tells him that he has $6,250 and that he will bring

it to ARTUNI the following day.

                  ii.     On or about October 17, 2018, ARTUNI sends a

picture to AGOPIAN of wire instructions from All Valley Escrow.

AGOPIAN sends a picture of a domestic money transfer that lists

                                                                as the money

sender to V                 account and to All Valley Escrow in the

amount of $166,386.52.

                  iii. On or about March 3, 2019, AGOPIAN texts

ARTUNI (who in other conversations he refers

that he will get his money the following day and asks what he

should do with it, seemingly referring to the money.             ARTUNI

responds and asks, how much?        AGOPIAN replies     130000     (meaning



be fraudulent payments made from HAZRYAN to his significant
other.
        Some of these messages are in the Armenian language. My
      111
summaries are, therefore, based upon translations provided by
Detective Mkrtchyan.
        Based on the content of the message string, law
      112
enforcement determined that the other user was AGOPIAN.

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$130,000).    ARTUNI then instructs AGOPIAN to give the money to

                       meaning, based on other conversation threads in

AR                      , to his father V. ARTUNI).

                  iv.     On or about October 4, 2020, AGOPIAN sends a

photograph of a wire transfer from his significant other (A.P.)

to V. ARTUNI.

                  v.      In a Viber message, on or about May 30,

2020, an unidentified person texts ARTUNI that when they come

and see him, and they also have someone else that wants to come

and will give 50% (seemingly of monetary proceeds) to ARTUNI.

                  vi.     On or about November 27, 2023, ARTUNI sends

                                                                           a

photograph of a Wells Fargo Wire Transfer Services form showing

a transfer from                                to DK9 Inc.,113 in the

amount of $90,000.

             b.   On one of A. A.                           an iPhone 15

Pro bearing serial number HQ3617Y71M) seized on or about

December 12, 2023, he messages with BEZIK 114 about money owed to

ARTUNI.     For example:

                  i.      On or about October 21, 2022, A. A. KAZARYAN

texts BEZIK that ARTUNI called.        A. A. KAZARYAN then asks for an

update and tells BEZIK                          [ARTUNI] a lot so if




        DK9, Inc. is listed under the ownership of
      113
mother (G.G.).
        Based on my involvement in this investigation, I am
      114
aware that using law enforcement databases, investigators
confirmed that the associated number 818-433-8117 was associated
with BEZIK.

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                   ii.    On or about January 7, 2023, A. A. KAZARYAN

texts BEZIK and asks for the number to Zelle money to.            BEZIK



children

            c.                 iPhone 15 Pro also contains references

to tribute payments to ARTUNI.        For example, on or about July

19, 2023, A.T. sends HAZRYAN a screenshot of a text

conversation.     In the screenshot, two of the messages read:             I

tell them Davo [HAZRYAN] called        and   that Ara [ARTUNI] wants

his money .      Based on this message thread, I believe that

HAZRYAN may serve as an enforcer of sorts for ARTUNI and collect

debts owed to him, including payments from members of the Artuni

Enterprise related to its racketeering activity.

      167. Based on my training, experience, and involvement in

this investigation, and my conversations with other law

enforcement officers who specialize in Armenian Organized crime,

I believe that the payments to ARTUNI demonstrate his leadership

in the enterprise and in the Armenian criminal community.             In

the Armenian criminal cultural tradition, an avtoritet or a gogh

would receive payment from underlings and from racketeering

activities of members and associates of the enterprise.            These

                                               avtoritet status and are

evidence of his leadership in the Armenian criminal community

and of the Artuni Enterprise.

      R.    Felony Criminal Histories

      168. Based on my review of criminal databases and

involvement in this investigation I am aware that the following


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individuals have been convicted of at least one felony and,

therefore, are prohibited from shipping, transporting,

possessing, and/or receiving firearms and ammunition.            The

felony convictions are as follows:

            1.   The Amiryan Organized Crime Group

                 a.       AMIRYAN

            a.   On or about September 10, 2001, Engaging in the

Business of Dealing Firearms without a License, in violation of

Title 18 United States Code, Section 922(a), in United States

District Court, Central District of California, Case Number 00-

CR-1286-CBM.

                 b.       V. HARUTYUNYAN

            a.   On or about February 24, 1994, two counts of

Occupant of Moving Vehicle, Exhibit/Draw Firearm, in violation

of California Penal Code Section 417.3, in the Superior Court

for the State of California, County of Fresno, Case Number

S018599; and

            b.   On or about July 13, 2009, Possession of Assault

Weapon, in violation of California Penal Code Section 12280(b);

Money Laundering, in violation of California Penal Code Section

186.10(a); and Conspiracy: Commit Crime, in violation of

California Penal Code Section 182(a)(1), in the Superior Court

for the State of California, County of Los Angeles, Case Number

LACBA33835305.

                 c.       GZRARYAN

            a.   On or about September 9, 2022, Hit and Run

Resulting in Injury, in violation of California Vehicle Code


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Section 20001(b)(1), in the Superior Court for the State of

California, County of Los Angeles, Case Number BURGA10799101;

and

              b.   On or about September 29, 2022, Assault with

Deadly Weapon: Not Firearm, in violation of California Penal

Code Section 245(a)(1), in the Superior Court for the State of

California, County of Los Angeles, Case Number GLNGA11147001.

                   d.     STEPANIAN

              a.   On or about August 5, 2004, Grand Theft of Access

Cards, in violation of California Penal Code Section 484e(d), in

the Superior Court for the State of California, County of Los

Angeles, Case Number GA05699302; and

              b.   On or about December 6, 2007, Conspiracy to

Commit Access Device Fraud, in violation of Title 18 United

States Code Section 371; and Fraud with Identification

Documents, in violation of Title 18 United States Code Section

1028(a)(1), in United States District Court, District Court of

Rhode Island, Case Number 07-CR-94-WES-DLM.

                   e.     A. HARUTYUNYAN

              a.   On or about March 17, 2020, Public Company

Accounting Reform/Investor Protection Act Of 2002, in violation

of Title 18 United States Code, Section 1349, in United States

District Court, Central District of California, Case Number 19-

CR-287-DMG-5.115



      115   Based on my knowledge of this investigation, I know that



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                 f.       EGUILUZ

            a.   On or about August 12, 2005, Assault w/ Deadly

Weapon, in violation of California Penal Code Section 245(b), in

the Superior Court for the State of California, County of Los

Angeles, Case Number XWESA05816101.

                 g.       BOJORQUEZ

            a.   On or about May 19, 2021, Possession of a

Controlled Substance for Sale, in violation of California Health

and Safety Code Section 11378; Possession of a Controlled

Substance with Firearm, in violation of California Health and

Safety Code Section 11370.1(A); and Felony Battery, in violation

of California Penal Code Section 245(a)(4), in the Superior

Court for the State of California, County of Los Angeles, Case

Number XSWYA10460801; and

            b.   On or about June 6, 2023, Assault with a Deadly

Weapon w/ Force, in violation of California Penal Code Section

245(A)(4), in the Superior Court for the State of California,

County of Los Angeles, Case Number LACBA50156102.

            2.   The Artuni Enterprise

                 a.       AGOPIAN

            a.   On or about, October 30, 2014, Grand Larceny: 3 rd

Degree, in violation of New York Penal Law, Section 155.35 01,

in the Supreme Court of the State of New York, County of New

York, Case Number 04780-2014; and

            b.   On or about, October 30, 2014, Possess Forged

Instrument: 2nd Degree, in violation of New York Penal Law,




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Section 170.25, in the Supreme Court of the State of New York,

County of New York, Case Number 04780-2014.

                 b.       STEPANYAN

            a.   On or about November 15, 2005, Get Credit/Etc:

Use Others ID, in violation of California Penal Code, Section

530.5(A); Use Access Account Infor w/o Consent, in violation of

California Penal Code, Section 484E(D); Force Official Seal, in

violation of California Penal Code, Section 472; Possess

Methaqualone, in violation of California Health and Safety Code,

Section 11350(B); and Possess Concentrated Cannabis, in

violation of California Health and Safety Code, Section

11357(A), in the Superior Court for the State of California, in

Los Angeles County, Case Number GA063152-01;

            b.   On or about February 23, 2007, Possess Narcotic

Controlled Substance, in violation of California Health and

Safety Code, Section 11350(A), in the Superior Court for the

State of California, in the County of Los Angeles, Case Number

GLNGA06868101;

            c.   On or about February 23, 2007, Possess Narcotic

Controlled Substance, in violation of California Health and

Safety Code, Section 11350(A), in the Superior Court of the

State of California, in the County of Los Angeles, Case Number

GLNGA06825801;

            d.   On or about March 12, 2007, Grand Theft:

Money/Labor/Prop, in violation of California Penal Code, Section

487(A) and Petty Theft w/ Prior Jail, in violation of California




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Penal Code, Section 666, in the Superior Court of the State of

California, County of Los Angeles, Case Number GA06885501;

            e.   On or about July 3, 2007, Petty Theft w/ Prior

Jail, in violation of California Penal Code, Section 666 and

Possess Narcotic Controlled Substance, in violation of

California Health and Safety Code, Section 11350(A), in the

Superior Court of the State of California, County of Los

Angeles, Case Number GLNGA06958601;

            f.   On or about November 13, 2009, Grand Theft:

Money/Labor/Prop, in violation of California Penal Code, Section

487(A), in the Superior Court of the State of California, County

of Los Angeles, Case Number XNEGA07554902;

            g.   On or about January 13, 2009, Possess Narcotic

Controlled Substance, in violation of California Health and

Safety Code, Section 11350(A), in the Superior Court of the

State of California, County of Los Angeles, Case Number

BURGA07537901;

            h.   On or about November 5, 2012, Transport/Sell

Narcotic Control Substance, in violation of California Health

and Safety Code, Section 11352(A); Poss/Purchase for Sale

Narcotic Control Substance, in violation of California Health

and Safety Code, Section 11351; Poss Controlled Substance while

Armed, in violation of California Health and Safety Code,

Section 11370.1(A); Felon/Addit Poss/Etc Firearm, in violation

of California Penal Code, Section 29800(A)(1); Prohibited

Own/Etc., Ammo/Etc., in violation of California Penal Code

30305(A)(1); Possess Controlled Substance, in violation of


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California Health and Safety Code, Section 11377(A), in the

Superior Court of the State of California, County of Los

Angeles, Case Number GLNGA08691101; and

            i.   On or about November 5, 2012, Hit and Run: Death

or Injury, in violation of California Vehicle Code, Section

20001(A); Possess Stolen Vehicle/Vessel/Etc., in violation of

California Penal Code, Section 496d(a); Take Vehicle w/o

Consent/Vehicle Theft, in violation of California Vehicle Code,

Section 10851(a), in the Superior Court of the State of

California, County of Los Angeles, Case Number BURGA08749801.

                 c.       MANUKYAN

            a.   On or about April 10, 2014, Identity Theft, in

violation of California Penal Code Section 530.5(a); and Receipt

of Known Stolen Property, in violation of California Penal Code

Section 496(a), in the Superior Court for the State of

California, County of Los Angeles, Case Number BURGA08955401;

            b.   On or about April 26, 2019, Possession of a

Control Substance for Sale, in violation of California Health

and Safety Code Section 11378, in the Superior Court for the

State of California, County of Los Angeles, Case Number

XNEGA10425202; and

            c.   On or about February 14, 2023, Prohibited Person

in Possession of Ammunition, in violation of California Penal

Code Section 30305(a)(1), in the Superior Court for the State of

California, County of Los Angeles, Case Number BURGA11164101.




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                 d.       ARAKELYAN

            a.   On or about February 13, 2023, Own/Possession by

Prohibited Person, in violation of Nevada Statue NRS 202.360.1,

in the District Court of the State of Nevada, County of Clark,

Case Number C-20-352231-1;

            b.   On or about July 7, 2024, Mail Theft, in

violation of Nevada Statue NRS 205.975.3, in the District Court

of the State of Nevada, County of Clark, Case Number C-24-

381499-1;

            c.   On or about October 7, 2008, Distribution of

Methamphetamine, in violation of Title 21 United States Code,

Section 841(a)(1),(b)(1)(A); and Unlawful Use of a Communication

Facility, in violation of Title 21 United States Code Section

843(b), in United States District Court, Eastern District of

Pennsylvania, Case Number 2:06-cr-00226-AB-4; and

            d.   On or about October 7, 2008, Conspiracy to

Distribute and Possess with Intent to Distribute

Methamphetamine, in violation of Title 21 United States Code,

Sections 841(a)(1),(b)(1)(A), 846, in United States District

Court, Eastern District of Pennsylvania, Case Number 2:06-cr-

00401-AB-1.

                 e.       SEDANO

            a.   On or about May 17, 2007, Vandalism, in violation

of California Penal Code, Section 594(A), in the Superior Court

of the State of California, County of Los Angeles, Case Number

GA06937001;




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              b.   On or about, April 8, 2008, Robbery, in violation

of California Penal Code, Section 211, in the Superior Court of

the State of California, County of Los Angeles, Case Number

LAVLA05797902;

              c.   On or about January 31, 2006, Possess Narcotic

Controlled Substance for Sale, in violation of California Health

and Safety Code, Section 11351, in the Superior Court of the

State of California, County of Los Angeles, Case Number

PA054012-01;

              d.   On or about April 8, 2011, Vandalism, in

violation of California Penal Code, Section 594(A), w/ (Gang

Enhancement), in the Superior Court of the State of California,

County of Los Angeles, Case Number XNEGA08165801; and

              e.   On or about, May 12, 2014, Bring

Alcohol/Drug/Etc. into Prison, in violation of California Penal

Code, Section 4573.5, in the Superior Court of the State of

California, County of San Bernardino, Case Number FSB1204424.

      S.      Alienage

      169.

following charts summarizing the alienage of the non-citizen

targets.      This chart is based on my review of Alien Files (A-

Files) and other documents and records maintained by the DHS.

              1.   The Amiryan Organized Crime Group

       Name         Country       Current U.S. Immigration Status
                   of Birth
 AMIRYAN           Armenia    Lawful Permanent Resident
 V.                USSR       Lawful Permanent Resident
 HARUTYUNYAN
 GZRARYAN          Armenia    Illegal Status


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       Name          Country      Current U.S. Immigration Status
                    of Birth
 STEPANIAN          Armenia    Final Order of Removal Issued
 A.                 Armenia    Illegal Status
 HARUTYUNYAN

              2.   The Artuni Enterpise

      Name         Country of    Current U.S. Immigration Status
                      Birth
 ARTUNI            Iran116    Lawful Permanent Resident
 MANUKYAN          USSR       Refugee
 ARAKELYAN         USSR       Final Order of Removal

      170. Based on my review of immigration documents maintained

by DHS, I am aware that GZRARYAN, STEPANIAN, A. HARUTYUNYAN, and

ARAKELYAN are prohibited from shipping, transporting,

possessing, and/or receiving firearms and ammunition given their

status in this country as illegal aliens.

      T.      Interstate Nexus of Firearms and Ammunition

      171. Based on my involvement in this investigation, I am

aware that ATF Interstate Nexus Experts have examined the

firearms and ammunition referenced in this affidavit and,

excluding the ghost guns, that is, firearms bearing no

                     rk, confirmed that they were manufactured

outside of the State of California.        Because the firearms and

ammunition were found in California, I believe that they

traveled in and affected interstate and foreign commerce.




        Based on my involvement in this investigation and review
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of CBP records, I am aware that ARTUNI has routinely flown on an
Armenian passport. Accordingly, I believe that ARTUNI was actually
born in Armenia.

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      U.    Identification of the SUBJECT PREMISES and SUBJECT
            VEHICLES

      172. Based on my conversations with Detective Stupar, who



                 , my review of LAPD surveillance reports, review of

cell-site location data obtained via California State search

warrants, and my own knowledge of the investigation, I am aware

of the following:

            1.      AMIRYAN: SUBJECT PREMISES 1 and SUBJECT VEHICLE 1

            a.      I am aware that

current residence and SUBJECT VEHICLE 1 is the vehicle that he

is currently using based on the following surveillance and cell-

site information as well as his statements to law enforcement:

                    i.     On or about May 7, 2025, at approximately

10:45 a.m., LAPD SSS saw AMIRYAN s black Lexus bearing

California license plate 9LTT595 (SUBJECT VEHICLE 1) pull into

the parking garage of 3944 Kentucky Drive, Los Angeles,

California 90068.         At the same time, cell-site location data for

                              ending in -0909 also showed AMIRYAN at

the Kentucky Drive location.

                    ii.    On or about May 12, 2025, LAPD investigators

were analyzing cellphoneAMIRYAN and his significant other

(R.M.) cell-site location data and determined that both phones

were near 6446 Deep Dell Place, Los Angeles, California 90068

(SUBJECT PREMISES 1).        Consequently, members of the LAPD Special

                                LAPD                               around

SUBJECT PREMISES 1.        At or around 11:00 a.m., members of LAPD



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SIS saw a United Postal Service delivery driver deliver a

package to SUBJECT PREMISES 1.        SIS investigators saw

R.M.accept and sign for the package.

                 iii. On or about May 12, 2025, LAPD Detectives

Stupar and Kaminski met with AMIRYAN and R.M. regarding a

separate pending LAPD investigation.         AMIRYAN and R.M. arrived

at the meeting in SUBJECT VEHICLE 1.         During the meeting,

AMIRYAN stated that they no longer lived at their previous

address on Kentucky Drive but

for the next month or two.       After the meeting, an LAPD

helicopter assisting LAPD SIS with surveillance observed AMIRYAN

and R.M. return to SUBJECT PREMISES 1 in SUBJECT VEHICLE 1 and

pull into the garage.

            2.   GZRARYAN: SUBJECT PREMISES 2 and SUBJECT VEHICLE
                 2

            b.   I am aware that SUBJECT PREMISES 2 is GZRARYAN

current residence and SUBJECT VEHICLE 2 is the vehicle that he

is currently using based on the following surveillance and cell-

site information:

                 i.       On or about May 8, 2025, LAPD SSS located

GZRARYAN at Auto Speed LA, a car dealership located at 3343

Foothill Boulevard, La Crescenta, California 91214, which is

                                       LAPD SSS saw GZRARYAN driving a

gray 2014 Honda Accord bearing California license plate 7WLR494

(SUBJECT VEHICLE 2) and followed GZRARYAN to 5345 Sepulveda

Boulevard, Sherman Oaks, California 91411, a large apartment

complex.    After LAPD SSS discontinued surveillance, the cell-



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site                                       cellphone indicated that

             cellphone remained around 5345 Sepulveda Boulevard

until approximately 10:45 p.m.        At approximately 11:25 p.m., the

cell-site                                       cellphone indicated that

             cellphone cell-sitewas at or near 1103 North Maple

Street, Burbank, California 91505 (SUBJECT PREMISES 2), an

address

                 ii.      On or about May 9, 2025, LAPD SSS saw

SUBJECT VEHICLE 2 parked in front of SUBJECT PREMISES 2.            At

approximately 4:30 p.m., LAPD SSS saw GZRARYAN exit the front of



2, and depart the residence.        At approximately 6:55 p.m., the

cell-site                                       cellphone indicated that

             cellphone cell-sitehad returned to SUBJECT PREMISES 2

and then remained overnight.

                 iii. On or about May 11, 2025, LAPD SSS saw

SUBJECT VEHICLE 2 parked in front of SUBJECT PREMISES 2.            The

cell-site                                       cellphone also indicated

                  cellphone cell-sitewas at the SUBJECT PREMISES

2.

            3.   STEPANIAN: SUBJECT PREMISES 3 and SUBJECT
                 VEHICLES 3, 4 and 5

            c.

current residence and SUBJECT VEHICLES 3, 4, and 5 are vehicles

owned and/or used by STEPANIAN based on the following

surveillance and cell-site information and well as information

                                                                          :



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                 i.       On or about October 1, 2024, a 2024 GMC

Hummer EV bearing California license plate number 9NPY868 and

registered to STEPANIAN (SUBJECT VEHICLE 3) was parked in the

driveway of 4035 Ellenita Avenue, Tarzana, California 91356

(SUBJECT PREMISES 3).       On or about May 8, 2025, LAPD SSS located

a blue 2025 BMW iX bearing California license plate number

9NXG011, also registered to STEPANIAN, parked in the driveway of

SUBJECT PREMISES 3 (SUBJECT VEHICLE 4).

                 ii.      According to the California DMV, STEPANIAN

is also the registered owner of a black 2025 BMW sedan bearing

California license plate number 9SQY613 (SUBJECT VEHICLE 5).

                 iii. On or about May 9, 2025, investigators with

the USPIS, conducted a check on SUBJECT PREMISES 3.            USPIS

investigators discovered                                       had



                                  significant other (K.P.) had also

received parcels at the address as of February 2025.

                 iv.      On or about May 10, 2025, at approximately

2:45 p.m., LAPD SSS saw K.P. leave SUBJECT PREMISES 3 driving

SUBJECT VEHICLE 4.        K.P. returned to SUBJECT PREMISES 3 at

approximately 3:10 p.m.       At approximately 4:40 p.m., K.P. exited

the residence with two juvenile children and re-entered SUBJECT

VEHICLE 4and left the location.

            4.   EGUILUZ: SUBJECT PREMISES 4 and SUBJECT VEHICLE 6

            d.

current residence and SUBJECT VEHICLE 6 is the vehicle that he




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is currently using based on the following surveillance and cell-

site information:

                 i.       In or around February 2025, EGUILUZ

registered a silver 2020 BMW 530i bearing California license

plate number 8PLM033 (SUBJECT VEHICLE 6) to 14709 Budlong

Avenue, Gardena, California 90247.         According to Accurint,

EGUILUZ is associated with 14709 Budlong Avenue, Apartment 305,

Gardena, California 90247 (SUBJECT PREMISES 4).

                 ii.      On or about May 2, 2025, LAPD SSS saw

SUBJECT VEHICLE 6 parked at SUBJECT PREMISES 4 in parking spot

      the letter).     At approximately 1:45 p.m., LAPD SSS saw

SUBJECT VEHICLE 6 leave SUBJECT PREMISES 4.            LAPD SSS saw

EGUILUZ driving SUBJECT VEHICLE 6.

                 iii. Cell-site

cellphones to date, is consistent with him residing at SUBJECT

PREMISES 4, considering location data placing him there at

night.

            5.   ARTUNI: SUBJECT PREMISES 5

            e.

current residence based on the following surveillance

information:

                 i.       On or about May 12, 2023, LAPD SSS saw a

black 2021 Chevrolet Suburban bearing California temporary

license plate DF14G31 and registered to HAZRYAN (SUBJECT VEHICLE

10) near 19747 Winged Foot Way, Porter Ranch, California 91326

(SUBJECT PREMISES 5).       LAPD SSS followed SUBJECT VEHICLE 10 to a

parking area in front of Ali Baba Persian restaurant near


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Chatsworth Street and Encino Avenue in Granada Hills,

California.        At approximately 1:30 p.m., LAPD SSS saw ARTUNI,

HAZRYAN, BEZIK, and AGOPIAN exit the restaurant and speak

outside.     HAZ

10, AGOPIAN entered the front passenger seat, BEZIK entered

behind the driver, and ARTUNI entered behind the front

passenger.     SUBJECT VEHICLE 10 departed the restaurant and

returned to SUBJECT PREMISES 5, where a silver 2024 Chevrolet

Suburban bearing California license plate 9ROW138 (SUBJECT

VEHICLE 12) was parked.        BEZIK exited SUBJECT VEHICLE 10 and

                                                       12.   AGOPIAN and

ARTUNI also exited SUBJECT VEHICLE 10 and got into SUBJECT

VEHICLE 12.        The two vehicles departed in tandem.

             f.      At approximately 4:20 p.m., SUBJECT VEHICLE 12

returned to SUBJECT PREMISES 5, ARTUNI and AGOPIAN exited the

vehicle, and walked towards the front door of the residence.

BEZIK departed the location in SUBJECT VEHICLE 12.

             6.      AGOPIAN: SUBJECT PREMISES 6 and SUBJECT VEHICLE 7

             g.

current residence and SUBJECT VEHICLE 7 is the vehicle that he

is currently using based on the following surveillance and cell-

site information and additionally, based on information obtained

during his arrest on April 11, 2025:

                     i.   On or about April 11, 2025, during LAPD SSS



Place, Tujunga, California 91042 (SUBJECT PREMISES 6), AGOPIAN

brandished a firearm at an LAPD SSS member, resulting in


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                                 Upon executing a state search warrant

at SUBJECT PREMISES 6, law enforcement located several pieces of

                                                               address.   A

black Land Rover bearing California license plate 9NVB635

(SUBJECT VEHICLE 7) and registered to AGOPIAN was parked in the

driveway.

                 ii.      According to Los Angeles Department of Water




                 iii. On or about May 9, 2025, USPIS conducted an

address check and discovered that AGOPIAN received a parcel to

SUBJECT PREMISES 6 as late as April 26, 2025.

            7.   HAZRYAN: SUBJECT PREMISES 7 and SUBJECT VEHICLES
                 8, 9, and 10

            h.

current residence and SUBJECT VEHICLES 8, 9, and 10 are vehicles

owned and/or used by him based on the following surveillance and

cell-site information:

                 i.       On or about May 7, 2025, LAPD SSS saw cell-

site

11432 Louise Avenue, Granada Hills, California 91344, and saw a

black 2024 Land Rover Velar bearing California license plate

9LFD749 and registered to H.K. parked in front of the residence

(SUBJECT VEHICLE 9).       LAPD SSS saw H.K. enter the vehicle and

followed her to 20648 Pesaro Way, Porter Ranch, California 91326

(SUBJECT PREMISES 7).




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                     ii.   On or about May 9, 2025, LAPD SSS saw

SUBJECT VEHICLE 9 as well as a 2025 Toyota Tundra bearing

California license plate 04340D4 (SUBJECT VEHICLE 8) parked at

SUBJECT PREMISES 7.        At approximately 8:15 a.m., LAPD SSS saw

SUBJECT VEHICLE 8 depart SUBJECT PREMISES 7 and drop off a

juvenile at a local school.         SUBJECT VEHICLE 8 then drove to a

local coffee shop where LAPD SSS saw HAZRYAN exit the driver

seat of the vehicle.

                     iii. On or about May 12, 2023, as described

above, HAZRYAN was seen driving SUBJECT VEHICLE 10, which is

registered to him with temporary plates, indicating a new

purchase.

             8.      STEPANYAN: SUBJECT PREMISES 8 and SUBJECT VEHICLE
                     11

             i.

current residence and SUBJECT VEHICLE 11 is the vehicle that he

is currently using based on the following surveillance and cell-

site information:

                     i.    On or about May 7, 2025, at approximately

5:50 a.m., LAPD investigators saw a white 2023 Mercedes S580

bearing California license plate 9GOF815 and registered to

STEPANYAN (SUBJECT VEHICLE 11) leaving 8007 Cabernet Court, Sun

Valley, California 91352 (SUBJECT PREMISES 8) via pole

camera.     At the same time, cell-site location data for

STEPANYAN         cellphone indicated                   cellphone also

departed the area of SUBJECT PREMISES 8.          LAPD investigators saw




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SUBJECT VEHICLE 11 on Flock cameras 117 in the city of Glendale,

California                                     cell-site location data

at the following times:

                           (I)   At 7:48 a.m. at northbound North

Pacific Avenue at Burchette Street; and

                           (II) At 7:49 a.m. at the intersection of

North Pacific Avenue and West Glenoaks Boulevard.

                     ii.   At approximately 10:15 a.m., Burbank PD

Sergeant Kaefer saw SUBJECT VEHICLE 11 return to SUBJECT

PREMISES 8 via pole camera, which was consistent with

                  cell-site location data.

             9.      A. A. KAZARYAN: SUBJECT PREMISES 9

             j.      I am aware that SUBJECT PREMISES 9 is A. A.



and cell-site information:

                     i.    While monitoring the video feed from a pole

camera, Detective Urena saw A. A. KAZARYAN exit the front door

of his residence at 10053 Tujunga Canyon, Tujunga, California

91042 (SUBJECT PREMISES 9) on April 30, 2025, at approximately

11:50 a.m.    A. A. KAZARYAN entered a white BMW sedan parked in

driveway and departed the residence.          A. A. KAZARYAN returned to

SUBJECT PREMISES 9 in the same vehicle at approximately 1:57

p.m.    A. A. KAZARYAN parked in front of the automatic security

gate, waited for the security gate to open, and then exited the



        Based on my training and experience, I am aware that
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Flock Safety cameras are license plate recognition (LPR)
systems, also known as license plate readers, that capture
vehicle data and are part of a larger network of cameras.

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vehicle and entered the driveway of the residence towards the

garage.

                  ii.     While monitoring the video feed from a pole

camera, Detective Urena saw the white BMW pulling out of the

driveway of SUBJECT PREMISES 9 on May 8, 2025, at approximately

8:23 a.m.    The white BMW stopped at the apron of the driveway,



driveway, returned to the car and then departed the residence.

            10.   BEZIK: SUBJECT PREMISES 10 and SUBJECT VEHICLE 12

            k.

current residence and SUBJECT VEHICLE 12 is the vehicle that he

is currently using based on the following surveillance and cell-

site information:

                  i.      On or about May 10, 2025, LAPD investigators

determined that cell-site                                     cellphone

was in the area of 19867 Turtle Springs Way, Porter Ranch,

California 91326 (SUBJECT PREMISES 10).         LAPD SSS saw a silver

2024 Chevrolet Suburban bearing California license 9ROW138

(SUBJECT VEHICLE 12) parked in the driveway SUBJECT PREMISES 10.

At approximately 9:20 a.m., LAPD SSS followed SUBJECT VEHICLE 12

from SUBJECT PREMISES 10, with the assistance of an LAPD

airship.    SUBJECT VEHICLE 12 drove to a barbershop located at

217 North Verdugo Road, Glendale, California 91206.            LAPD SSS

positively identified BEZIK as the driver of SUBJECT VEHICLE 12

at the barber shop.

                  ii.     On or about May 11, 2025, LAPD SSS saw

SUBJECT VEHICLE 12 parked in the driveway of SUBJECT PREMISES


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10.   At approximately 9:20 a.m., LAPD SSS saw BEZIK drive

SUBJECT VEHICLE 12 out of the neighborhood with an unidentified

female front passenger.       At approximately 12:00 p.m., LAPD SSS

saw SUBJECT VEHICLE 12 return to the neighborhood.           At

approximately 12:43 p.m., LAPD SSS saw SUBJECT VEHICLE 12 travel

to Chevron located at 11240 Tampa Avenue, Northridge, California

91326 and saw that BEZIK was the driver of SUBJECT VEHICLE 12.

            11.   MANUKYAN: SUBJECT PREMISES 11 and SUBJECT VEHICLE
                  13

            l.

current residence and SUBJECT VEHICLE 13 is the vehicle that he

is currently using based on the following surveillance and cell-

site information:

                  i.      On or about May 8, 2025, Sergeant Kaefer saw

MANUKYAN driving a red Toyota Camry bearing California license

plate 6RBU664 and registered to Knarik Vahanyan at 12770

Cohasset Street, North Hollywood, California (SUBJECT VEHICLE

13) and park at 6653 Cedros Avenue, Van Nuys, California 91605

(SUBJECT PREMISES 11).       Later that afternoon, cell-site location

data for MANUKYAN placed him near 638 Price Drive, Burbank,

California 91504, his previous residence and the home of his

parents.    Burbank PD detectives saw SUBJECT VEHICLE 13 parked at

the residence.

                  ii.     On or about May 9, 2025, Sergeant Kaefer saw

SUBJECT VEHICLE 13 parked in front of SUBJECT PREMISES 11.             At

approximately 7:30 a.m., Burbank PD Detective T. Murphy saw

MANUKYAN appear at the rear of the residence, walk down the



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driveway and out through the white metal gate.           MANUKYAN placed

a black backpack and gray plastic bag into the backseat of

SUBJECT VEHICLE 13

location.

                  iii. Since on or about May 1, 2025, cell-site

location data has consistently placed MANUKYAN at SUBJECT

PREMISES 11 during nighttime hours.

            12.   SEDANO: SUBJECT PREMISES 12 and SUBJECT VEHICLE
                  14

            m.

current residence and SUBJECT VEHICLE 14 is the vehicle that he

is currently using based on the following surveillance and cell-

site information:

                  i.      According to California DMV

residential address is 8641 Glenoaks Boulevard, Apartment 132,

Sun Valley, California 91352 (SUBJECT PREMISES 12).            He is also

the registered owner of a gray 2007 Toyota Camry bearing

California license plate 5ZWX352 registered at SUBJECT PREMISES

12 (SUBJECT VEHICLE 14).

                  ii.     According to license plate reader data,

SUBJECT VEHICLE 14 was seen parked on the street near SUBJECT

PREMISES 12 on more than 15 occasions in the month of April

2025.

                  iii. On pole camera footage from April 28, 2025,

Detective Urena saw SEDANO exit the front gate of SUBJECT

PREMISES 12, enter SUBJECT VEHICLE 14, and depart the area.

Approximately ten minutes later, Detective Urena saw SUBJECT



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VEHICLE 14 return to park in front of SUBJECT PREMISES 12,

SEDANO exit the vehicle, and enter SUBJECT PREMISES 12 through

the main gate.

                 iv.      On pole camera footage from May 2, 2025,

Detective Urena saw SEDANO exit the main entrance of SUBJECT

PREMISES 12, enter the SUBJECT VEHICLE 14, and depart the area.

   XIV. TRAINING AND EXPERIENCE REGARDING THEFT OF INTERSTATE OR
                            FOREIGN SHIPMENTS

      173. Based on my training and experience and information

obtained from other law enforcement officers who investigate

crimes involving the theft of interstate of foreign shipments, I

am aware the following:

            a.   People involved in theft of interstate or foreign

shipment often utilize other personal identifying information

(such as names, Social Security numbers, and dates of birth),

identification documents belonging to other people that they can

use to fraudulently, and email accounts associated to

transportation carries to bid and obtain carrier contracts from

manufactures and/or retail stores to execute the shipment of

goods.   It is a common practice for those involved in such

crimes to use either false identification or stolen real

identification to bid and obtain carrier contracts to avoid

detection and to complete the transaction.

            b.   It is common practice for individuals involved in

theft of interstate or foreign shipment crimes to possess and

use multiple digital devices at once.         Such digital devices are

often used to facilitate, conduct, and track fraudulent



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transactions and identity theft.        Suspects often use digital

devices to perpetrate their crimes due to the relative anonymity

gained by conducting financial transactions electronically or

over the internet.        They often employ digital devices for the

purposes, among others, of: (1) creating fraudulent

carrier/transportation shell companies; (2) obtaining or storing

personal identification information for the purpose of

establishing or modifying fraudulent accounts for

carrier/transportation shell companies; (3) using fraudulently

obtained carrier/transportation shell companies to bid on and

win shipping contracts and/or for the purpose of pilfering

portions of the goods being transported or theft of the entirety

of the goods being transported; and (4) coordinating with co-

conspirators.

            c.   Based on my training and experience, I am aware

that individuals who participate in crimes involving the theft

of interstate of foreign shipments often also engage in identity

theft.   They often have co-conspirators, and often maintain

telephone numbers, email addresses, and other contact

information and communications involving their co-conspirators

to conduct their business.        Oftentimes, they do so on their

digital devices.     Suspects often use their digital devices to

communicate with co-conspirators by phone, text, email, and

social media, including sending photos.

            d.   Based on my training and experience, I am aware

that individuals who participate in the theft of interstate




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shipments commonly store the stolen items in their vehicles,

residences, or warehouse locations.

        XV. TRAINING AND EXPERIENCE REGARDING HEALTH CARE FRAUD

        174. Based on my training, experience, discussions with

other agents and Medicare fraud investigators, and review of

applicable laws and regulations, I am aware that Medicare is a

federally funded health care benefit program for individuals

over 65 and disabled persons, which operates as described below:

             a.   Medicare is administered by the Centers for

Medicare and Medicaid Services ( CMS ), a federal agency under

the United States Department of Health and Human Services.




42 U.S.C. § 1320a-7b(f).

             b.   Individuals who qualify for Medicare benefits are




             c.   Physicians, hospices, and other health care

providers that provide medical services that are reimbursed by



participate in Medicare, providers are required to submit an

application in which the provider agrees to comply with all

Medicare-related laws and regulations, including the Federal

anti-



                                                       ayment of claims.

In addition, providers often submit an Electronic Funds Transfer


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package, which allows Medicare to send payments directly to a



electronically or on paper.

            d.   A health care provider with a Medicare provider

number can submit claims to Medicare to obtain reimbursement for

services rendered to beneficiaries.

            e.   Most providers submit their claims electronically

pursuant to an agreement they execute with Medicare in which the

providers agree that they are responsible for all claims

submitted to Medicare by themselves, their employees, and their

agents; that they will submit claims only on behalf of those

Medicare beneficiaries who have given their written

authorization to do so; and that they will submit claims that

are accurate, complete, and truthful.

      175. Based on my training and experience, investigation in

this case, and from information provided to me from other agents

and officers in this investigation that the Medi-Cal program is

a state-administered program, funded by both the state and

federal governments, so it is also federally funded health

insurance program, as defined by 18 U.S.C. § 24(b), that

operates as described below:

            a.    Medi-Cal provides coverage for essential medical



disabled, and refugees.      These covered individuals are also

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reimburses health care providers providing medically necessary

treatment and services to Medi-Cal beneficiaries.

            b.   Medi-Cal is regulated by the California



rules for the administration of the program.           DHCS authorizes

provider participation, determines beneficiary qualification,

and issues Medi-Cal eligibility cards to beneficiaries for their

use to obtain goods and services from Medi-Cal providers.

            c.   Medi-Cal providers (such as physicians,

pharmacies, durable medical equipment suppliers, etc.)

participate in Medi-Cal on a voluntary basis and are not

government employees.        Beneficiaries present their Medi-Cal

eligibility cards to the providers for goods and services.

Providers typically photocopy these cards, which contain

information such as the beneficiary identification number, name,

and date of birth.        This information enables providers to bill

Medi-Cal for services and goods, including prescriptions,

rendered by the provider to the beneficiaries.

            d.   Health care providers receive direct

reimbursement from Medi-Cal by applying to Medi-Cal and

receiving a Medi-Cal provider number.         To obtain payment for

services, an enrolled provider, using its unique provider

number, submits claims to Medi-Cal certifying that the

information on the claim form is truthful and accurate and that

the services or goods provided were reasonable and necessary to

the health of the Medi-Cal beneficiary.         Claims are mailed or

                                                                 acted


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fiscal intermediary, currently Electronic Data Systems, which

processes claims on behalf of Medi-Cal.        Once claims have been

through an edits and audits review, then EDS informs DHCS and



sends payment to the provider in the form of a California State

Warrant (similar to a bank check).

      176. Based on my training and experience, I am aware that

individuals who participate in health care fraud commonly store

documents and items related to their fraudulent scheme in their

vehicles and residences, as well as on their persons, including

on digital devices.

         XVI. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

      177. From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

            a.     Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical

control, such as in their digital devices, vehicles, and

residences.      It has been my experience that prohibited

individuals who own firearms illegally will keep the contact

information of the individual who is supplying firearms to

prohibited individuals or other individuals involved in criminal

activities for future purchases or referrals.          Such information

is also kept on digital devices.


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            b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.            These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

            c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.        Correspondence between

persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.            This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.           In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that the sell or offer for sale.

In addition, it is common for individuals engaging in the

unlawful purchase of firearms to have photographs of firearms

they or other individuals working with them possess on their

cellular phones and other digital devices as they frequently

send these photos to each other to boast of their firearms

possession and/or to facilitate sales or transfers of firearms.

            d.    Individuals engaged in the illegal purchase or

sale of firearms and other contraband often use multiple digital

devices.

    XVII.        TRAINING AND EXPERIENCE ON RACKETEERING OFFENSES

      178. Based on my training and experience, as well as my

familiarity with investigations conducted by other law


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enforcement officers into racketeering enterprises, including

those engaged in murder (and similar acts of violence), money

laundering, fraud, and other racketeering activity conducted by



the following:

             a.   Racketeering Activity involves numerous



structure.    When transnational criminal organizations are the

proponents of such Racketeering Activity, the participants, who

are both members and non-members of the racketeering enterprise,

tend to operate across the globe in multiple territories.

             b.   Criminal enterprises may sell narcotics, create

illegitimate businesses, launder the proceeds of their illicit

activities, commit theft, commit acts of violence, and engage in

other criminal conduct, like fraud.

             c.   Criminal enterprise members and associates will

often take and share photographs and videos of their illicit

activities using their digital devices.

             d.   Criminal enterprise members and associates often

maintain books, receipts, notes, ledgers, bank records, and

other records relating to their Racketeering Activity.            Such

records are often maintained where the criminal enterprise

member has ready access to them, such as in their homes, their

places of business, in their vehicles, on their persons, and in

their cellphones and other digital devices.           Additionally, I am

aware that individuals engaged in racketeering enterprises often

keep such evidence for long periods of time, including in


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storage on their digital devices that they keep in close

proximity, for extended periods of time, including in their

homes, their places of business, and on their persons.

            e.   Communications between enterprise participants,

as well as from victims of Racketeering Activity, often take

place by telephone calls and messages, such as e-mail, text

messages, the exchange of photographs and videos, and social

media messaging applications, sent to and from cellphones and

other digital devices.

            f.   Criminal enterprise members and associates often

keep the names, addresses, and telephone numbers of those

involved in their Racketeering Activity on their digital devices

and in their vehicles and residences.        Criminal enterprise

members and associates often keep records of meetings with

others engaged in illicit criminal activity, including in the

form of notes, calendar entries, and location data.

            g.   Criminal enterprise members and associates often

possess firearms to protect and advance their Racketeering

Activity.    Criminal enterprise members and associates often keep

information regarding their firearms on their digital devices,

including contacts that can provide firearms and photographs of

firearms they possess and use.

  XVIII.     TRAINING AND EXPERIENCE ON HOMICIDE, KIDNAPPING, AND
                          OTHER VIOLENT OFFENSES

      179. Based on my training and experience, and the training

and experience of other agents with greater involvement in

murder investigations, I am aware of the following:



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            a.   Individuals who commit homicides, kidnapping, and

other violent crimes or seek the assistance of others in

committing homicides, kidnapping, and other violent crimes or

concealing the evidence of homicides often maintain materials

about their intended victims in their residences or places of

business, in their vehicles, on their persons, and on their

digital devices, and often for long periods of time.           This

information could include information about or photographs of

their intended victims, their home addresses, information about

places they frequent, or the motive behind such intended

homicide.



or family, or other information that could be used to carry out

or conceal the murder.

            b.   It is also common for individuals who have

committed a homicide, kidnapping, or other violent crime, or

attempted to do so, to search social media or the internet using

their digital devices to determine what investigators, news

sources, or social media users know and/or are disseminating

about the facts of the murder.       Individuals who commit homicides

will often do so in an attempt to determine what potential

evidence may be used against them, to determine whether or not

they are suspected of committing the murder, and if and how the

suspect can formulate a plausible alibi or explanation for the

involvement with the victim.




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  XIX. TRAINING AND EXPERIENCE REGARDING BANK FRAUD, WIRE FRUAD,
                IDENTITY THEFT, AND ACCESS DEVICE FRAUD

      180. Based on my training and experience and information

obtained from other law enforcement officers who investigate

bank fraud and identity theft crimes, I am aware of the

following:

             a.   People involved in bank fraud, wire fraud,

identity theft, and access device fraud crimes often collect

checks, access devices, other personal identifying information

(such as names, Social Security numbers, and dates of birth),

and identification documents belonging to other people that they

can use to fraudulently obtain money and items of value.             It is

a common practice for those involved in such crimes to use

either false identification or stolen real identification to

make purchases with stolen access devices at in order to avoid

detection and to complete the transaction.            Those who engage in

such fraud keep evidence of such fraudulent transactions on

their persons, including their digital devices, as well as in

their vehicles, residences, and places of business.

             b.   It is common for identity thieves, and

individuals engaged in bank fraud, wire fraud, access device

fraud, and identification document fraud to use equipment and

software to print credit and identification cards, to create

magnetic strips for credit cards, to use embossing machines to

create credit cards, to use laser printers to create checks, and

to use magnetic card readers to read and re-encode credit cards.

Software relevant to such schemes can often be found on digital



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devices, such as computers.       Such equipment and software are



easily portable.

            c.   It is common practice for individuals involved in

identity theft, bank fraud, wire fraud, and access device fraud

crimes to possess and use multiple digital devices at once.

Such digital devices are often used to facilitate, conduct, and

track fraudulent transactions and identity theft.          Suspects

often use digital devices to perpetrate their crimes due to the

relative anonymity gained by conducting financial transactions

electronically or over the internet.        They often employ digital

devices for the purposes, among others, of: (1) applying online

for fraudulent credit cards; (2) obtaining or storing personal

identification information for the purpose of establishing or

modifying fraudulent bank accounts and/or credit card accounts;

(3) using fraudulently obtained bank accounts and/or credit card

accounts to make purchases, sometimes of further personal

information; (4) keeping records of their crimes; (5)

researching personal information, such as social security

numbers and dates of birth, for potential identity theft

victims; (6) verifying the status of stolen access devices; and

(7) coordinating with co-conspirators.

            d.   Based on my training and experience, I am aware

that individuals who participate in identity theft, bank fraud,

wire fraud, and access device fraud schemes often have co-

conspirators, and often maintain telephone numbers, email

addresses, and other contact information and communications


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involving their co-conspirators in order to conduct their

business.     Oftentimes, they do so on their digital devices.

Suspects often use their digital devices to communicate with co-

conspirators by phone, text, email, and social media, including

sending photos.

            XX. TRAINING AND EXPERIENCE ON DIGITAL DEVICES 118

      181. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:

             a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are

replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.


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electronic system or device capable of storing or processing
data in digital form, including central processing units;
desktop, laptop, notebook, and tablet computers; personal
digital assistants; wireless communication devices, such as
paging devices, mobile telephones, and smart phones; digital
cameras; gaming consoles; peripheral input/output devices, such
as keyboards, printers, scanners, monitors, and drives; related
communications devices, such as modems, routers, cables, and
connections; storage media; and security devices.

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            b.    Digital devices often contain electronic evidence



evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

            c.    The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and

who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

            d.    Digital device users can also attempt to conceal

data by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain



are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for

devices or data that cannot currently be decrypted.




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      182. Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it is not always possible to search devices for data

during a search of the premises for a number of reasons,

including the following:

            a.   Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.        Also, there are now so

many types of digital devices and programs that it is difficult

to bring to a search site all of the specialized manuals,

equipment, and personnel that may be required.

            b.   Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.

      183. The search warrant requests authorization to use the

biometric unlock features of a device, based on the following,

which I know from my training, experience, and review of

publicly available materials:

            a.   Users may enable a biometric unlock function on

some digital devices.      To use this function, a user generally

displays a physical feature, such as a fingerprint, face, or


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eye, and the device will automatically unlock if that physical

feature matches one the user has stored on the device.           To

unlock a device enabled with a fingerprint unlock function, a

user places one or more

fingerprint scanner for approximately one second.          To unlock a

device enabled with a facial, retina, or iris recognition

function, the user holds the device in front of                       face

with                      open for approximately one second.

            b.   In some circumstances, a biometric unlock

function will not unlock a device even if enabled, such as when

a device has been restarted or inactive, has not been unlocked

for a certain period of time (often 48 hours or less), or after

a certain number of unsuccessful unlock attempts.          Thus, the

opportunity to use a biometric unlock function even on an

enabled device may exist for only a short time.          I do not know

the passcodes of the devices likely to be found in the search.

            c.   Thus, the warrant I am applying for would permit

law enforcement personnel to, with respect to any device that

appears to have a biometric sensor and falls within the scope of

the warrant: (1) depress AMIRYAN, GZRARYAN, STEPANIAN, EGUILUZ,

ARTUNI, AGOPIAN, HAZRYAN, STEPANYAN, A. A. KAZARYAN, BEZIK,

MANUKYAN, and SEDANO                             s on the device(s);

and (2) hold the device(s) in front of AMIRYAN, GZRARYAN,

STEPANIAN, EGUILUZ, ARTUNI, AGOPIAN, HAZRYAN, STEPANYAN, A. A.

KAZARYAN, BEZIK, MANUKYAN, and SEDANO

eyes open to activate the facial-, iris-, and/or retina-

recognition feature.


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      184. Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                  XXI. TIME OF EXECUTION OF WARRANTS

      185. I seek permission to execute these warrants at any

time in the day or night.      Given that the target persons and

other persons at the SUBJECT PREMISES are likely armed, night

service will provide a tactical advantage to law enforcement

when executing the search warrant.        Night service will also

better ensure the safety of the executing law enforcement

personnel, residents, neighbors, passerby, and other members of

the community.

                          XXII.       CONCLUSION

      186. For all of the reasons described above, there is

probable cause to believe the following:

            a.   AMIRYAN, V. HARUTYUNYAN, GZRARYAN, STEPANIAN, A.

HARUTYUNYAN, BOJORQUEZ, and EGUILUZ violated 18 U.S.C.

§ 1201(a)(1): Kidnapping;

            b.   ARTUNI, HAZRYAN, STEPANYAN, and SEDANO violated

18 U.S.C. § 1959(a)(5): Attempted Murder in Aid of Racketeering

Activity (on or about July 7, 2023);

            c.   AGOPIAN (Kimber 1911, model Custom TLE II, .45

caliber, semi-automatic pistol bearing serial number K707215),

MANUKYAN (Ruger, model 10/22, .22 caliber rifle, bearing serial

number 129-54711), and ARAKELYAN (Glock, model 29 Gen4, 10mm

Auto caliber, pistol bearing serial number BRRT964), violated 18

U.S.C. § 922(g): Felon in Possession of a Firearm;


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            d.   A. A. KAZARYAN and BEZIK violated 18 U.S.C.

§§ 659, 371: Conspiracy to Commit Theft of Interstate Shipments

(NBA HOLDINGS, LLC);

      187. Further, there is probably cause to believe that the

times listed in:

            a.   Attachment B-1, which constitute evidence,

fruits, and instrumentalities of violations of the AMIRYAN Group

Subject Offenses will be found at, in, or on AMIRYAN, SUBJECT

PREMISES 1, and SUBJECT VEHICLE 1, as described in Attachments

A-1, A-2, and A-3.        Attachment B-2, which constitutes the person

of AMIRYAN, will be found at or in SUBJECT PREMISES 1, as

described in Attachment A-2.        Attachment B-3, which constitutes

a sample of DNA, should be obtained from AMIRYAN, as described

in Attachment A-1, for evidence relating to violations of



            b.   Attachment B-1, which constitute evidence,

fruits, and instrumentalities of violations of the AMIRYAN Group

Subject Offenses will be found at, in, or on GZRARYAN, SUBJECT

PREMISES 2, and SUBJECT VEHICLE 2, as described in Attachments

A-4, A-5, and A-6.        Attachment B-4, which constitutes the person

of GZRARYAN, will be found at or in SUBJECT PREMISES 2, as

described in Attachment A-5.        Attachment B-3, which constitutes

a sample of DNA, should be obtained from GZRARYAN, as described

in Attachment A-4, for evidence relating to violations of

GZRARYAN

            c.   Attachment B-1, which constitute evidence,

fruits, and instrumentalities of violations of the AMIRYAN Group


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Subject Offenses will be found at, in, or on STEPANIAN, SUBJECT

PREMISES 3, and SUBJECT VEHICLE 3, 4, and 5 as described in

Attachments A-7, A-8, A-9, A-10, and A-11.            Attachment B-5,

which constitutes the person of STEPANIAN, will be found at or

in SUBJECT PREMISES 3, as described in Attachment A-8.

Attachment B-3, which constitutes a sample of DNA, should be

obtained from STEPANIAN, as described in Attachment A-7, for

evidence relating to violations of STEPANIAN

            d.   Attachment B-1, which constitute evidence,

fruits, and instrumentalities of violations of the AMIRYAN Group

Subject Offenses will be found at, in, or on EGUILUZ, SUBJECT

PREMISES 4, and SUBJECT VEHICLE 6, as described in Attachments

A-12, A-13, and A-14.      Attachment B-6, which constitutes the

person of EGUILUZ, will be found at or in SUBJECT PREMISES 4, as

described in Attachment A-13.       Attachment B-3, which constitutes

a sample of DNA, should be obtained from EGUILUZ, as described

in Attachment A-12, for evidence relating to violations of

EGUILUZ

            e.   Attachment B-7, which constitute evidence,

fruits, and instrumentalities of violations of ARTUNI

Offenses will be found at, in, or on ARTUNI and SUBJECT PREMISES

5, as described in Attachments A-15 and A-16.            Attachment B-8,

which constitutes the person of ARTUNI, will be found at or in

SUBJECT PREMISES 5, as described in Attachment A-16.             Attachment

B-3, which constitutes a sample of DNA, should be obtained from

ARTUNI, as described in Attachment A-15, for evidence relating

to violations of ARTUNI s Subject Offenses.


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            f.   Attachment B-9, which constitute evidence,

fruits, and instrumentalities of violations of AGOPIAN

Offenses will be found at, in, or on AGOPIAN, SUBJECT PREMISES

6, and SUBJECT VEHICLE 7, as described in Attachments A-17, A-

18, and A-19.    Attachment B-10, which constitutes the person of

AGOPIAN, will be found at or in SUBJECT PREMISES 6, as described

in Attachment A-18.       Attachment B-3, which constitutes a sample

of DNA, should be obtained from AGOPIAN, as described in

Attachment A-17, for evidence relating to violations of

AGOPIAN s Subject Offenses.

            g.   Attachment B-11, which constitute evidence,

fruits, and instrumentalities of violations of HAZRYAN

Offenses will be found at, in, or on HAZRYAN, SUBJECT PREMISES

7, and SUBJECT VEHICLE 8, 9, and 10, as described in Attachments

A-20, A-21, A-22, A-23, and A-24.         Attachment B-12, which

constitutes the person of HAZRYAN, will be found at or in

SUBJECT PREMISES 7, as described in Attachment A-21.           Attachment

B-3, which constitutes a sample of DNA, should be obtained from

HAZRYAN, as described in Attachment A-20, for evidence relating

to violations of HAZRYAN s Subject Offenses.

            h.   Attachment B-13, which constitute evidence,

fruits, and instrumentalities of violations of STEPANYAN

Subject Offenses will be found at, in, or on STEPANYAN, SUBJECT

PREMISES 8, and SUBJECT VEHICLE 11, as described in Attachments

A-25, A-26, and A-27.      Attachment B-14, which constitutes the

person of STEPANYAN, will be found at or in SUBJECT PREMISES 8,

as described in Attachment A-26.       Attachment B-3, which


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constitutes a sample of DNA, should be obtained from STEPANYAN,

as described in Attachment A-25, for evidence relating to

violations of STEPANYAN s Subject Offenses.

            i.   Attachment B-15, which constitute evidence,

fruits, and instrumentalities of violations of A. A. KAZARYAN

Subject Offenses will be found at, in, or on A. A. KAZARYAN and

SUBJECT PREMISES 9, as described in Attachments A-28, A-29.

Attachment B-16, which constitutes the person of A. A. KAZARYAN,

will be found at or in SUBJECT PREMISES 9, as described in

Attachment A-29.     Attachment B-3, which constitutes a sample of

DNA, should be obtained from A. A. KAZARYAN, as described in

Attachment A-28, for evidence relating to violations of A. A.

KAZARYAN s Subject Offenses.

            j.   Attachment B-17, which constitute evidence,

fruits, and instrumentalities of violations of BEZIK

Offenses will be found at, in, or on BEZIK, SUBJECT PREMISES 10,

and SUBJECT VEHICLE 9, as described in Attachments A-30, A-31,

and A-32.    Attachment B-18, which constitutes the person of

BEZIK, will be found at or in SUBJECT PREMISES 10, as described

in Attachment A-31.       Attachment B-3, which constitutes a sample

of DNA, should be obtained from BEZIK, as described in

Attachment A-30, for evidence relating to violations of BEZIK s

Subject Offenses.

            k.   Attachment B-19, which constitute evidence,

fruits, and instrumentalities of violations of MANUKYAN

Subject Offenses will be found at, in, or on MANUKYAN, SUBJECT

PREMISES 11, and SUBJECT VEHICLE 13, as described in Attachments


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A-33, A-34, and A-35.      Attachment B-20, which constitutes the

person of MANUKYAN, will be found at or in SUBJECT PREMISES 11,

as described in Attachment A-34.       Attachment B-3, which

constitutes a sample of DNA, should be obtained from MANUKYAN,

as described in Attachment A-33, for evidence relating to

violations of MANUKYAN s Subject Offenses.

            l.   Attachment B-21, which constitute evidence,

fruits, and instrumentalities of violations of SEDANO

Offenses will be found at, in, or on SEDANO, SUBJECT PREMISES

12, and SUBJECT VEHICLE 14, as described in Attachments A-36, A-

37, and A-38.    Attachment B-22, which constitutes the person of

SEDANO, will be found at or in SUBJECT PREMISES 12, as described

in Attachment A-37.       Attachment B-3, which constitutes a sample

of DNA, should be obtained from SEDANO, as described in

Attachment A-36, for evidence relating to violations of SEDANO s

Subject Offenses.

Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this 15th day of
May, 2025.



HON. PATRICIA DONAHUE
UNITED STATES MAGISTRATE JUDGE




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